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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA,                                CRIMINAL NUMBER:

                                                         1:18-cr-00032-DLF
              v.

INTERNET RESEARCH AGENCY, LLC,
et al.,

       Defendants.


        DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S
                 MOTION TO DISMISS THE INDICTMENT

       Pursuant to Rule 12(b)(1) and 12(b)(3) of the Federal Rules of Criminal Procedure,

Defendant Concord Management and Consulting LLC (“Defendant” or “Concord”), by and

through undersigned counsel, respectfully moves to dismiss the Indictment, ECF No. 1, in its

entirety. As set forth more fully in the accompanying memorandum of points and authorities, the

Indictment should be dismissed for the following reasons:

   1. The Indictment fails to allege the crime of a defraud conspiracy that interferes with a

       lawful governmental function under 18 U.S.C. § 371 against Concord.

   2. The Indictment fails to allege the requisite mens rea to support the § 371 conspiracy to

       defraud charge against Concord.

   3. The Indictment’s application of § 371’s conspiracy to defraud clause is unconstitutionally

       vague as to Concord.

   4. The Indictment fails to allege deprivation of government property as required under a

       proper construction of § 371 (for preservation only).
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       A proposed order is filed with this Motion.

Dated: July 16, 2018                                 Respectfully submitted,

                                                     CONCORD MANAGEMENT
                                                     AND CONSULTING LLC


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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA,                  CRIMINAL NUMBER:

           v.                              1:18-cr-00032-DLF

INTERNET RESEARCH AGENCY, LLC,
et al.,

     Defendants.




       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
      DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S
               MOTION TO DISMISS THE INDICTMENT
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I.     PRELIMINARY STATEMENT

       “[W]e caution the government that seeking criminal penalties for violations of [laws
       regulating foreign nationals’ political contributions or expenditures] will require proof of
       defendant’s knowledge of the law.” Bluman v. Fed. Election Comm’n, 800 F.Supp.2d
       281, 292 (D.D.C. 2011) (citing United States v. Moore, 612 F.2d 698, 702–04 (D.C. Cir.
       2010) (Kavanaugh, J., concurring)), aff’d, 568 U.S. 1104 (2012). “There are many aliens
       in this country who no doubt are unaware of the statutory ban on foreign expenditures . . .
       .” Id.

       “[P]rosecution under [the Federal Election Commission Act’s (“FECA”)] criminal
       provision requires proof that the defendant was aware that his or her conduct was
       generally unlawful. When the conduct is charged under Section 371, however, the proof
       must also show that the defendant intended to disrupt and impede the lawful functioning
       of the FEC. Indeed, the crux of a Section 371 FECA case is intent on the part of the
       defendant to thwart the FEC. That is a higher factual burden than is required under 18
       U.S.C. § 1001, and is arguably a greater factual burden than is required by Section
       30109(d).” U.S. Dep’t of Justice, Federal Prosecution of Election Offenses at 163 (Dec.
       2017 8th Ed.), available at https://www.justice.gov/criminal/file/1029066/download.1

       Faced with this clear and unambiguous case law and guidance, the Special Counsel’s

one-count indictment in this case against Concord Management and Consulting LLC

(“Concord”) for conspiracy to defraud under 18 U.S.C. § 371 was drafted in an attempt to plead

around the massive burden on the Special Counsel to charge and prove, among other things, that:

(1) Concord was aware of the existence of the Federal Election Commission (“FEC”) and knew

that a complex and technical scheme of U.S. election laws prohibited certain specific

expenditures for political purposes by foreign nationals (while allowing others); (2) the FEC

administered these complex and technical prohibitions by requiring reports to be filed in certain

instances; (3) Concord or some other person or entity was required in this case to file some type

of report; (4) in making any expenditures prohibited by the FEC, Concord intended to thwart the


1
    Substantially similar language first appeared in the DOJ Manual over 10 years ago. See Ex.
A, excerpts from U.S. Dep’t of Justice, Federal Prosecution of Election Offenses at 188 (May
2007 7th Ed.), available at https://www.justice.gov/sites/default/files/criminal/legacy /2013/
09/30/electbook-rvs0807.pdf.


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FEC by failing itself—or causing another to fail—to file such a report; and (5) Concord engaged

in such conduct willfully. The Indictment contains no such allegations with respect to Concord.

       Instead, this Indictment is unprecedented; never before has a foreign corporation such as

Concord, with no presence in the United States, been charged criminally for allegedly funding

the political speech of individuals on social media, at rallies, or in advertisements during a U.S.

presidential election campaign. Furthermore, Title 18 § 371’s defraud prong has never been used

to charge a conspiracy to interfere with the government function of administering an election

where political speech, as opposed to political contributions, is the target of the indictment. In

short, the Special Counsel found a set of alleged facts for which there is no crime. Instead of

conceding that truth, however, the Special Counsel attempts to create a make-believe crime that

is in fact no crime at all, much less one with the requisite mens rea of willfulness.

       To begin with, there is no federal law prohibiting “interference” in a U.S. election. See

Indictment (“Ind.”) ¶¶ 2-3, 7 (ECF No. 1). Nor is there any federal law making it a crime to

conspire to do so. Just as critically, there is no federal election law or regulation prohibiting any

person or group of persons, whether American or foreign, acting independently of a political

candidate, from conveying political speech on social media, at political rallies, or in

advertisements available for viewing in the United States. Further, there is no law or regulation

requiring that any such speech be accurate or truthful or that any U.S. or foreign person truthfully

or accurately identify herself or himself when engaging in such speech—when it comes to

political speech, one is free to pretend to be whomever he or she wants to be and to say whatever

he or she wants to say. See United States v. Alvarez, 567 U.S. 709, 722 (2012) (holding statute

prohibiting false statements about the Medal of Honor to be unconstitutional).          The Special




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Counsel concedes these facts by the absence in the Indictment of any statutory or regulatory

citations other than § 371 itself.

        Faced with the reality that no criminal offense covered the alleged conduct, the Special

Counsel crafted an Indictment accusing Concord of “recommend[ing] personnel” and

“overs[eeing]” activities, receiving budgets listing certain expenditures for advertisements

promoting “social media groups,” and providing “funding” from unspecified sources and for

unspecified purposes. Ind. ¶¶ 11, 35. While the Special Counsel claims that this alleged conduct

somehow interferes with the lawful functions of a United States agency in violation of the

defraud prong of § 371, as noted above, no other statute or regulation is cited in Count One of

the Indictment at all, let alone one that criminalizes this alleged conduct or prohibits the political

speech that resulted from it.        And the Special Counsel further maintains that Concord is

responsible for this contrived crime despite the lack of any allegations that Concord had any

knowledge of any FEC, Department of Justice (“DOJ”), or Department of State (“DOS”) statutes

or regulations. The lack of specificity in a charge is particularly fatal where, as here, protected

political speech is implicated, because in this country we have long believed that:

        “We are not afraid to entrust the American people with unpleasant facts, foreign
        ideas, alien philosophies, and competitive values. For a nation that is afraid to let
        its people judge the truth and falsehood in an open market is a nation that is afraid
        of its people.”2

        In this case, where the Indictment alleges a conspiracy to defraud that purportedly

interferes with the complex and technical statutory schemes that regulate U.S. elections and

makes a felony out of a foreign national’s alleged funding of conduct that includes protected


2
   John F. Kennedy, Remarks on the 20th Anniversary of the Voice of America, Department of
Health, Education, and Welfare, Feb. 26, 1962, available at http://www.presidency.ucsb.edu/
ws/?pid=9075.


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speech, the Special Counsel was required to allege that Concord knew that its funding

constituted a violation of law and intended that its conduct defraud the FEC and DOJ.3

       But those allegations are absent and what remains is an unconstitutionally vague

conspiracy charge that will not support an exercise of prosecutorial authority. “Today’s vague

laws . . . can invite the exercise of arbitrary power . . . by leaving the people in the dark about

what the law demands and allowing prosecutors and courts to make it up.” Sessions v. Dimaya,

138 S. Ct. 1204, 1223–24 (2018) (Gorsuch, J., concurring in part and concurring in the

judgment). Concord respectfully requests that this Court check the arbitrary exercise of that

power here and dismiss this defective Indictment.

II.    THE INDICTMENT MAKES NO SPECIFIC INTENT ALLEGATIONS AS TO
       CONCORD WITH RESPECT TO ANY STATUTE OR REGULATION

       The Indictment begins with broad and acontextual statements that the United States,

through its departments and agencies, regulates the activities of foreign individuals and entities

to counteract “foreign influence” on U.S. elections. Ind. ¶ 1. It more particularly states that U.S.

law bans foreign nationals from making certain expenditures or financial disbursements for the

purpose of influencing federal elections, and further bars agents of any foreign entity from

engaging in political activities within the U.S. without first registering with the Attorney

General. Id. It also notes that the law requires certain foreign nationals seeking entry into the

U.S. to obtain a visa by providing truthful information to the government. Id. The FEC, the

DOJ, and the DOS are alleged to be charged with enforcing these laws (id.); the FEC with



3
    The Indictment states that certain co-defendants obtained visas to enter the U.S. by claiming
they were traveling for pleasure, and thus defrauded the DOS. See Ind. ¶ 30. But Concord is not
alleged to have known anything about the visa application process or the representations made
by the co-defendants.


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respect to the reporting of expenditures (id. ¶ 25), the DOJ with respect to registrations with the

Attorney General (id. ¶ 26), and the DOS with respect to visas (id. ¶ 27).

       After these precatory observations, the Indictment describes defendant Internet Research

Agency, labelled as “the Organization,” which allegedly is engaged in operations “to interfere

with elections and political processes.” Id. ¶ 2. It then lists “Individuals” as defendants who

allegedly work for the Organization in carrying out its operations. Id. These listed individual

defendants are alleged to have “knowingly and intentionally conspired with each other . . . to

defraud the United States by impairing, obstructing, and defeating the lawful functions of the

government through fraud and deceit for the purpose of interfering with the U.S. political and

electoral processes, including the presidential election of 2016.” Id.

       Concord is not named in the first two paragraphs. Rather, the first allegations regarding

Concord appear in the next paragraph, where Yevgeny Viktorovich Prigozhin, and companies

“he controlled, including Defendants Concord Management and Consulting LLC[,]” are alleged

to have spent funds “to further the Organizations operations and to pay the other Defendants . . .”

for their work in the Organization. Id. ¶ 3.

       Concord is next mentioned in the Indictment’s first count, labelled “Conspiracy to

Defraud the United States.” In one paragraph, Concord is designated as the Organization’s

“primary source of funding for its interference operations.” It is also alleged that Concord

“controlled funding, recommended personnel, and oversaw” the Organization’s activities

“through reporting and interaction” with Organization management. Id. at ¶ 11. No specificity

is provided, however, on what any of these actions actually relate to or what Concord knew or

believed in undertaking them.




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       The Indictment goes on to describe the “Manner and Means” of the alleged conspiracy

and its “Overt Acts,” none of which mention Concord, except that it purportedly was aware that

“Organization-controlled social media groups” were spending money on social media sites. Id.

¶ 35. All other allegations are made generally as to all “Defendants,” including those concerning

tracking social media behavior of persons in the United States, creating hundreds of social media

accounts that were used to develop fictitious U.S. personas into leaders of public opinion,

concealing the identities of the social media and other web posters, and using the fictitious

accounts and persons to make political advertisements and posts to influence the 2016 U.S.

presidential election. Id. ¶¶ 4, 6, 28, 29, 32, 48, and 52.

III.   THE INDICTMENT PROVIDES NO ACTUAL NOTICE OF ANY ARGUABLY
       APPLICABLE STATUTES AND REGULATIONS.

       As far as arguably applicable statutes or regulations are concerned, the Indictment

provides no actual notice of the complex statutes and regulations upon which it is based. Count

One lacks any citation to any statute or regulation other than 18 U.S.C. § 371. The Indictment

does not allege that any of the Defendants, including Concord, made any unlawful campaign

“contributions” or “donations.” Rather, the Indictment alleges generally that foreign nationals

are prohibited from “making certain expenditures or financial disbursements for the purpose of

influencing federal elections.” Ind. ¶¶ 1, 7. It also alleges that foreign nationals are prohibited

from making “any contributions, expenditures, independent expenditures, or disbursements for

electioneering communications,” and that persons who make “certain independent expenditures”

are required to report those expenditures to the FEC. Id. ¶ 25. Once again, no specificity is




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provided on what the “certain independent expenditures” might be. Nor is Concord or any other

Defendant alleged to have made an unlawful expenditure.4

       The Indictment further alleges that U.S. law prohibits “any foreign entity from engaging

in political activities within the United States” without registering with the Attorney General.

Ind. ¶¶ 1, 7 26. But only “foreign agents” of “foreign principals” are required to register under

the Foreign Agents Registration Act (“FARA”), 22 U.S.C. §§ 611(c), 612(a), and the Indictment

does not allege that Concord fits either definition—indeed, it is impossible to determine who the

Special Counsel claims failed to register.5

IV.    LEGAL STANDARDS

       A.      Motion To Dismiss Indictment

       “A party may raise by pretrial motion any defense, objection, or request that the court can

determine without a trial on the merits.” Fed. R. Crim. Proc. 12(b)(1). This includes “a defect in

the indictment or information” such as “lack of specificity” and “failure to state an offense.” Id.

12(b)(3)(B)(iii) & (v). “In ruling on a motion to dismiss for failure to state an offense, a district

court is limited to reviewing the face of the indictment and, more specifically, the language used

to charge the crimes.” United States v. Sunia, 643 F. Supp. 2d 51, 60 (D.D.C. 2009) (internal

quotations and citation omitted).

4
    While prohibitions do exist at 52 U.S.C. §§ 30121(a)(1)(C) and 30104(f) regarding certain
funding, foreign nationals are not barred from issue advocacy through political speech such as
what is described in the Indictment—they are only precluded from willfully making expenditures
that expressly advocate the election or defeat of a particular candidate. See Bluman, 800 F.
Supp. 2d at 284, 292. Furthermore, FEC regulations expressly carve out from the definition of
“electioneering communications” an exemption for communications—like those allegedly at
issue here—that are transmitted over the internet. See 11 C.F.R. § 100.29(c)(1).
5
    If Concord is a foreign principal, it was not required to register and cannot be charged with
conspiracy to fail to register. See 22 U.S.C. §§ 611(c), 612(a); Gebardi v. United States, 287
U.S. 112, 123 (1932). And if Concord is an “agent” of a foreign principal, the Indictment fails to
allege who the foreign principal actually was.


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       A “‘valid indictment must: (1) allege the essential facts constituting the offense[,] (2)

allege each element of the offense, so that fair notice is provided[,] and (3) be sufficiently

distinctive that a verdict will bar a second prosecution for the same offense.’” Sunia, 643 F.

Supp. 2d at 77 (citations and emphasis omitted). “[T]he first requirement … has its origins in the

Grand Jury Clause,” while the “second and third requirements … derive from the notice

requirement of the Sixth Amendment and the Double Jeopardy clause of the Fifth Amendment,

respectively.” Id. at 77–78 (citation omitted). As this Court recently explained:

       No less an authority than the Supreme Court of the United States has repeatedly
       explained that careful drafting in the language of the indictment is essential
       because the Fifth Amendment requires that criminal prosecutions be limited to the
       unique allegations of the indictments returned by the grand jury[,] and that [t]he
       precise manner in which an indictment is drawn cannot be ignored, because an
       important function of the indictment is to ensure that, in case any other
       proceedings are taken against [the defendant] for a similar offen[s]e, ... the record
       [will] sho[w] with accuracy to what extent he may plead a former acquittal or
       conviction[,].

United States v. Hillie, 227 F. Supp. 3d 57, 70 (D.D.C. 2017) (internal quotations and citations

omitted). Thus, “‘[t]o allow the prosecutor, or the court, to make a subsequent guess as to what

was in the minds of the grand jury at the time they returned the indictment would deprive the

defendant’ of the ‘protection which the guaranty of the intervention of a grand jury was designed

to secure[,] [f]or a defendant could then be convicted on the basis of facts not found by, and

perhaps not even presented to, the grand jury which indicted him.’” Sunia, 643 F. Supp. 2d at 77

(quoting Russell v. United States, 369 U.S. 749, 770 (1962)).

       “When testing the sufficiency of the charges in an indictment, ‘the indictment must be

viewed as a whole and the allegations [therein] must be accepted as true at this stage of the

proceedings.” Hillie, 227 F. Supp. 3d at 71 (citation omitted). “The key question is whether the

allegations in the indictment, if proven, are sufficient to permit a jury to conclude that the

defendant committed the criminal offense as charged.” Id. (citation omitted). “[A]n indictment
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not framed to apprise the defendants with reasonable certainty[ ] of the nature of the accusation

against him is defective, although it may follow the language of the statute.” Id. (internal

quotations and citations omitted).

       B.         Conspiracy To Defraud

       The Indictment does not exist in a vacuum. It involves a purported conspiracy to defraud

under § 371 that allegedly implicates federal elections and political speech. As discussed in

more detail below, in these circumstances, extra care must be exercised in analyzing the

Indictment’s allegations to ensure that only unlawful conduct driven by criminal intent is

charged and punished. And where, as here, complex and technical regulatory schemes are

implicated and free speech considerations also are in play, even greater rigor is called for in

examining the Indictment’s charges and in requiring the proper level of mens rea to support a

felony offense.

       Conspiracy is an “‘elastic, sprawling and pervasive offense,’ whose development

exemplifies, in Judge Cardozo’s phrase, the ‘tendency of a principle to expand itself to the limit

of its logic’—and perhaps beyond.” United States v. Borelli, 336 F.2d 376, 380 (2d Cir. 1964)

(Friendly, J.) (quoting Krulewitch v. United States, 336 U.S. 440, 445 (1949) (Jackson, J.

concurring)).     Indeed, the terms “conspiracy” and “defraud,” when used together, have a

“peculiar susceptibility to a kind of tactical manipulation which shields from view very real

infringements on basic values of our criminal law.” Abraham S. Goldstein, Conspiracy to

Defraud     the     United   States,   68   Yale    L.J.   405,   409    (1959)    available    at

https://heinonline.org/HOL/Page?handle=hein.journals/ylr68&div=32&id=&page=&collection=j

ournals; see also id. at 461–63 (“defraud” has been subject to “an unprecedented degree of

judicial expansion” rendering conspiracy to defraud the United States “a Kafkaesque crime”).

Courts must therefore be closely attuned to the government’s “attempts to broaden the already
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pervasive and wide-sweeping nets of conspiracy prosecutions.” Grunewald v. United States, 353

U.S. 391, 404 (1957). And the Supreme Court has explicitly “warned” that such efforts to

expand the conspiracy net should be met with “disfavor.” Id.

       There is no better example of this dangerous expansion than the application of § 371’s

defraud clause—as in this case—to judicially created “Klein” conspiracies aimed at using

dishonest means to interfere with “lawful governmental functions.” See United States v. Klein,

247 F.2d 908, 916 (2d Cir. 1957). In that 60-plus-year-old ruling, the Second Circuit—following

the Supreme Court’s decision in Hammerschmidt v. United States, 265 U.S. 182 (1924)—held

that § 371 criminalizes conspiracies not only directed at “cheating … the government out of

property or money” but also those aimed at “interfer[ing] with or obstruct[ing] one of [the

government’s] lawful governmental functions by deceit, craft or trickery, or at least by means

that are dishonest.’” Id. at 916 (quoting Hammerschmidt, 265 U.S. at 188).6

       With that judicial gloss, § 371’s defraud clause has proven to be “a very broad provision,

which subjects a wide range of activity to potential criminal penalties.”       United States v.

Caldwell, 989 F.2d 1056, 1059 (9th Cir. 1993). It thus is no surprise that § 371 today remains

the same “darling of the modern prosecutor’s nursery” it was more than 90 years ago. Harrison

v. United States, 7 F.2d 259, 263 (2d Cir. 1925) (L. Hand, J.). It is, however, “regrettable that

prosecutors should recurrently push to expand the limits of [§ 371] in order to have it encompass

more and more activities which may be deeply offensive or immoral or contrary to state law but

which Congress has not made federal crimes.” United States v. Licciardi, 30 F.3d 1127, 1133


6
    The D.C. Circuit has never endorsed Klein and has only cited it once for a single statement of
law regarding double-jeopardy principles in the context of a multi-count indictment—not for its
§ 371 defraud-clause analysis or holding. See United States v. McDaniel, 538 F.2d 408, 414
(D.C. Cir. 1976).


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(9th Cir. 1994). Consequently, the usual “‘danger [of injustice] inherent in a criminal conspiracy

charge’” is especially heightened for a Klein conspiracy charge because the “vagueness of the

concept of interfering with a proper government function” carries with it “a special capacity for

abuse . . . .” United States v. Goldberg, 105 F.3d 770, 775 (1st Cir. 1997) (quoting Dennis v.

United States, 384 U.S. 855, 860 (1963)); see also United States v. Barker Steel Co., Inc., 985

F.2d 1136, 1137 (1st Cir. 1993) (Breyer, C.J., concurring in denial of rehearing en banc)

(expressing concern with broad interpretations of § 371 that would “permit prosecutors to cast

their criminal net too wide”).

       In particular, Klein conspiracy cases raise a precipitous “danger that prosecutors may use

[§ 371] to punish activity not properly within the ambit of the federal criminal sanction.” United

States v. Shoup, 608 F.2d 950, 955–956 (3d Cir. 1979); see also United States v. Minarik, 875

F.2d 1186, 1191 (6th Cir. 1989) (observing that the “problem” of “loose interpretations of

criminal fraud statutes which allow the fact situation to define the crime . . . is particularly acute

under the ‘defraud’ clause of § 371 because Hammerschmidt stripped the word ‘defraud’ of its

common law roots . . . .”); United States v. Rosenblatt, 554 F.2d 36, 41 n.6 (2d Cir. 1977)

(noting the “[t]he potential for abuse in allowing the government to manipulate prosecution by

easy access to the conspiracy-to-defraud clause is clear”). Therefore, “indictments under the

broad language of the general conspiracy statute must be scrutinized carefully as to each of the

charged defendants because of the possibility, inherent in a criminal conspiracy charge, that its

wide net may ensnare the innocent as well as the culpable.” Dennis, 384 U.S. at 860 (citations

omitted); see also Caldwell, 989 F.2d at 1061 (cautioning against reading § 371’s defraud clause

to “forbid all things that obstruct the government, or require citizens to do all those things that

could make the government’s job easier”).



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       This cautionary approach to § 371 defraud conspiracies aligns with basic constitutional

requirements of fair notice. “A fundamental principle in our legal system is that laws which

regulate persons or entities must give fair notice of conduct that is forbidden or required.” Fed.

Commc’ns Comm’n v. Fox Television Stations, Inc., 567 U.S. 239, 253 (2012) (citation omitted).

Specifically, “‘[t]he prohibition of vagueness in criminal statutes[]’ . . . is an ‘essential’ of due

process, required by both ‘ordinary notions of fair play and the settled rules of law.’” Dimaya,

138 S. Ct. at 1212 (2018) (citations omitted); see also Fox Television Stations, 567 U.S. at 253

(“This requirement of clarity in regulation is essential to the protections provided by the Due

Process Clause of the Fifth Amendment.”) (citation omitted). It “guarantees that ordinary people

have ‘fair notice’ of the conduct a statute proscribes” and “guards against arbitrary or

discriminatory law enforcement by insisting that a statute provide standards to govern the actions

of police officers, prosecutors, juries, and judges.” Dimaya, 138 S. Ct. at 1212 (citations

omitted).

       Relatedly, the courts effectuate these constitutionally guaranteed fair notice principles

through the “rule of lenity,” “a sort of ‘junior version of the vagueness doctrine,’” which directs

that criminal statutes be applied “only to conduct clearly covered.” United States v. Lanier, 520

U.S. 259, 266 (1997) (citations omitted); see also Yates v. United States, 135 S. Ct. 1074, 1088

(2015) (plurality op.) (invoking the rule that ambiguity should be resolved in favor of lenity).

Like the void-for-vagueness doctrine, “the rule of lenity ensures that criminal statutes will

provide fair warning concerning conduct rendered illegal and strikes the appropriate balance

between the legislature, the prosecutor, and the court in defining criminal liability.” Liparota v.

United States, 471 U.S. 419, 427 (1985). And the rule goes hand in hand with the need for a

mens rea requirement. See id. at 427 (“[R]equiring mens rea is in keeping with our longstanding



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recognition of the principle that ‘ambiguity concerning the ambit of criminal statutes should be

resolved in favor of lenity.’”) (citations omitted); United States v. U.S. Gypsum Co., 438 U.S.

422, 437 (1978) (noting Court’s previous reliance on the rule of lenity as a basis for “read[ing] a

state-of-mind component into” a criminal statute).

       Section 371 defraud conspiracy cases raise manifest concerns that bring the rule of lenity

to bear. As the Supreme Court noted in its most recent treatment of § 371’s defraud clause,

“ambiguity concerning the ambit” of the clause “should be resolved in favor of lenity.” Tanner

v. United States, 483 U.S. 107, 131 (1987).            The Tanner Court “warned against loose

interpretations of criminal fraud statutes which allow the fact situation to define the crime.”

Minarik, 875 F.2d at 1191; see also United States v. Haga, 821 F.2d 1036, 1040 n.17 (5th Cir.

1987) (reversing defraud conspiracy conviction where charge would have required “imparting

such infinite elasticity to the second branch of section 371 [so as to] fl[y] in the face of rules

governing the construction of penal statutes”).

       These overarching constitutional considerations are all in play as it relates to the

Indictment before this Court. Concord is charged as a co-conspirator for a contrived crime not

specifically defined in any statute, without notice and under a standard known only to the Special

Counsel. Our Constitution will not tolerate a felony charge like this one; nor should this Court.

V.     ARGUMENT

       A.      The Indictment Against Concord Should Be Dismissed Because It Fails To
               Allege The Crime Of A Defraud Conspiracy That Interferes With A Lawful
               Governmental Function Under § 371.

       The Special Counsel’s single charged count against Concord arises under § 371’s

conspiracy to defraud provision and its judicially created proscription against such conspiracies

that “interfere with lawful governmental functions.”        But the fatal structural flaw in the

Indictment here is that it provides no indication of what is meant—under statute or regulation—

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by a “lawful governmental function” as it relates to the FEC, the DOJ, or the FECA and FARA

statutes referenced obliquely in the Indictment’s allegations.

       What falls within a “lawful function,” of course, cannot exist only in the abstract or be

locked up in the fertile mind of the Special Counsel, shrouded in secrecy. It must be discernable

to the outside world at the time a criminal indictment is handed down. See Dimaya, 138 S. Ct. at

1212 (due process “guarantees that ordinary people have ‘fair notice’ of the conduct a statute

proscribes”) (citations omitted); Williams v. United States, 458 U.S. 279, 286 (1982) (courts are

“reluctant to base an expansive reading [of criminal statutes] on inferences drawn from

subjective and variable ‘understandings’”).7 To pass muster here, therefore, the Indictment

would have to specify just how it is Concord interfered with a lawful governmental function that

is embodied in a particular provision of the FECA or FARA and subject to enforcement by

federal agencies. That cannot be a matter of guesswork or speculation. This Court must be able

to say with certainty that the Indictment’s allegations spell out with particularity how and why

Concord has violated the law. See Sunia, 643 F. Supp. 2d at 80 (indictment cannot stand where

court “would have to ‘guess as to what was in the minds of the grand jury at the time they

returned the indictment,’ . . . . [A]n exercise [that] is not permitted by the Fifth Amendment’”)

(citations omitted). There is no such certainty in this case.

       As for the statutes and regulations that conceivably regulate a foreign national’s

participation in a U.S. election and that are referred to but not cited in the Indictment, they are


7
    Just as surely, the Special Counsel’s expansive construction of “lawful function”—secret or
otherwise—is entitled to no deference from this Court. See Crandon v. United States, 494 U.S.
152, 177 (1990) (Scalia, J., concurring) (while the DOJ “has a very specific responsibility to
determine for itself what this [criminal] statute means, in order to decide when to prosecute[,] we
have never thought that the interpretation of those charged with prosecuting criminal statutes is
entitled to deference”).


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narrowly drawn and there is no indication that Concord could violate them, actually violated

them, knew they were being violated, agreed with anyone to help violate them, or even knew

what the statutes and regulations were or what they required or proscribed. See In re Sealed

Case, 223 F.3d 775, 779 (D.C. Cir. 2000) (explaining that “there can be no finding of

conspiracy” to commit an offense or defraud under § 371 based on election-law violations where

the underlying wrongful “transaction described by the government does not violate FECA”).

Concord is, in short, accused of being a co-conspirator in a felonious attempt to obstruct the

functioning of a federal election without any identified or recognized statutory offense or any

allegation of conscious criminal intent directed at the United States. And, of course, Concord

could not be guilty of felony conspiracy based strictly on lawful conduct, whether or not that

lawful conduct was concealed from the government. See Bordenkircher v. Hayes, 434 U.S. 357,

363 (1978) (“To punish a person because he has done what the law plainly allows him to do is a

due process violation of the most basic sort.”) (citation omitted).

       Turning to the Indictment’s specific allegations as to Concord, there is more guesswork

and speculation. There is nothing in any statute or regulation promulgated by the FEC or DOJ

that makes a felony out of providing funding to a foreign “Organization” for unspecified

purposes related to unspecified elections or for “recommend[ing] personnel” to that Organization

or for “overs[eeing] its activities” or reviewing budgets concerning unspecified advertising

expenditures. Ind. ¶ 11, 35. None of that, without more, is criminal conduct, much less criminal

conduct that interferes with the lawful function of administering a U.S. election.

       Undeterred, the Special Counsel asserts that the Indictment charges Concord with

interference with the FEC or DOJ “to make determination[s] one way or the other.” See Ex. B,

Excerpted Pages of the Transcript of June 15, 2018 Hearing (“Hr’g Tr.”) at 8:18–19 (ECF No.



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41). But the Indictment offers no elaboration of what any such determinations would be about or

what is “one way” as opposed to the “other.” In short, the Indictment does not identify the

“governmental function” at issue. It would be preposterous to charge a felony with that sort of

declaration divorced from any regulatory function at all. Still undeterred, as the Special Counsel

would have it, for a valid § 371 defraud conspiracy, he need only prove that Concord had general

knowledge that a “regulatory apparatus . . . designed to prevent foreign influence from operating

in a covert undisclosed manner that can thwart the political system . . . exists, it’s out there.” Id.

10:21–22. But there is no certainty here either.

       These hopelessly vague assertions the Special Counsel makes about knowledge

concerning the “regulatory apparatus” are not alleged anywhere in the Indictment.               More

fundamentally, bare “covert” “thwart[ing]” of the “regulatory apparatus” governing a U.S.

election will not support a § 371 defraud conspiracy. In the absence of allegations specifically

showing that Concord intended to interfere, or entered a conspiracy to interfere, with a lawful

function relating to a U.S. election in a deceitful and dishonest manner, there is no basis for a

§ 371 defraud conspiracy charge whether elections were interfered with or not.             See, e.g.,

Licciardi, 30 F.3d at 1132 (finding that the government failed to prove the mens rea required for

a § 371 defraud conviction when it made no effort to show the defendant conspired to cause false

information be provided to a government agency, noting “[t]hat the incidental effects of

[defendant’s] actions would have been to impair the functions of the [agency] does not confer

upon him the mens rea of accomplishing that object.”); Caldwell, 989 F.2d at 1060–61 (the

defendant has to engage in deceitful and dishonest activity or agree to conspire using deceitful

and dishonest activity to impair a government function; impairment alone is not enough—it is

not what makes the conduct wrongful).



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       There is, in short, a yawning gap between the specific allegations in this Indictment and

what otherwise is necessary to charge Concord with a felony. The Special Counsel is purporting

to charge Concord in the absence of any intent and for undertaking a conspiracy that is not

prohibited by any identified regulatory function carried into effect by the FEC or DOJ under

some specific statute. There is, however, no basis to charge anyone, including a foreign national,

as a co-conspirator without a wrongful intent to engage in unlawful conduct specified in some

statutory or regulatory scheme. Yet that is exactly what the Special Counsel is attempting here,

evoking Judge Kavanaugh’s admonition, in speaking for this Court in Bluman:

       [W]e caution the government that seeking criminal penalties for violations of [law
       regulating foreign nationals’ political contributions or expenditures] will require
       proof of defendant’s knowledge of the law. There are many aliens in this country
       who no doubt are unaware of the statutory ban on foreign expenditures . . . .

Bluman, 800 F. Supp. 2d at 292 (Kavanaugh, J.) (citing Moore, 612 F.3d at 702–04).

       Simply put, whatever largess might exist in reading an indictment, it does not give the

government, through a special counsel or otherwise, the right to pursue a foreign national for

allegedly criminal conduct residing only in the mind of the drafter of the charge. The vague

allegations aimed at Concord in this Indictment will not sustain a felony charge under § 371’s

defraud prong and, as a result, the Indictment must be dismissed.

       B.      The Indictment Against Concord Should Be Dismissed Because It Fails To
               Allege The Requisite Mens Rea To Support The § 371 Conspiracy To
               Defraud Charge Against Concord.

       The specific allegations in the Indictment also fail to allege a § 371 defraud conspiracy

charge for an independent but equally fundamental reason—it fails to allege the required

criminal intent. The Special Counsel has asserted, in writing and orally, that his Indictment

under § 371, despite the DOJ’s prosecutorial guidelines, need not charge Concord with willful

conduct and that his Indictment does not do so. In his view, the needed unlawful intent is


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something short of that, although there is no assurance on what it is.8 But he is wrong as a matter

of law.

          Section 371 does not, by its terms, contain a specific mens rea requirement. But it is well

settled that “‘wrongdoing must be conscious to be criminal,’” and the Supreme Court thus

applies a “rule of construction” interpreting “‘criminal statutes to include broadly applicable

scienter requirements, even where the statute by its terms does not contain them.’” Elonis v.

United States, 135 S. Ct. 2001, 2003 (2015) (citations omitted). In the context of conspiracy

generally, the law imposes a heightened mens rea standard of specific intent. As the D.C. Circuit

has explained, the “‘law of inchoate offenses such as attempt and conspiracy[]’” requires a

“‘heightened mental state [which] separates criminality itself from otherwise innocuous

behavior.’” United States v. Childress, 58 F.3d 693, 707 (D.C. Cir. 1995) (quoting United States

v. Bailey, 444 U.S. 394, 405 (1980)). Thus, “conspiracy is a ‘specific intent’ crime[]” that, at a

minimum, “requires proof of specific intent to . . . advance or further the unlawful object of the

conspiracy.’” Id. at 707–08 (citation omitted); see also United States v. Wilson, 160 F.3d 732,

737 (D.C. Cir. 1998) (conspiracy requires “‘an agreement . . . to commit a specific offense, ” and

“‘knowing[] participat[ion] in the conspiracy with the intent to commit the offense’”) (citation

and omitted). Moreover, where, as here, a § 371 Klein conspiracy alleges interference with the

8
     At a June 15, 2018 hearing on Concord’s Motion for In Camera Inspection of Legal
Instructions to the Grand Jury (ECF No. 11), counsel for the Special Counsel argued that the
DOJ Guidelines are “a little cryptic and ambiguous” but are “susceptible to [a] reading” that
willfulness is an element of a § 371 charge. Hr’g Tr. 10:19–21. He went on to state, however,
that the Guidelines’ articulation of the requisite mens rea is “not the litigating position of the
United States,” and instead pointed to a 2016 brief submitted by the DOJ to the U.S. Court of
Appeals for the First Circuit signed by the Assistant Attorney General for the Criminal Division.
Hr’g Tr. 10:21–11:8. As best undersigned counsel can determine, that brief is the one submitted
in United States v. Morosco, 822 F.3d 1 (1st Cir. 2016), where the First Circuit rejected the
United States’ position and approved an instruction that included willfulness. See infra pp. 27–
28.


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enforcement of complex, reticulated statutory functions carried out through conduct implicating

First Amendment considerations, the mens rea specifically required is “willfulness”—a standard

that includes “knowledge of the law[s]” that define those functions. Bluman, 800 F. Supp. 2d at

292. There are no such allegations here and the Indictment must be dismissed for this reason

also.

               1.     The Special Counsel was required—but failed—to allege that
                      Concord acted with the requisite willful intent.

                      a.      Controlling legal principles require the Special Counsel to
                              show that Concord acted willfully.

        As the Supreme Court has made clear, the increasing “proliferation of statutes and

regulations sometimes ma[kes] it difficult for the average citizen to know and comprehend the

extent of the duties and obligations imposed by. . . .” law. Cheek v. United States, 498 U.S. 192,

199-200 (1991). The Supreme Court thus generally requires a showing of “willfulness” in

criminal cases where complex or technical statutes are implicated. Id. at 201 (in criminal tax

cases, “willfulness” requires the government “to prove that the law imposed a duty on the

defendant, that the defendant knew of this duty, and that he voluntarily and intentionally violated

that duty”); Ratzlaf v. United States, 510 U.S. 135, 149 (1994) (in criminal cash-deposit

“structuring” cases, “willfulness” requires knowledge of the legal duty and a violation of it).9

This heightened mens rea showing applies with particular force in this case.


9
    In Bryan v. United States, 524 U.S. 184 (1998), the Supreme Court declined to apply the
Cheek/Ratzlaf definition of “willful” principally because there was no “danger of convicting
individuals engaged in apparently innocent activity” since the “jury found that this petitioner
knew that his conduct was unlawful” and the statute was not complex or technical—it proscribed
selling firearms without a license. Id. at 195. The Court thus construed “willful” to mean that
the defendant “acted with knowledge that his conduct was unlawful”—though not “that the
defendant was aware of the specific provision of the tax code that he was charged with
violating.” Id. at 193–94. Bryan thus does not control here, though under any circumstances, the
Special Counsel at the very least would have to meet the Bryan standard in this case.


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       Here, the Special Counsel has charged a newly conjured up election-law felony of

conspiracy predicated on a highly technical web of election, campaign-finance, and foreign-

agent registration laws. “Campaign finance regulations now impose ‘unique and complex rules’

on” regulated parties. Citizens United v. Fed. Election Comm’n, 558 U.S. 310, 334 (2010).

Indeed, as the D.C. Circuit’s decision in In re Sealed Case, 223 F.3d 775 (D.C. Cir. 2000),

illustrates, the FECA provisions applicable to foreign nationals are particularly arcane, leading

two judges of this Court to issue rulings on those provisions later reversed by the court of

appeals.

       For its part, “FARA is a complex and broadly worded criminal statute. . . . The breadth

of the statute, its criminal penalties, the absence of interpretive guidance, and the growing

attention paid to the 1930s era law by federal prosecutors combine to create dangerous and

difficult-to-manage risks for multinational companies, lobbying firms, and public relations

firms.” Covington, Election and Political Law, A Review of Pending FARA Reform Bills 1 (Mar.

15,   2018)    available   at   https://www.cov.com/-/media/files/corporate/publications/2018/03/

a_review_of_pending_fara_reform_bills.pdf. Just as “[t]here are many aliens in this country

who no doubt are unaware of the statutory ban on foreign expenditures,” Bluman, 800 F. Supp.

2d at 292, there are many aliens—inside this country and out—who no doubt are unaware of the

complex and technical requirements of campaign-finance laws, the FECA, and the FARA. This

complexity alone supports a heightened mens rea standard for a foreign national who is

implicated in a conspiracy that is not even based on an existing statutory requirement.

       But the need for a heightened showing of willfulness is even more manifest given the

extant constitutional problems raised by § 371 defraud conspiracy charges implicating core

political speech. See Skilling v. United States, 561 U.S. 358, 406 (2010) (“‘[t]he elementary rule



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is that every reasonable construction must be resorted to, in order to save a statute from

unconstitutionality’”) (citation omitted).   There is no question under the First Amendment

regarding “the primary importance of speech itself to the integrity of the election process[,]”

Citizens United, 558 U.S. at 334, especially “political” speech, which “‘occupies the highest rung

of the hierarchy of First Amendment values[.]’” Janus v. Am. Fed’n of State, Cnty., and Mun.

Emps., Council 31, 138 S. Ct. 2448, 2476 (2018) (citations omitted). Any “intrusion by the

government into the debate over who should govern goes to the heart of First Amendment

values.” Az. Free Enter. Club’s Freedom Club PAC v. Bennett, 564 U.S. 721, 750 (2011). The

First Amendment also “extends equally to the right to receive information . . . .” Allentown

Mack Sales & Serv., Inc. v. NLRB, 522 U.S. 359, 386–87 (1998). At bottom,

       [w]hen Government seeks to use its full power, including the criminal law, to command
       where a person may get his or her information or what distrusted source he or she may
       not hear, it uses censorship to control thought. This is unlawful. The First Amendment
       confirms the freedom to think for ourselves.

Citizens United, 558 U.S. at 356. “When speech is involved,” moreover, “rigorous adherence to”

fair notice “requirements . . . is necessary to ensure that ambiguity does not chill protected

speech.” Fox Television Stations, 567 U.S. at 253–54; see also Buckley v. Valeo, 424 U.S. 1, 41

n.48 (1976) (“[V]ague laws may not only trap the innocent by not providing fair warning or

foster arbitrary and discriminatory application but also operate to inhibit protected expression by

inducing citizens to steer far wider of the unlawful zone . . . than if the boundaries of the

forbidden areas were clearly marked”) (citations and internal quotation marks omitted);

Campaign Legal Ctr. v. Fed. Election Comm’n, No. 1:16–cv–00752 (TNM), 2018 WL 2739920,

at *8 (D.D.C. June 7, 2018) (in the election context, “vagueness and notice concerns carry

special weight, since courts must be especially vigilant to prevent the chilling of First

Amendment speech”).

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       Given the Indictment’s allegations, the indiscriminate application of § 371 to Concord

“risk[s] the lack of fair warning and related kinds of unfairness” that has led the Supreme Court

“to ‘exercise’ interpretive ‘restraint’” when determining the reach of a criminal statute.

Marinello v. United States, 138 S. Ct. 1101, 1108 (2018) (citations omitted); see also id. at 1109

(noting that Court has “‘traditionally exercised restraint in assessing the reach of a federal

criminal statute’”) (citation omitted); see also Dimaya, 138 S. Ct. at 1212; Fox Television

Stations, 567 U.S. at 253; supra at Part IV.B. A vague description of the requisite intent in a

criminal case “cannot be squared with the beyond-a-reasonable-doubt standard applicable in

criminal trials or with the need to express criminal laws in terms ordinary persons can

comprehend.” Burrage v. United States, 571 U.S. 204, 134 S. Ct. 881, 892 (2014) (citation

omitted).

       The result compelled by these overarching constitutional principles with respect to a

§ 371 defraud conspiracy is plain enough: where an indictment purports to charge in a complex

and technical regulatory environment like U.S. elections and likewise threatens to sweep in core

political speech as part of the offense, the indictment must spell out how and why the targeted

individual or entity knew it was violating the law. Given the vagueness of the § 371 “Klein”

conspiracy as charged, and the serious constitutional concerns it raises, the Special Counsel

must, at a minimum, show that Concord knew what “lawful governmental functions” it was

allegedly impeding or obstructing and how the relevant laws described those functions. Still

more particularly, the Special Counsel was required to allege facts in the Indictment to show that

Concord knew about the relevant statutory schemes—the so-called “regulatory apparatus”

referred to by the Special Counsel at the June 15, 2018 hearing—and, by dishonest and deceitful

means, conspired to impede specific statutes or regulations that are a part of that apparatus and



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thereby interfered with the lawful functioning of the 2016 presidential election. Supra at Part

V.A.

       Seemingly, until this case, the government itself agreed that election-based conspiracies

like the one charged here required a showing of willfulness as just described. In its recently

updated “Guidelines for Federal Prosecution of Election Offenses,” the DOJ made clear that

charges of conspiracy to defraud under § 371 based on election offenses require proof that the

defendant “was aware that his or her conduct was generally unlawful” and “must also show that

the defendant intended to disrupt and impede the lawful functioning of the FEC.” See Dep’t of

Justice, Federal Prosecution of Election Offenses, 162–63 (Dec. 2017 8th Ed.) (the “DOJ

Guidelines”) (emphasis added). Thus, the Guidelines require proof that the defendant intended

to disrupt and impede the FEC in addition to willfulness, defined as the awareness of

unlawfulness required for an underlying offense of FECA.

       The Guidelines specifically note that this standard is “a higher factual burden than is

required under 18 U.S.C. § 1001,” which requires proof that a defendant act “knowingly and

willfully; that is, the defendant intended to cause the recipient to record false statements and

knew, generally, that making such a false statement as unlawful.” Id. at 162–63. While the DOJ

Guidelines were updated in December 2017, this position has remained constant for at least ten

years. See Ex. A, Dep’t of Justice, Federal Prosecution of Election Offenses, 187–88 (May 2007

7th Ed.) (excerpt containing substantially similar language as the Eighth Edition). The

Guidelines are, moreover, consistent with Judge Kavanaugh’s opinions in Bluman and Moore.

See Bluman, 800 F. Supp. 2d at 292 (“[W]e caution the government that seeking criminal

penalties for violations of [laws regulating foreign nationals’ political contributions or

expenditures] will require proof of defendant’s knowledge of the law.”); Moore, 612 F.3d at 704



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(Kavanaugh, J., concurring) (explaining that “the Supreme Court’s precedents arguably require

district courts in § 1001 cases to give a willfulness instruction that requires proof that the

defendant knew his conduct was a crime”).

       In reviewing indictments brought by the government under § 371’s conspiracy to defraud

clause in the FEC context, time and again the government followed through on the DOJ

Guidelines and alleged “willfulness” consistent with the Guidelines.10 Yet now, the Special


10
    See, e.g., Ex. C, Indictment at 5, ¶ 11, United States v. Hopkins, 916 F.2d 207 (5th Cir. 1990)
(No. 3–89–008) (charging that defendants “knowingly and willfully combined, agreed, and
conspired, together and with others, both known and unknown to the Grand Jury, to [] defraud
the United States, in particular the Federal Election Commission, of and concerning its right to
have its business and affairs conducted free from deceit, dishonesty, unlawful impairment, and
obstruction”); Ex. D, Indictment at 4, ¶ 10, United States v. Hsia, 24 F. Supp. 2d 63 (D.D.C.
1998), rev’d in part, appeal dismissed in part, 176 F.3d 517 (D.C. Cir. 1999) (No. 98–0057)
(charging that defendants “did knowingly and willfully combine, conspire, confederate, and
agree with and among each other and with persons known and unknown to the grand jury, to
defraud the United States and, in particular, the FEC and INS, agencies of the United States, by
impairing, obstructing, impeding, and defeating the FEC’s and INS’s lawful functions and duties,
in violation of Title 18, United States Code, Section 371”); Ex. E, Indictment at 6, ¶ 18, United
States v. Mariani, 212 F. Supp. 2d 361 (M.D. Pa. 2002) (No. 97–225) (charging that defendants
“did knowingly and willfully combine, conspire, confederate and agree together and with each
other. . .to defraud the United States by impairing, impeding, defeating and obstructing the
lawful functions and duties of the FEC in violation of Title 18, United States Code, Section
371”); Ex. F, Indictment at 3, ¶ 7(a), United States v. Turner, No. 06-0026, 2006 WL 1980252
(D.D.C. July 12, 2006) (charging that defendants “did combine, conspire, confederate, agree, and
have a tacit understanding to knowingly and willfully defraud the United States by impairing,
impeding, defeating the lawful functions and duties of the OPM and the FEGLI program”); Ex.
G, Information at 3–4, ¶¶ 6, 8–10, United States v. Mathis-Gardner, 110 F. Supp. 3d 91 (D.D.C.
2015) (No. 11–100) (charging that defendant “did knowingly and unlawfully combine, conspire,
confederate, and agree with other persons, both known and unknown to the United States, to
defraud the United States by. . . .[k]nowingly and willfully provid[ing]. . . false and fraudulent
information, documents, and representations”).
    While the government did not specifically charge “willfulness” in its § 371 defraud charges
in United States v. Kanchanalak, 41 F. Supp.2d 1 (D.D.C. 1999) and United States v. Trie, 21 F.
Supp.2d 7 (D.D.C. 1998), see infra at pp. 28-29, the indictments in those cases both charged
other counts that included willfulness, so the juries in both cases presumably were given
“willfulness” instructions. See Ex. H, Superseding Indictment at 24, ¶ 2, and 27, ¶ 2, United
States v. Kanchanalak (charging substantive FECA violations and causing false statements, all of
which included willfulness); Ex. I, Indictment at 28, ¶ 2, 31, ¶ 2, United States v. Trie (charging
                                                                                        (continued)
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Counsel walks away from that settled departmental practice to avoid what he cannot allege or

prove.

         The Special Counsel likely will offer the rejoinder that Concord is trying to convert his

charged defraud conspiracy under § 371 into one charged under the statute’s “offense” prong

because the FECA and FARA statutes that govern contributions and registration invoke a

willfulness requirement.11 But that rejoinder is misdirected. For one thing, to the extent these

particular statutes in the relevant regulatory schemes provide for a willfulness burden of proof,

that is in keeping with constitutional principles and provides further support for the burden that

must overlay § 371 defraud conspiracies built on such schemes. The existence of that statutory

burden, in any event, certainly provides no reason to lower the bar where a defraud conspiracy is

concerned and, more fundamentally, the bar cannot be lowered.

         For another, if anyone is blurring the line between § 371’s offense and defraud clauses, it

is the Special Counsel—on the one hand, he vaguely suggests Concord has conspired to interfere

with the government’s administration of the FECA and FARA statutory schemes; on the other,

he says he is not charging Concord with violating those schemes. Hr’g Tr. 8:14-19. The reason

for this approach seems clear—to try to evade the willfulness standard that must be met to show

violations of the FECA and FARA provisions referenced in an offense-clause conspiracy case.

But allowing this would permit offense-clause cases to be routinely charged as defraud-clause

cases, and Congress could not have intended to draft a criminal statute like § 371 that creates two

distinct ways the criminal offense could be committed, but where one could potentially swallow

up the other. See Wisconsin Cent. Ltd. v. United States, 138 S. Ct. 2067, 2073 (2018) (rejecting

false statements and aiding and abetting, and conspiracy to obstruct justice, all of which included
willfulness).
11
     See 22 U.S.C. § 618(a); 52 U.S.C. § 30109(d).


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government’s interpretation of two distinct terms in statute that would “simply obliterate” the

distinction thus “promis[ing] a graver surplusage problem of its own”); Minarik, 875 F.2d at

1193 (underscoring courts’ “responsibility to keep that definition [of ‘defraud’ under § 371] from

engulfing the statute itself and obliterating the carefully drawn relationship between the two

clauses” in § 371).

       In this case, for reasons that are as immutable as they are profound, proof of willfulness

must be shown. And, since the requisite allegations are missing from the Indictment against

Concord, the Indictment as to Concord should be dismissed.

                      b.      Existing case law supports the need for a willfulness showing
                              here.

       No case has specifically addressed whether a willfulness mens rea is required in a § 371

defraud conspiracy case like this one. But that is only because of the novelty of this Indictment.

In circumstances where, as here, complex regulations are implicated against a foreign national

with no presence in the United States, and the threat of punishing innocent conduct is extant,

courts frequently have expressed the need for a heightened mens rea requirement. And even in

those cases favored by the Special Counsel in his prior briefing, which he erroneously believes

serve to relax the standard for criminal intent—requiring only some vague proof that Concord

knew “on some level” the existence of some unspecified “regulatory apparatus” governing

foreign nationals who participate in some fashion in United States elections (Hr’g Tr. 9:17–22)—

the concerns over the proof of mens rea are evident, just as they should be in any conspiracy

case. It is simply impossible for any person, whether a foreign national or a U.S. citizen, to have

any knowledge of, let alone understand, the Special Counsel’s imaginary “on some level” mens

rea standard. Further, none of the cases relied upon by the Special Counsel provide any reason

not to impose a willfulness requirement in this case.


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       Starting with the cases that require a heightened mens rea requirement, this Court in

Bluman, 800 F. Supp. 2d at 292, explicitly “caution[ed] the government that seeking criminal

penalties for violations of [laws regulating foreign nationals’ political contributions or

expenditures] will require proof of defendant’s knowledge of the law.” See also Moore, 612

F.3d at 704 (Kavanaugh, J., concurring) (explaining that “the Supreme Court’s precedents

arguably require district courts in [18 U.S.C.] § 1001 cases to give a willfulness instruction that

requires proof that the defendant knew his conduct was a crime”).

       The First Circuit has issued two relevant decisions on the requisite mens rea requirement

in § 371 defraud conspiracy cases. First, in United States v. Monteiro, 871 F.2d 204 (1st Cir.

1989), the court of appeals affirmed a jury instruction in a § 371 defraud-clause case based on

tax offenses that required willfulness, defined as:

       [A]ct[ing] or participat[ing] voluntarily and intentionally, and with specific intent
       to do something the law forbids, or with the specific intent to fail to do something
       the law requires to be done; that is to say, to act or participate with the bad
       purpose either to disobey or to disregard the law. So if a Defendant, or any other
       person, with an understanding of the unlawful character of a plan, knowingly
       encourages, advises or assists, for the purpose of furthering the undertaking or
       scheme, he thereby becomes a willful participant-a conspirator.

Id. at 208. The instruction is consistent with the standard Concord advances here. It requires the

alleged co-conspirator to willfully and knowingly join a conspiracy that is aimed at deceitfully

and dishonestly interfering with something the co-conspirator knows the law forbids.

       The Special Counsel previously argued to this Court that its mens rea position was

consistent with that of the DOJ asserted in a brief filed in United States v. Morosco, 822 F.3d 1

(1st Cir. 2016). Hr’g Tr. 11:5–8. There, the First Circuit approved an instruction in a § 371

defraud case resting on interference “with the proper operation of [a HUD] program.” Morosco,

822 F.3d at 20. The court recognized that with charges related to the HUD statute—as is true in



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this context—there was a danger that innocent conduct would be criminalized through

undisciplined use of a § 371 defraud charge. The court therefore approved an instruction—as it

had in Monteiro—that included a willfulness requirement on two levels; one for joining the

conspiracy and a second for interfering with and obstructing the proper operation of the HUD

program with the purpose of disregarding or disobeying the law. Importantly, the court refused

to accept DOJ’s argument that willfulness was not required for a § 371 defraud charge,

characterizing DOJ’s argument as “interesting as the government’s thought may be.” Id. at 20–

21.

       By the same token, in United States v. Trie, even though the conspiracy to defraud count

did not use the word “willful,” this Court required willfulness as part of a criminal indictment

under § 371 in the context of an alleged election conspiracy. 21 F. Supp. 2d 7, 15 (D.D.C.

1998). In count one of the indictment there, the government alleged that the defendant conspired

to defraud the United States under § 371 by making various fraudulent contributions without

satisfying applicable reporting obligations. Id. at 13. Defendant moved to dismiss the § 371

count on grounds that the government was required to prove the defendant knew of the reporting

obligations. Based in part on the complexity of the federal election laws invoked and its

concern—consistent with due process—that innocent conduct might be ensnared, the court

concluded that the government was required to show the “defendant knew of the [political party]

treasurers’ reporting obligations, that he attempted to frustrate those obligations, and that he

knew his conduct was unlawful.” Id. at 14.

       The Third Circuit’s decisions in United States v. Curran, 20 F.3d 560 (3d Cir. 1994) and

United States v. Alston, 77 F.3d 718 (3d Cir. 1996), likewise support a willfulness requirement in

a case like this one. In Curran, the Third Circuit applied the Ratzlaf standard in the context of a



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§ 371 defraud conspiracy to interfere with the FEC. There, the defendant was convicted of

conspiring to defraud the United States under § 371 by interfering with the FEC’s reporting

requirements, in addition to substantive offenses of causing election campaign treasurers to

submit false reports to the FEC under 18 U.S.C. §§ 2(b) and 1001. Curran, 20 F.3d at 562.

       The Third Circuit vacated the convictions, finding that the heighted willfulness standard

in Ratzlaf applied because the conduct of making a contribution in the name of another is “not

obviously evil or inherently bad.” Curran, 20 F.3d at 569 (internal quotations omitted). Thus,

the lower court’s jury instruction that merely contained the word “willfully” was deficient. Id. at

569–71. Rather, a jury must find the defendant agreed to commit an unlawful act combined with

intent to commit the underlying offense. Id. at 571. The court also prescribed that on remand

“the instructions on intent as to the conspiracy count must track those applicable to the

substantive counts.” Id. The concerns that drove Curran to its holding on the offense prong are

the same ones that drive the analysis on the defraud prong in this case.

       Two years later, in Alston, 77 F.3d 713, the Third Circuit again applied the heightened

willfulness standard to a § 371 defraud conspiracy in the context of structuring transactions. The

government argued that the § 371 defraud conspiracy charge did not require the Ratzlaf level of

mens rea because the defendant was guilty of participating in a “Klein” conspiracy, which, it

contended, does not require proof of knowledge of illegality. Id. at 715, 720. The court rejected

the government’s position, finding it could not discern any difference between the government’s

“defraud scenario” and the substantive structuring offense for which the defendant had been

acquitted. Id. at 720. The court held that “to obtain a conviction under either the ‘defraud’ or

‘offense’ clauses of § 371, the government had to prove that Alston knew that his structuring

activities were illegal.” Id. at 721. Alston, like Curran, finds ready analogy to this case.



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       Finally, in Licciardi, 30 F.3d 1127, the defendant grape broker allegedly defrauded a

wine producer and was charged under the conspiracy to defraud clause of § 371 because of the

regulatory involvement of a federal agency, the Bureau of Alcohol, Tobacco, and Firearms

(“ATF”), in the wine industry. Id. at 1128–29. The court applied a willfulness standard to the

§ 371 defraud conspiracy explaining: “It might have been easy for the government to establish

that Licciardi was familiar with the federal regulations on the labelling of wine and that it was a

necessary part of his plan of deceit that [the defrauded wine producer] provide information to the

government that would frustrate these regulations[,]” but the government did not do so. Id. at

113212; see also United States v. Nersesian, 824 F.2d 1294 (2d Cir. 1987) (holding that

government had to prove in § 371 defraud-clause case that defendant “had specific knowledge of

the reporting requirements and intended to cause them to be evaded”) (citations omitted). That

level of familiarity likewise is precisely what is required in this case.

       Nevertheless, and as noted, the Special Counsel has insisted that a § 371 conspiracy to

defraud can be proved as to Concord without any evidence of willfulness—that is, without any

evidence that Concord acted with a deceitful and dishonest intent to impede any specific

“regulatory functions” or in knowing that those “regulatory functions” applied to United States

elections. See ECF No. 20 at 10-11 & n.4 (discussing cases). But none of the cases the Special

Counsel cites in his effort to water down the mens rea requirement are on point. Each one, on its

own facts, demands a showing of mens rea in a § 371 conspiracy to defraud that goes beyond a




12
    The Ninth Circuit ultimately upheld the § 371 conspiracy to defraud conviction based on a
second related substantive conspiracy conviction for which, the court found, there was sufficient
evidence of mens rea. See Licciardi, 30 F.3d at 1133. No such basis exists for the § 371 defraud
conspiracy charge against Concord.


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vacuous claim that a defendant knew it was interfering with a lawful governmental function,

labeled generically here as a “regulatory apparatus,” related to a “United States election.”

       For example, the D.C. Circuit’s decision in United States v. Davis, 863 F.3d 894 (D.C.

Cir. 2017), does not speak to the mens rea issue. The court there merely stated that the

government had to show that a defendant “knowingly agreed,” and there was no dispute over

mens rea. For another, United States v. Hsia, 176 F.3d 517 (D.C. Cir. 1999), likewise does not

address the mens rea needed in this case and does not compel the conclusion that a willfulness

standard is not required.     There, the government brought a six-count indictment against

defendant for causing false statements to be made to the FEC in connection with political

contributions—one count for conspiracy to defraud under § 371 and five substantive counts

under 18 U.S.C. §§ 2 and 1001. The district court dismissed the latter five counts but refused to

dismiss the § 371 count, and the government appealed.

       On appeal, the D.C. Circuit reversed the dismissal of the five substantive counts for

making false statements in violation of 18 U.S.C. §§ 2 and 1001, concluding that under those

provisions, “the government need not prove that Hsia knew her acts to be unlawful[.]” Hsia, 176

F.3d at 522. Rather, the court found, the government need only show that the defendant knew

that the statements were false and the defendant intentionally caused the statements to be made

by another. Id.13 The court did not, however, render any substantive ruling on the § 371 count—

which defendant had cross-appealed—finding instead that it lacked jurisdiction to consider it.

13
    Even this finding, beside the point in this § 371 case, is on shaky ground, as Judge
Kavanaugh pointed out in Moore, 612 F.3d at 704 (Kavanaugh, J., concurring) (noting that “Hsia
referenced a 1994 Third Circuit opinion [Curran] that predated the Supreme Court’s clarifying
decisions in Bryan and later cases,” and that, as a result, Hsia’s mens rea ruling may need to be
reconsidered). Judge Kavanaugh went on to say that “in a case where the issue is raised, the
Supreme Court’s precedents arguably require district courts in § 1001 cases to give a willfulness
instruction that requires proof that the defendant knew his conduct was a crime.” Id.


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Id. at 526–27. And in fact, the underlying indictment alleged that all of the defendant’s alleged

violations were knowing and willful. See United States v. Hsia, 24 F. Supp. 2d 14, 20–21

(D.D.C. 1998); see also Ex. D, Hsia Indictment, supra note 10 at 4, ¶ 10. Further, more recently

in Bluman, this Court made clear that seeking criminal penalties for violation of FECA’s

prohibition on certain conduct by foreign nationals requires proof of the defendant’s knowledge

of the law. Bluman, 800 F. Supp. 2d at 292.

       Beyond this, the analysis in Hsia was narrowly drawn around political contributions—the

specific subject of a statute—and involved a series of actions by the defendant to find straw

donors and funnel money with the intent to avoid the statutory requirements.          While the

government was not required to prove that the defendant knew her conduct was unlawful, it did

require a mens rea consistent with § 371’s defraud prong; that is, that she knew that she was

intentionally causing others to make false statements for the purpose of evading what the

contribution statute required. Hsia, 176 F.3d at 522; see also Hsia, 24 F. Supp. 2d at 21 (noting

charge required proof of knowledge and willfulness).

       Another trio of cases cited by the Special Counsel (Doc. No. 20 at 10)—United States v.

Coplan, 703 F.3d 46 (2d Cir. 2012), United States v. Khalife, 106 F.3d 1300 (6th Cir. 1997) and

United States v. Jackson, 33 F.3d 866 (7th Cir. 1994) (cited at ECF No. 20 at 10)—are tax-

avoidance conspiracy cases that, like Hsia, do not provide that a willfulness standard must be

rejected in this context. Coplan, for example, involved tax evasion using tax shelters that the

defendant knew concealed information from the Internal Revenue Service (“IRS”) that was

required to be disclosed and thus made false statements on a tax return. To sustain a conspiracy

conviction, the court noted that the substantive offense required a willful non-payment with the

intent to evade a lawful tax payment. All the co-conspirators, moreover, needed to possess that



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intent and the court reversed the conviction of the targeted co-conspirator (Shapiro) precisely

because the proof did not show that he had the specific intent to violate the law. The court’s

evaluation of the evidence is in keeping with the mens rea requirement Concord urges.14

       As for Khalife and Jackson, neither case implicates the regulatory complexities or free

speech considerations that exist in a case like this one.        And they also do not give the

government a free pass on the mens rea requirement, either. Both cases involved concealment of

material facts resulting in the filing of false tax returns. Although neither case required proof

that the defendant knew it was violating the particular underlying substantive statute for purposes

of a § 371 defraud conspiracy, both required proof that each co-conspirator agreed to accomplish

an illegal objective against the United States and had the specific intent to impede lawful tax

collection.15 See Khalife, 106 F.3d at 1303; Jackson, 33 F.3d at 872

       Unlike these cases, there are no allegations specific to Concord that it violated any

statutory provision or regulation governing U.S. elections, that it knew of any statutes regulating

U.S. elections, or that it joined a conspiracy with an awareness that any such statute or regulation

would be violated. Concord stands accused of interfering with the proper functioning of a U.S.

election, but in contrast with Hsia, Coplan, Khalife, or Jackson, the Indictment makes no attempt

to explain what is meant by proper functioning in light of the FECA, the FARA, or any other

statute or regulation. Again, “proper functioning” cannot simply be administration of underlying

statutes, because if that was the case, every violation of federal law would also be a § 371

14
   Indeed, as for Coplan specifically, it is more notable for Judge Cabranes’s cogent
deconstruction for the Second Circuit of the viability of Klein conspiracies under the plain text of
§ 371, discussed more fully below. Infra at Part V.D.
15
    At the June 15 hearing, the Special Counsel also invoked United States v. Kanchanalak, 41
F. Supp. 2d 1 (D.D.C. 1999), where the court laid out the elements of proof for a § 371 defraud
conspiracy. But nothing in that case addressed, much less rejected, the need to prove willfulness
in an election cases like this one.


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defraud conspiracy, thereby improperly “obliterat[ing],” § 371’s distinct use of “offense” and

“defraud.” Wisconsin Cent. Ltd., 138 S. Ct. at 2073. See also Minarik, 875 F.2d at 1193 (courts

must reject interpretation of “defraud” that would “engulf[] the statute itself and obliterat[e] the

carefully drawn relation between the two clauses”). Nor, moreover, is concealment alone—

without interference with “lawful governmental functions”—a § 371 “Klein” defraud conspiracy,

especially where the covert activity involves speech. And there are no allegations on how it was

that Concord, a foreign national, knew something unlawful was going on or that its conduct was

furthering an unlawful purpose with respect to any program or statutory scheme overseen by the

United States. None of the Special Counsel’s cited cases endorse that result and this Court

should not do so either.

       In this proceeding, specific allegations showing willfulness are necessary to ensure that

Concord is being charged because it knew it was violating a law relating to U.S. elections.

Otherwise, it is threatened with punishment for conduct that does not defraud the United States

in violation of § 371 in the manner the Indictment generically claims. This is also why Concord

previously sought discovery of the grand jury instructions and why it is imperative that this

Court find that willfulness is a required element of the Special Counsel’s proof.

               2.      The Special Counsel was required—but failed—to allege that
                       Concord specifically targeted the United States or its agencies.

       Requiring willfulness alone is not sufficient to save this Indictment—the Special Counsel

also must point to allegations that Concord specifically intended, through its alleged conduct, to

defraud the United States itself, or one of its agencies. See Tanner, 483 U.S. at 130 (a § 371

conspiracy to defraud is “most importantly” defined by the “target of the conspiracy”). But as to

Concord, the Indictment alleges only that it provided funding for unspecified purposes to foreign

persons, recommended personnel, and reviewed budgets containing advertising expenditures


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apparently linked to those persons, but with no indication that Concord specifically targeted the

United States or its agencies in undertaking that conduct. And whether Concord could have

surmised or even intended that its alleged conduct might influence those who voted in the 2016

presidential election is beside the point. Influencing voters is one thing and targeting the federal

government or its agencies is another—the difference is fatal to this Indictment under Tanner

and its progeny. Section 371 defraud conspiracies extend only to those who act with the specific

intent of targeting the United States and its exercise of its sovereign and lawful functions.

       Thus, as the Supreme Court explained in Tanner, “[t]he conspiracies criminalized by §

371 are defined not only by the nature of the injury intended by the conspiracy, and the method

used to effectuate the conspiracy but also—and most importantly—by the target of the

conspiracy.” Id. at 130. “Section 371 covers conspiracies to defraud ‘the United States or any

agency thereof,’ a phrase that [even] the Government concedes fails to describe [private

parties].” Id.   Following Tanner, courts repeatedly have acknowledged that the purported

deception of the United States government “has to be a purpose or object of the conspiracy, and

not merely a foreseeable consequence of the conspiratorial scheme.” Goldberg, 105 F.3d at 773

(citing Dennis, 384 U.S. at 861). It is not enough that the defendant allegedly conspired to take

some generic action or even conspired to defraud a private actor and, in doing either, engaged in

deception that foreseeably hindered the government’s lawful functions. To the contrary, there is

no criminal violation of § 371 unless an object of the conspiracy was the use of deception to

interfere with the government’s lawful function.

       Three post-Tanner cases—Licciardi, 30 F.3d 1127, United States v. Mendez, 528 F.3d

811 (2008), and United States v. Pappathanasi, 383 F. Supp. 2d 289 (D. Mass. 2005)—illustrate

this particular limitation.   Licciardi involved a grape broker’s conspiracy to defraud wine



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producers by passing off less expensive wine grapes as more expensive varieties. Licciardi, 30

F.3d at 1129–30. As part of the fraudulent scheme, the broker had grape growers remove the

field tags from the inferior grapes so they could more easily be passed off as their more

expensive counterparts. Id. The scheme impaired the ATF’s lawful regulatory function because

the wineries were required to use field tags to file reports with the ATF and because the scheme

caused the wineries to sell wines that were mislabeled with the wrong grape type in violation of

federal regulations the ATF was charged with enforcing. Id. at 1129, 1131. While the grape

broker had been convicted of conspiracy to defraud under § 371, the Ninth Circuit concluded that

the conviction under the theory the government had advanced was erroneous because the

government had not established that the broker had the requisite mens rea required under

Tanner. Id. at 1132. The Ninth Circuit noted that the defendant “was far from innocent morally

or in terms of the law of California[,]” but explained that under Tanner that was not the

issue. Id. at 1131–32. To the contrary, the question before it was whether there was evidence of

a conspiracy to defraud to the United States government—something the government had failed

to establish at trial. Id. The court nevertheless went on to affirm the conviction on alternative

grounds because there was sufficient evidence of a second unlawful object of the conspiracy—

namely, an intent to commit mail fraud. Id. at 1132.

       Mendez, in turn, involved a truck driver who had conspired to use a fraudulent

qualification record to obtain a commercial driver’s license from the State of Florida. Mendez,

528 F.3d at 813–14. The driver’s fraud ultimately impaired the United States Department of

Transportation’s (“DOT”) lawful function because it had the effect of allowing the defendant to

circumvent the DOT’s minimum rules and regulations for obtaining a commercial driver’s

license. Id. at 814–15. Although the defendant had been convicted of conspiracy to defraud



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under § 371 based upon the facts to which he had stipulated, the Eleventh Circuit vacated the

conviction as “precisely what the Tanner Court meant to prevent.” Id. at 815. It found

significant that the “facts to which the parties stipulated do not show that [the defendant] even

knew the federal government was involved in the issuance of Florida [commercial driver’s

licenses], let alone that the United States was the ultimate intended target of [the defendant’s]

conduct.” Id. It thus reasoned that “under Tanner, there was no basis for the district court to

find that [the defendant] was guilty beyond a reasonable doubt of defrauding the United States

under 18 U.S.C. § 371.” Id. at 815–16.

       For its part, Pappathanasi involved a kickback scheme between executives at a creamery

and Dunkin’ Donut franchisees whereby the creamery would inflate invoices to the franchisees

and then give the franchisees “rebates” of the excess charges back to franchisees in the form of

unreported checks and cash. Pappathanasi, 383 F. Supp. 2d. at 290. The government had

charged that this scheme amounted to a conspiracy to defraud the United States by helping the

franchisees defraud the IRS by overstating expenses and understating income. Id. at 291. The

district court, however, concluded that the charge had to be dismissed because the government

was unable to come up with sufficient evidence to establish that the object of the alleged

conspiracy was a scheme to defraud the IRS by helping franchisees misreport information to the

IRS and evade their tax obligations. Id. at 291–92. While the court acknowledged that there was

evidence that some franchisees had indeed used the kickback scheme for this purpose, that was

not sufficient as the government was required to “prove the purpose of the conspiracy was to

interfere with the proper functioning of the IRS and that any fraud was not merely a foreseeable

consequence of a conspiratorial agreement.” Id. at 291–93. Because the government’s evidence

of any such direct intent to interfere with the IRS’s function was lacking, the court granted



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defendants’ motion for acquittal and dismissed the § 371 charge. Id. at 294–95.

        Together, these cases demonstrate how, following the Supreme Court’s holding in

Tanner, a § 371 conspiracy to defraud requires more than just conduct, even fraud, which

ultimately can be linked to an impairment of a lawful function of the United States

government. Rather, an object of the conspiracy must be the specific intent to defraud the United

States government or its agencies and an element of the charge is that the defendant committed

to engage in fraud that it knew would be specifically directed at the United States government or

its agencies and was and intended to interfere with the government’s lawful function. Those

specific allegations are, however, missing from the Indictment as to Concord. Dismissal of the

Indictment is required for this independent reason as well.

        C.      The Indictment Against Concord Should Be Dismissed Because The Special
                Counsel’s Application Of § 371’s Defraud Clause Is Unconstitutionally
                Vague.

        As noted above, according to the Special Counsel, to sustain the Indictment, he need only

show that, through “deceptive acts,” Concord interfered with some undescribed government

“regulatory apparatus … that exists to root out foreign influence on the United States’s [sic]

processes[.]” Hr’g Tr. 9:6–13; see also supra at Part V.A. With respect to those “processes,”

moreover, he maintains that Concord need only have known “that there is in the United States,

on some level, regulation that’s designed to prevent foreign influence from operating in a covert,

undisclosed manner that can thwart the political system.” Hr’g Tr. 9:8–21. Adoption of this

standard in this case would not, however, pass constitutional muster. Indeed, any jury instruction

articulating this standard would authorize the government to prosecute anyone for conspiring to

do anything that the government unilaterally determines—after the fact—“interferes” with its

myriad “functions.” That is not and cannot be the law and the Indictment should be dismissed

for this reason also.
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       To begin with, how could anyone, let alone a foreign national company with no presence

in the United States, be on notice of a prosecutor or court created a “some level” of intent

requirement? And beyond that: what “regulatory apparatus,” what “foreign influence on the

United States’s [sic] [political] processes … without adequate disclosure,” what “covert

manner?” And with respect to these euphemisms, what level of knowledge and intent to deceive

is required and with respect to what? The Special Counsel’s vacuous articulation plainly defies,

on every level, the “discernable meaning” a criminal statute like § 371 must have—“‘after if not

before it is judicially construed’” (Tanner, 483 U.S. at 132 (quoting Dixson v. United States, 465

U.S. 482, 512 (1984) (O’Conner J., dissenting))—to support a felony conspiracy conviction.

       Specifically, the Due Process Clause requires more and precludes criminal punishment

under a criminal law that “fails to give ordinary people fair notice of the conduct it punishes, or

so standardless that it invites arbitrary enforcement.” Johnson v. United States, 135 S. Ct. 2551,

2556 (2015) (citation omitted); see also Dimaya, 138 S. Ct. at 1212 (same); Giaccio v.

Pennsylvania, 382 U.S. 399, 402–03 (1966) (“arbitrary enforcement” means that a law leaves

government actors “free to decide, without any legally fixed standards, what is prohibited and

what is not in each particular case”). The void-for-vagueness “doctrine is a corollary of the

separation of powers—requiring that Congress, rather than the executive or judicial branch,

define what conduct is sanctionable and what is not.” Dimaya, 138 S. Ct. at 1212 (citation

omitted); see also United States v. Bass, 404 U.S. 336, 348 (1971) (“[B]ecause of the seriousness

of criminal penalties, and because criminal punishment usually represents the moral

condemnation of the community, legislatures and not courts should define criminal activity.”).

       Pursuant to this bedrock constitutional directive, the Supreme Court has “become

accustomed to using the Due Process Clause to invalidate” or strictly construe criminal statutes



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“on the ground of ‘vagueness.’” Johnson, 135 S. Ct. at 2566–67 (Thomas, J., concurring) (citing

cases); see also Dimaya, 135 S. Ct. at 1212; McDonnell v. United States, 136 S. Ct. 2355, 2367

(2016); Yates, 135 S. Ct. at 1074. This Court should do the same and reject the Special

Counsel’s charge that Concord engaged in a criminal conspiracy to defraud the United States by

interfering with some amorphous and undefined “lawful governmental function” or the

government’s “regulatory apparatus” in the context of a U.S. election.

       First, even on its face, “the defraud clause of section 371[,]” with its judicially engrafted

interference with “lawful governmental function” prong, “has a special capacity for abuse

because of the vagueness of the concept of interfering with a proper government function.”

Goldberg, 105 F.3d at 775. “Lawful governmental function” is not self-defining and could be

construed expansively to extend to all the myriad ways in which the government regulates and

operates on a daily basis. See Caldwell, 989 F.2d at 1060 (“The federal government does lots of

things, more and more every year, and many things private parties do can get in the

government’s way.”). And it goes without saying that any “Government promise[] to use”

§ 371’s defraud clause “responsibly” is no basis to uphold its application to Concord in this case.

United States v. Stevens, 559 U.S. 460, 480 (2010) (citation omitted).

       Second, that the “interference with lawful governmental function” was written into § 371

by the courts only exacerbates the vagueness concerns here. Statutory detail in defining crimes

is required not just to protect individual due process rights—it is also to ensure that it is

Congress, not the courts or the executive branch, which creates and defines federal crimes. See

Liparota, 471 U.S. at 424 (federal crimes are “solely creatures of statute”); Lanier, 520 U.S. at

267 n.6 (“Federal crimes are defined by Congress, not the court”) (citations omitted).

“[L]egislators may not ‘abdicate their responsibilities for setting the standards of the criminal



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law,’ by leaving to judges the power to decide “‘the various crimes includable in [a] vague

phrase[.]’” Dimaya, 138 S. Ct. at 1227 (Gorsuch, J., concurring) (quoting Smith v. Goguen, 415

U.S. 566, 575 (1974); Jordan v. De George, 341 U.S. 223, 242 (1951) (Jackson, J., dissenting)).

“For ‘if the legislature could set a net large enough to catch all possible offenders, and leave it to

the courts to step inside and say who could be rightfully detained, and who should be set at

large[,] [t]his would, to some extent, substitute the judicial for the legislative department of

government.’” Id. (citation omitted).

       Third, while the Supreme Court has acknowledged that statutory “clarity at the requisite

level may be supplied by judicial gloss on an otherwise uncertain statute,” Lanier, 520 U.S. at

266 (citations omitted), “due process bars courts from applying a novel construction of a

criminal statute to conduct that neither the statute nor any prior judicial decision has fairly

disclosed to be within its scope,” id. at 266 (citations omitted), and adding clarity to a statute “by

judicial gloss” is no license to courts to insert language into a statute that Congress did not put

there. See Mercy Hospital, Inc. v. Azar, 891 F.3d 1062, 1070 (D.C. Cir. 2018) (“We can only

interpret statutes, not rewrite them.”). Here, the Supreme Court, in Hammerschmidt, extended §

371 beyond its text to encompass fraud conspiracies that are not within the statute’s ambit and

where there is no apparent support for that construction in the history or text in the first place.

Quite the contrary: as Judge Cabranes explained at length in Coplan, 703 F.3d 46, Congress

elected only to use the term “defraud,” which at common law had a settled, narrow meaning: “to

deprive another of property rights by dishonest means.” Id. at 59; McNally v. United States, 483

U.S. 350, 358 (1987) (common-law fraud required wronging another “in his property rights by

dishonest methods or schemes”).




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       Fourth, these concerns are acute here given the dangerous First Amendment

implications—both for speakers and listeners—of the Special Counsel’s charge and allegations

in the context of a U.S. presidential campaign. Supra at Part V.B.1.a. “When the criminal

penalty at issue applies to activity that furthers First Amendment interests, . . . the court is

obliged to review the challenged enactment” and its application “with particular care.” United

States v. Thomas, 864 F.2d 188, 194 (D.C. Cir. 1988) (Starr, J.); see also Campaign Legal Ctr.,

2018 WL 2739920, at *8 (in the election context, “vagueness and notice concerns carry special

weight, since courts must be especially vigilant to prevent the chilling of First Amendment

speech”). “Indeed, when the [application of law] threatens exercises of otherwise permissible

First Amendment rights, [it] must provide more notice and allow less discretion than for other

activities.” Thomas, 864 F.2d at 194 (citation omitted); see also Bryant v. Gates, 532 F.3d 888,

893 (D.C. Cir. 2008) (“Our concern about vagueness is elevated when the law regulates speech

because it may ‘operate to inhibit protected expression by inducing citizens to steer far wider of

the unlawful zone than if the boundaries of the forbidden areas were clearly marked.’”) (citation

omitted). Vagueness problems are “particularly treacherous where, as here, the violation of its

terms carries criminal penalties and fear of incurring these sanctions may deter those who seek to

exercise protected First Amendment rights.” Buckley, 424 U.S. at 76–77.

       Ultimately, whatever may have been true on other fact patterns, the extension of § 371’s

defraud prong in the manner contemplated by the Special Counsel lacks any basis in the statute’s

text, is not determinable, ex ante, by a foreign national like Concord, contains no discernable

definition of “interference with a lawful governmental function” in the context of a U.S. election,

raises serious First Amendment concerns and, as a result, that will not pass constitutional muster.

The Supreme Court’s recent decision in McDonnell, 136 S. Ct. 2355, makes the point.



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       There, the Supreme Court unanimously rejected the government’s vague and expansive

interpretation of the term “official act” in the federal bribery statute. Unlike here, the statutory

text included the term “official act” and even provided a definition. But that did not satisfy the

Court, which proceeded to adopt a narrow, specific, and discernable definition of the term,

consistent with constitutional vagueness concerns. “[U]nder the Government’s interpretation,”

the Court reasoned, “‘official act’ is not defined ‘with sufficient definiteness that ordinary people

can understand what conduct is prohibited,’ or ‘in a manner that does not encourage arbitrary and

discriminatory enforcement.’”       McDonnell, 136 S. Ct. at 2373 (citation omitted).            The

“‘standardless sweep’” of the government’s reading, the Court continued, could subject public

officials “to prosecution, without fair notice, for the most prosaic interactions[,]” and

“‘[i]nvoking so shapeless a provision to condemn someone to prison’” raised serious due process

concerns that could be avoided with a “more constrained interpretation[.]”             Id. (citations

omitted). So too here. The Special Counsel’s proposed “standardless sweep” cannot support this

Indictment any more than it could in McDonnell. Any effort to embrace the Special Counsel’s

approach here would compel dismissal of the Indictment as well.

       D.      The Indictment Against Concord Should Be Dismissed Because It Fails To
               Allege Deprivation Of Government Money Or Property As Required Under
               A Proper Construction Of § 371 (For Preservation Only).

       Finally, although the Supreme Court held in Hammerschmidt that § 371 extends to

conspiracies to defraud aimed at interfering with “lawful governmental functions” even where

the government is not deprived of “property or money,” that atextual interpretation is plainly

wrong as a matter of statutory construction, see Coplan, 703 F.3d at 59–62; has been eroded by

more recent Supreme Court decisions that hew more closely, as they should, to the text of

criminal statutes, id.; and is entitled to minimal, if any, stare decisis effect at the Supreme Court.



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Although the Court may deem itself presently bound by the holding in Hammerschmidt, Concord

raises this challenge here to preserve it for any later appellate proceedings in the case.

       Judge Cabranes’s analysis in Coplan cogently makes the case. Surveying the history of

§ 371 and its defraud clause, he demonstrated that not long after the enactment of § 371’s

predecessor, the Supreme Court “described the prohibited fraud as ‘any fraud against [the United

States]. It may be against the coin, or consist in cheating the government of its land or other

property.’” Coplan, 703 F.3d at 59 (quoting United States v. Hirsch, 100 U.S. 33, 35 (1879)).

This, in turn, was fully consistent with Congress’s use of the term “defraud,” whose settled

common-law meaning was “to deprive another of property rights by dishonest means.” Id. at 59

(citations omitted); see also Universal Health Servs., Inc. v. U.S. ex rel. Escobar, 136 S. Ct.

1989, 1999 (2016) (noting “settled principle of interpretation that, absent other indication,

Congress intends to incorporate the well-settled meaning of the common-law terms it uses” and

that “the term ‘fraudulent’ is a paradigmatic example of a statutory term that incorporates the

common-law meaning of fraud”) (citations omitted).

       It nevertheless was true, Judge Cabranes acknowledged, that since Hirsch, the Supreme

Court had expanded § 371 to include Klein conspiracies. Coplan, 703 F.3d at 60. For its part,

the government in Coplan rested its defense of that expansive construction not on any principle

of statutory construction but, rather, on stare decisis and the fact that the Supreme Court had not

overruled Hammerschmidt. And ultimately, because bound by Hammerschmidt and Dennis,

Judge Cabranes was forced to reject the defendants’ challenge to the scope of “defraud,” despite

the identified “infirmities in the history and deployment of the statute[.]” Id. at 61.

       Concord acknowledges Hammerschmidt and Dennis, which the Supreme Court has not

overturned. It therefore makes this argument to preserve it on appeal, if necessary. While stare



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decisis could lead the Supreme Court to maintain its adherence to Hammerschmidt and Dennis,

see Pearson v. Callahan, 555 U.S. 223, 233 (2009) (noting that “considerations of stare decisis

weigh heavily in the area of statutory construction, where Congress is free to change this Court’s

interpretation of its legislation”) (citation omitted), there are good reasons, given the deficiencies

in the Court’s reasoning in those cases, to believe it will—and should—not. Id. at 234 (stare

decisis not properly accorded where a precedent or rule “was ‘badly reasoned’ or . . . has proved

to be ‘unworkable[]’”) (citation omitted); see also Johnson, 135 S. Ct. at 2563 (“[S]tare decisis

does not matter for its own sake. It matters because it ‘promotes the evenhanded, predictable,

and consistent development of legal principles. Decisions under [§ 371’s Klein conspiracy gloss]

have proved to be anything but evenhanded, predicable, or consistent.”) (citation omitted).

VI.    CONCLUSION

       The Indictment of Concord cannot withstand scrutiny under controlling law and should

be dismissed.

Dated: July 16, 2018                                 Respectfully submitted,

                                                     CONCORD MANAGEMENT
                                                     AND CONSULTING LLC


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                                EXHIBIT A:
Excerpts from Dep’t of Justice, Federal Prosecution of Election Offenses (May 2007, 7th Ed.)



                Defendant Concord Management and Consulting LLC’s
                          Motion to Dismiss the Indictment
                 United States v. Internet Research Agency LLC, et al.,
                          Criminal Action No. 18-00032-DLF
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Federal Prosecution
of Election Offenses
Seventh Edition

May 2007
(Revised      August 2007)




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                 • the defendant acted knowingly and willfully; that
                   is, the defendant intended to cause the recipient
                   of political contributions to record false state-
                   ments concerning their source. However, the
                   government does not have to prove that the
                   defendant was aware of the statutory requirements
                   and prohibitions of FECA, that he purposefully
                   violated the Act, or that he was aware of the
                   federal agency’s interest in the matter falsified.
                   Proof that the defendant “acted deliberately and
                   with knowledge that the representation was false”
                   is sufficient. United States v. Hopkins, 916 F.2d
                   at 214.

            (b) Conspiracy to defraud the United States.
                18 U.S.C. § 371

        The “conspiracy to defraud” approach to FECA crimes is
based on Hammerschmidt v. United States, 265 U.S. 182 (1924),
which held that a conspiracy to defraud the United States under
Section 371 includes a conspiracy “to interfere with or obstruct one
of [the federal government’s] lawful governmental functions by
deceit, craft, or trickery, or at least by means that are dishonest.” Id.
at 188. See also Dennis v. United States, 384 U.S. 855, 861 (1966);
Haas v. Henkel, 216 U.S. 462, 469 (1910).

        This conspiracy theory, as applied to the functioning of
the FEC, is as follows: the FEC, an agency of the United States, has
the principal statutory duties of enforcing FECA’s campaign
financing prohibitions and disclosure requirements and providing the
public with accurate information regarding the source and use of
contributions to federal candidates and expenditures supporting
federal candidates. 2 U.S.C. §§ 437c, 437d. To perform these duties


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the FEC must receive accurate information from the candidates and
political committees that are required to file reports under the Act.
A scheme to infuse patently illegal funds into a federal campaign,
such as by using conduits or other means calculated to conceal the
illegal source of the contribution, thus disrupts and impedes the FEC
in the performance of its statutory duties.

        As previously stated, prosecution under FECA’s criminal
provision requires proof that the defendant was aware of the
substantive FECA requirement he or she violated, and that he or she
violated it notwithstanding this active awareness of wrongdoing.
National Right to Work Committee v. Federal Election Commission,
716 F.2d 1401 (D.C. Cir. 1983); AFL-CIO v. Federal Election
Commission, 628 F. 2d 97 (D.C. Cir. 1980). However, when the
conduct is charged under Section 371, the proof must also show that
the defendant intended to disrupt and impede the lawful functioning
of the FEC. Indeed, the crux of a Section 371 FECA case is an intent
on the part of the defendant to thwart the FEC. That is a higher
factual burden than is required under 18 U.S.C. § 1001 in all but the
Third Circuit, and is arguably a greater factual burden than is required
by Section 437g(d).

       The use of Section 371 in this manner has been approved by
the Third and Fifth Circuits. United States v. Curran, 20 F.3d 560
(3d Cir. 1994); United States v. Hopkins, 916 F.2d 207 (5th Cir.
1990).

       5. Public Financing Crimes Relating to Presidential
          Campaigns

       The anti-fraud provisions of the Presidential Primary
Matching Payment Account Act, 26 U.S.C. §§ 9031-9042, and the
Presidential Election Campaign Fund Act, 26 U.S.C. §§ 9001-9012,


                                 188
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                        EXHIBIT B:
Excerpts from Transcript of June 15, 2018 Hearing (Docketed at ECF No. 41)



          Defendant Concord Management and Consulting LLC’s
                    Motion to Dismiss the Indictment
           United States v. Internet Research Agency LLC, et al.,
                    Criminal Action No. 18-00032-DLF
     Case 1:18-cr-00032-DLF Document 46-2 Filed 07/16/18 Page 2 of 10
                                                                         1



 1                  BEFORE THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
 2

 3   UNITED STATES OF AMERICA,      .
                                    .       Case Number 18-CR-32
 4             Plaintiff,            .
                                    .
 5        vs.                        .
                                    .       Washington, D.C.
 6   CONCORD MANAGEMENT AND         .       Jun 15, 2018
     CONSULTING LLC,                .       10:03 a.m.
 7                                  .
               Defendant.            .
 8   - - - - - - - - - - - - - - - -

 9                        TRANSCRIPT OF STATUS HEARING
                    BEFORE THE HONORABLE DABNEY L. FRIEDRICH
10                       UNITED STATES DISTRICT JUDGE

11   APPEARANCES:

12   For the Government:                  JEANNIE S. RHEE, AUSA
                                          MICHAEL R. DREEBEN, AUSA
13                                        L. RUSH ATKINSON, AUSA
                                          RYAN K. DICKEY, AUSA
14                                        U.S. Department of Justice
                                          Special Counsel's Office
15                                        950 Pennsylvania Avenue N.W.
                                          Washington, D.C. 20530
16                                        202-616-0900

17   For the Defendant Concord
     Management and Consulting LLC:       ERIC A. DUBELIER, ESQ.
18                                        KATHERINE J. SEIKALY, ESQ.
                                          Reed Smith LLP
19                                        1301 K Street N.W.
                                          Suite 1000, East Tower
20                                        Washington, D.C. 20005
                                          202-414-9291
21
     Official Court Reporter:             SARA A. WICK, RPR, CRR
22                                        U.S. Courthouse, Room 4704-B
                                          333 Constitution Avenue N.W.
23                                        Washington, D.C. 20001
                                          202-354-3284
24
     Proceedings recorded by stenotype shorthand.
25   Transcript produced by computer-aided transcription.
     Case 1:18-cr-00032-DLF Document 46-2 Filed 07/16/18 Page 3 of 10
                                                                            7



 1   the transcripts.    We're not asking for the evidence that was put

 2   in.

 3              THE COURT:    I know.   You're asking for me to look in

 4   camera, and I appreciate that that's a limited request.

 5         However, there is -- breaching the secrecy of the grand

 6   jury, it's not an easy thing to do.       And I don't think you've

 7   made a showing at this point, without even winning on the

 8   argument that willfulness is an essential element, that I need

 9   to go there.

10              MR. DUBELIER:    Your Honor, I understand your position.

11   I respectfully disagree with you, but I understand the position

12   you're arguing.    And if we have to renew this at a later time

13   and we will tee it up with respect to the motion to dismiss, we

14   will do that as well.

15              THE COURT:    Okay.   Thank you, Mr. Dubelier.

16              MR. DUBELIER:    Thank you very much, your Honor.       I

17   appreciate it.

18              THE COURT:    Mr. Dreeben?

19              MR. DREEBEN:    Good morning, your Honor.

20              THE COURT:    Good morning.     Let me ask you, I know

21   we're not getting into the merits today and deciding the

22   ultimate issue.    But I'm curious, with respect to the conspiracy

23   to defraud the FEC and the conspiracy to defraud the DOJ with

24   respect to the Foreign Agents Registration Act, what is the

25   government's position on what ultimately the government must
     Case 1:18-cr-00032-DLF Document 46-2 Filed 07/16/18 Page 4 of 10
                                                                                8



 1   prove to the jury?

 2                MR. DREEBEN:   So the government's position on that,

 3   your Honor, is that we need to prove a conspiracy to defraud the

 4   United States.    We do not need to prove a criminal violation of

 5   the underlying statute, and the elements of the underlying

 6   statutes that your Honor has referred to are not an ingredient

 7   in the case.

 8        It's well-established in D.C. Circuit law, in the

 9   Kanchanalak campaign finance case that Judge Friedman handled

10   that the elements of a conspiracy to defraud the United States

11   are formation of a conspiracy, the intent to obstruct, impede,

12   or interfere with functions of the government through deceit and

13   an overt act.    Those are the elements that we need to establish.

14        It's a different crime because it's not saying that they

15   necessarily were required to file with the FEC or that they were

16   required to register with the Department of Justice.          What it is

17   saying is that the deception interfered with the regulatory

18   functions of those agencies to make the determination one way or

19   the other.

20                THE COURT:   But don't you have to show, on some level,

21   maybe not a knowledge of the particular legal provisions that

22   underlie the FECA and the FARA allegations, the specific

23   statutory provisions, while they may not need to know that,

24   don't they have to, on some level, in having an intent to

25   defraud, have some knowledge that they are doing something
     Case 1:18-cr-00032-DLF Document 46-2 Filed 07/16/18 Page 5 of 10
                                                                                    9



 1   wrong?

 2                MR. DREEBEN:   Well, the wrongfulness of the act

 3   consists of using deception to impair the government's

 4   functions.    They do have to have a purpose.       It doesn't have to

 5   be the major purpose or the exclusive purpose of deceiving the

 6   government to impede its functions.       It could range all the way

 7   up to they know that they're violating the law, but it could

 8   also be that we know that the government has a regulatory

 9   apparatus that exists to root out foreign influence on the

10   United States's processes, political processes without adequate

11   disclosure.    And thwarting that process through deceptive acts

12   is a way of impeding the regulatory functions of the United

13   States.

14                THE COURT:   Do they have to have some knowledge of how

15   that regulatory apparatus works to do that?

16                MR. DREEBEN:   Very little, I think.     What they need to

17   have is an intent to impair the regulatory apparatus.              They need

18   to know that there is in the United States, on some level,

19   regulation that's designed to prevent foreign influence from

20   operating in a covert, undisclosed manner that can thwart the

21   political system.    There's a ban on foreign involvement in

22   federal elections.    It has specific details.       There's a

23   requirement under the Foreign Agents Registration Act to make

24   disclosure before acting in certain specified political ways in

25   the United States.
     Case 1:18-cr-00032-DLF Document 46-2 Filed 07/16/18 Page 6 of 10
                                                                              10



 1        I don't think the defendants here have to know the details

 2   of how that works.    What they have to know is that it exists,

 3   it's out there.    If they were unmasked as Russian agents posing

 4   as Americans intervening in the political system, their entire

 5   project would have failed.       They needed to fly under the radar

 6   screen.

 7        We've alleged that they engaged in a variety of deceptive

 8   acts, ranging from lying on visa applications, to using proxy

 9   servers in the United States to make their activities appear as

10   if they were going on here, to posing as U.S. citizens, real

11   U.S. persons in interacting with campaigns.         All of those means

12   of deception were both aimed at the political sphere and aimed

13   at avoiding regulatory oversight by the United States

14   government.

15              THE COURT:    Okay.    Mr. Dreeben, is your position here

16   inconsistent with the DOJ Policy Memorandum on Election Crimes

17   that suggests that the government needs to prove that the

18   defendant was aware that his or her conduct was unlawful?

19              MR. DREEBEN:    To the extent that that document, which

20   I think is a little cryptic and ambiguous, is read that way, and

21   I agree that it's susceptible to that reading, that's not the

22   litigating position of the United States.         We've taken the

23   position in briefs in opposition in the United States Supreme

24   Court and in litigating cases around the country that the

25   elements of a conspiracy to defraud are what I said.
     Case 1:18-cr-00032-DLF Document 46-2 Filed 07/16/18 Page 7 of 10
                                                                                11



 1        I think that that manual, it gestures towards the idea that

 2   you both need to show the elements of a campaign finance

 3   violation and an intent to interfere with the government.            To

 4   the extent that it's read that way, it isn't the position of the

 5   United States.    The position of the United States is what we

 6   have said explicitly to the Supreme Court, to the First Circuit

 7   in a brief that was signed by the Assistant Attorney General for

 8   the Criminal Division in 2016.

 9        Willfulness is not an element of a 371 violation.             There

10   are not cases that describe it as an element of a 371 violation.

11   There's a legion of cases that describe the elements as I have

12   and have specifically said you don't need to have an underlying

13   illegality in a conspiracy to defraud.        The wrongful conduct is

14   deceiving the United States to thwart its regulatory objectives.

15        So if I were writing the election manual, I think I would

16   write it a little bit differently, but I don't think it ever

17   comes out and says willfulness is an element.         It's a

18   description of, perhaps, an overly cautious approach to

19   litigating these cases.     It's not the position that the

20   government takes in its legal filings.

21              THE COURT:    If there comes a time to instruct the jury

22   on this, is the instruction with respect to the objects that

23   involve the DOJ and the FEC in any way different than that that

24   involves the State Department?

25              MR. DREEBEN:    I don't think that it is, because in
     Case 1:18-cr-00032-DLF Document 46-2 Filed 07/16/18 Page 8 of 10
                                                                              12



 1   each case it's not a question of whether the defendant was

 2   violating the substantive offense.       We could have charged a

 3   conspiracy to violate specific substantive statutes.          We chose

 4   to indict a conspiracy to defraud the United States that has

 5   multiple objectives and multiple means, all of which consist in

 6   deception.

 7        So I would not suggest that the Court deviate from the

 8   standard jury instructions that focus on the elements of

 9   defrauding the United States as opposed to getting into the

10   elements of the underlying crime.       That is one of the reasons

11   why conspiracy to defraud the United States differs from the

12   underlying offenses.

13        And again, Judge Friedman's opinion in Kanchanalak goes

14   into this in some detail.      When the D.C. Circuit has recited the

15   elements of a conspiracy to defraud in the Treadwell and Davis

16   cases that we've cited, it doesn't say anything about underlying

17   offenses.    Willfulness is not an express element of Section 371.

18   I think my friend would have the burden of persuading the Court

19   that there should be an implied element only as applied to

20   certain kinds of activities in 371.       That doesn't appear on the

21   face of the statute.     That's a very disfavored way to read

22   criminal provisions as fluctuating in their meaning depending on

23   the underlying conduct and reading elements in that aren't on

24   the face of the statute.

25        The one point that I would like to respond to, if I may,
     Case 1:18-cr-00032-DLF Document 46-2 Filed 07/16/18 Page 9 of 10
                                                                               13



 1   your Honor, is my opponent's suggestion that we've conceded what

 2   we said to the grand jury.      We have not conceded anything about

 3   what we did in front of the grand jury.        I agree with your Honor

 4   that piercing grand jury secrecy requires a particularized need

 5   and overcoming the presumption of regularity about grand jury

 6   proceedings.   And it is something of a slippery slope to say

 7   let's get into the grand jury proceedings, let's just start with

 8   an in-camera review of jury instructions.

 9        The grand jury instructions, even if -- assuming there were

10   some error in the grand jury instructions, it doesn't justify

11   dismissal of the indictment unless it's prejudicial, and that

12   would inevitably lead to the question of was there an injurious

13   influence on the grand jury proceedings which, by analogy to the

14   way a jury instruction error is analyzed for harmlessness at the

15   petit jury stage, you would have to look at the evidence and say

16   would any reasonable grand jury, given the evidence, have

17   returned the indictment notwithstanding any potential error in

18   the prosecutor's description of the offense.         And that really

19   opens up the entire grand jury proceeding.

20        So it's fine for Concord to say hey, we're just asking for

21   a very modest step here, but that modest step has no legal

22   significance unless you are prepared to go further and really

23   open up the grand jury proceedings to review.

24        And I agree with your Honor on sequencing.          The cases that

25   have typically denied motions for inspection of grand jury
     Case 1:18-cr-00032-DLF Document 46-2 Filed 07/16/18 Page 10 of 10
                                                                              14



 1   instructions have said look, the indictment is valid on its

 2   face.    The defendant has a burden of coming forward with some

 3   evidence to overcome the presumption of regularity.           That's

 4   usually pretty hard to do.        Occasionally, it has been done.

 5           Here, I don't think there's anything.      It's just a reliance

 6   on a legal theory.     And if your Honor decides the legal theory

 7   in our favor, then I think it erases their claim.

 8                THE COURT:   And if I decide in their favor, do you

 9   think at that point they have a basis for me to look at the

10   grand jury --

11                MR. DREEBEN:   What we would have to persuade your

12   Honor at that point is, if you concluded that willfulness or

13   knowledge of illegality is an element, we would have to then go

14   back to the indictment and point to provisions from which it

15   could be inferred that the jury found that.         It doesn't say

16   willfulness expressly.      That's clear.    And if we lost that

17   battle, you would dismiss the indictment, and there would be no

18   need to look at the grand jury minutes.

19           So I don't really get their argument at this stage.

20   They've said that they're going to make a motion to dismiss on

21   the merits.    They haven't fully briefed it.       They're not asking

22   your Honor to decide it.      We're ready to brief it when the time

23   comes.    If your Honor resolves it one way or the other, I think

24   that it will moot out the need to consider this motion.

25                THE COURT:   Okay.    Thank you, Mr. Dreeben.
     Case 1:18-cr-00032-DLF Document 46-3 Filed 07/16/18 Page 1 of 23




                             EXHIBIT C:
Indictment from United States v. Hopkins, Criminal Action No. 89-00008-G (N.D. Tex.)



              Defendant Concord Management and Consulting LLC’s
                        Motion to Dismiss the Indictment
               United States v. Internet Research Agency LLC, et al.,
                       Criminal Action No. 18-00032-DLF
                            Case 1:18-cr-00032-DLF Document 46-3 Filed 07/16/18 Page 2 of 23




            FORM 080 ..34
            SEP 1978                                   No. __ __ _____ _
            WARRANT TO ISSUE FOR
            EACH DEFENDANT
                                                      UNITED STATES_.PJ.S_'tll,.1-G.'t __ _ COURT
                                                       _ _ NORTHERN____           District of ___ 'J2.EM~ _ ---- --
                                                              __ _ __ DALLAS-------                Division

                                                        THE UNITED STATES OF AMERICA
   \
   •I
                                                                                       vs .
                                                         ROBERT H. HOPKINS, JR.
                                                       - E. MORTEN HOPKINS __ _ __ -- - - - --
                                                       _JOHN W._H.ARRELL_ ------ - _ _______ _ _ _ _


                                                                           INDICTMENT
                                                      18 USC 371; 1001,2; 657,2; 1006,2 - Conspiracy;
                                                      Concealment and Covering Up by Scheme and Device;
                                                      Misapplication; False Entries

                                                                                  47 COUNTS




. ......\                                             -   ~-~
                                                      DALLAS ~--
                                                               - --
                                                                  ---                                            F,orrmn11 .


                                                       File,/ in open court tlris _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _     dny

                                                       of   - -- - - - - - ----       .A.D.19 ___ __ _


                                                                                                                     C/,rk.

                                                      WARRANT TO ISSUE FOR EACH DEFENDANT
                                                       Bail,$------------

                                                       __UNITED.
                                                          J&/1:t-l  ?-'lw4A
                                                                 STA4fs'~
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             Case 1:18-cr-00032-DLF Document 46-3 Filed 07/16/18 Page 3 of 23
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                                                                                              ~      l       :.~~~!.'tUE.I



'   '                                                                                    s. DISTRICT COURT
                                                                             ~      NORTHERN          OF TEXAS
                                                                                                  DISTRICT

                                                                             i                FILED
                           IN THE UNITED STATES DISTRICT COUR
                                                                                              JAN 1 2.1989
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                                                                       NAN
                                        DALLAS DIVISION                              Bv--'--~~'"'"---




        UNITED STATES OF AMERICA              *         flD   7>
                                                        .~h .., -   s n"} - u·, C):. ~:tC>
                                                                    ~1


        v.                                    *     CRIMINAL NO.

        ROBERT H. HOPKINS, JR.
                                              *
        E. MORTEN HOPKINS
                                              *
        JOHN W. HARRELL
                                              *
                                              *
                                          INDICTMENT
        The Grand Jury charges:     ·

                                            COUNT 1

                                          Conspiracy
                                    [18    u.s.c. §371]

        A.   INTRODUCTION

             At times material to this indictment:

             1.    From in or about March           1982 through in or about

        December   1984,    National     Mortgage     Corporation            of     America

        ("National")   was a corporation organized under the laws of the

        State of Arkansas and doing business in the State of Texas;

        defendant ROBERT H.      HOPKINS,    JR.    ("ROBERT HOPKINS"),                      was a

        principal shareholder and Chairman of the Board of Directors of

        National and his brother, defendant E. MORTEN HOPKINS                                ( "MORTEN

        HOPKINS"), was President of National.

             2.    From in or about July 1982 through in or about June
        1983, defendant ROBERT HOPKINS was a principal shareholder and
     Case 1:18-cr-00032-DLF Document 46-3 Filed 07/16/18 Page 4 of 23




Chairman of the Board of Directors of Big Country Savings ("Big

Country"), a corporation organized under the laws of the State of

T·exas,      and   defendant JOHN W.    HARRELL     ( "JOHN HARRELL")     was

President of Big Country.

        3.     Commodore    Savings   Association    ("Commodore")       was    a

corporation organized under the laws of the State of Texas in or

about June 1983.           Commodore resulted from the merger of Big

Country with First Security Savings of Abilene, Texas.                   Defendant

ROBERT HOPKINS was a principal shareholder and Chairman o.f the

Board of Directors of Commodore from in or about June 1983

through in or about October 1985.             Defendant JOHN HARRELL was

Vice-Chairman of the Board pf Directors E!-Pd~,-Chief Executive

Officer of Commodore from in or about July 1983 through in or

about October 1985.         He became Chairman of the Board of Directors

of Commodore in or about October 1985.              Defendant MORTEN HOPKINS
succeeded defendant JOHN HARRELL as Vice-Chairman of the Board of

Directors of Commodore in or about October 1985.

        4.     National Poli tic al Action Cammi ttee        ( "NPAC")    was    a

political action committee ("PAC") formed in or about April 1980

and terminated in or about April 1984.              NPAC was subject to the

reporting provisions and campaign financing prohibitions of the

Federal Election Campaign Act ("FECA").

        5.     From in or about April 1984 through in or about June

1986,     defendant     ROBERT   HOPKINS   controlled   an   account with

Commodore named "Robert H. Hopkins, Jr., Custodian for Various

Employees."         Deposits made     into this   account were used        for



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     Case 1:18-cr-00032-DLF Document 46-3 Filed 07/16/18 Page 5 of 23




financial contributions             in support of,    or in opposition to,

various individuals seeking elective office at the local, state,

and federal levels.          This financial activity was subject to the

reporting provisions,          and the campaign financing prohibitions,

contained in the FECA more fully described immediately below:

              a.      PACs which financially supported candidates for

federal offices were required by the FECA,                   and in particular

Section 434 of Title 2, United States Code,                   to file periodic

reports with the Federal Election Commission, which reports were

to accurately reflect the identities of all individuals and

entities which had given in excess of $200.00 to each such

political committee in any given calendar year.

              b.      The FECA,      and   in particular Section        441a of

Title 2, United States Code, prohibited, and rendered illegal,

contributions to any federal candidate from any person that

exceeded $1000.00 in connection with any election.                      For the

purpose of this limitation on campaign contributions, the FECA,

in particular Section 441a(a) (8) of Title 2, United States Code,

provided that any and all payments to a political committee on

behalf of a candidate were to be treated as contributions to that

candidate.
              c.      The FECA, and in particular Section 441b of Title

2,   United        States   Code,    forbade,   and       rendered   illegal,

contributions        and expenditures        from   the    treasury assets      of

corporations made in connection with the nomination or election

of candidates to federal offices.



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       Case 1:18-cr-00032-DLF Document 46-3 Filed 07/16/18 Page 6 of 23




              d.    The FECA,         and in particular Section         44lf of

Title 2,     United States Code,          forbade,   and rendered illegal,

contributions to the campaigns of federal candidates that were

made    in   the   names   of    individuals     other   than    the   person
responsible for the contribution in question.
       6.     In or about December 1984, Commodore acquired NMCA .and

on or about January 1,            1985, National was renamed Commodore

Financial      Services     Corporation         ("Commodore     Financial").

Defendant ROBERT HOPKINS was a principal shareholder and Chairman
of the Board of Directors of Commodore Financial                       from its
beginning through in or about June 1986.
       7.     East Texas First Political Action Committee ( 11 ETF-PAC 11 )

was a PAC which was subject to the reporting provisions and

campaign financing prohibitions of the FECA.

       8.     The Federal Election Commission was an agency of the
United States entrusted with the authority and responsibility to

detect,      investigate,       and    take   enforcement     action   against

violators     of   the FECA.          In addition,   the Federal Election

Commission was entrusted with the authority and responsibility,
pursuant to Section 438(a) (4) of Title 2, United States Code, to
make available to the public specific information concerning

campaign      contributions       to    political    committees    supporting

candidates for federal office which had been filed in accordance

with the provisions described in paragraph 5.a. above.
       9.     The Federal Savings and Loan Insurance Corporation
("FSLIC")     was an agency of the United States established to



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     Case 1:18-cr-00032-DLF Document 46-3 Filed 07/16/18 Page 7 of 23




protect depositors by insuring deposits in member savings and

loan institutions in amounts up to $100,000 per account.

     10.   The Federal Home Loan Bank Board ("Bank Board") was an

agency of the United States established to examine, regulate, and

supervise savings and loan institutions insured by the FSLIC.             As

part of its duties, the Bank Board governed the FSLIC and had the

authority to examine insured institutions to assure that they

were operated in a safe and sound manner and in conformity with

applicable laws and regulations.



B.   THE CONSPIRACY AND ITS OBJECTS

     11.   Beginning at a time unknown to the Grand Jury, b~t from

on or about March 31, .1982 through on or about June 1, 1986, in

the Dallas Division of the Northern District of Texas               and

elsewhere, defendants ROBERT HOPKINS, MORTEN HOPKINS, and JOHN

HARRELL knowingly and willfully combined, agreed, and conspired,

together and with others, both known and unknown to the Grand

Jury, to (1) defraud the United States, in particular the Federal

Election Commission, of and concerning its right to have its

business and affairs conducted free         from deceit,    dishonesty,

unlawful impairment,     and obstruction,      (2)   defraud the United

States, in particular the Bank Board, of and concerning its right

to have its business and affairs conducted free from deceit,

dishonesty, unlawful impairment, and obstruction,          (3) defraud the

United States,    in particular the FSLIC, of and concerning its

right to have its business and its affairs conducted free from



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     Case 1:18-cr-00032-DLF Document 46-3 Filed 07/16/18 Page 8 of 23




deceit, dishonesty, unlawful impairment, and obstruction, and (4)

commit certain offenses against the United States, namely:

            (a)     to knowingly and willfully conceal and cover up,
and cause to be concealed and covered up, by means of a scheme

and device, a material fact in a matter within the jurisdiction

of the Federal Election Commission, in violation of Title 18,
United States Code, Section 1001;

            (b)     to knowingly and willfully misapply, and cause to
be misapplied,       moneys   and   funds     of Commodore,    in   amounts

exceeding $100, with the intent to injure and defraud Commodore,
in violation of Title 18, United States Code, Section 657.

            (c)     to knowingly and willfully make, and cause to.: be
made, false entries in the books and records of Commodore, with

intent to (1) deceive officers, agents, and examiners of the Bank
Board and the FSLIC, and (2)            injure and defraud Commodore, the

Bank Board,       and the FSLIC;    in violation of Title 18, United

States Code, Section 1006.


C.   THE MANNER AND MEANS OF THE CONSPIRACY

     The manner and means, among others, of this conspiracy were

as follows:
     12.    It was part of this conspiracy that defendants MORTEN

HOPKINS    and JOHN    HARRELL would        ask   selected   employees     of

National,     Big   Country   and   Commodore      ("conduits")     to   make

political contributions        to   a   PAC   supporting candidates        for
federal, state and/or local offices with the understanding that


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    Case 1:18-cr-00032-DLF Document 46-3 Filed 07/16/18 Page 9 of 23




defendant ROBERT HOPKINS had authorized full reimbursement to the

conduits for their contributions.

     13.     It was a further part of this conspiracy that each
conduit would sign an authorization form requesting that a

certain dollar amount be deducted from his/her particular pay
check with the express understanding that every conduit who

agreed to authorize      such a payroll deduction for political

contributions would receive a pay increase from his/her employer
specifically given to fully reimburse this payroll deduction.
     14.     It was a further part of this conspiracy that defendant

ROBERT HOPKINS or his representative would request that the

conduits sign documents requesting that contributions to specific
candidates    be given   in the conduit's name.        The   documents
occasionally would be signed by the conduit after a particular

donation on behalf of that conduit had already been disbursed at

the direction of defendant ROBERT HOPKINS.         These documents would

be generated to create the false and misleading impression that

individual employees determined the amount of the donation and

the identity of the recipient.

     These deceptive practices caused by defendant ROBERT HOPKINS
would allow him to make corporate contributions to political
campaigns supporting candidates for federal offices by having

them appear to have been made by the conduits in whose names they
were given, thereby deceiving the Federal Election Commission.
     15.     It was a further part of this conspiracy that from 1982

through 1984 the defendants ROBERT HOPKINS and MORTEN HOPKINS



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would cause the treasurer of the PAC to which these contributions

were    given,      NPAC,       to   report them to    the Federal Election

Commission as contributions made by the conduits, when in fact,
as defendants ROBERT HOPKINS and MORTEN HOPKINS well knew, these
contributions were made from National's corporate assets as a

result of conduct by these defendants.
        16.    It was a further part of this conspiracy that the

defendants,         ROBERT HOPKINS, MORTEN HOPKINS,             and JOHN HARRELL,

would make, and cause to be made, contributions from assets of

corporations controlled by ROBERT HOPKINS,                     including National,
Big Country, and Commodore.
        17.    It was a         further part _of this conspiracy that the

defendants,         ROBERT HOPKINS, MORTEN HOPKINS,             and JOHN HARRELL,

would misapply, and cause to be misapplied, funds and moneys of
Commodore by         (1)    causing disbursement of Commodore funds for

purported salary increases when the funds were really used to
reimburse selected individual employees for ongoing PAC payroll

deductions, and {2) causing disbursement of Commodore funds to
reimburse selected individual employees for lump sum donations

these employees had made to the ETF-PAC.
        18.    It    was    a    further   part   of   this    conspiracy   that

defendants ROBERT HOPKINS, MORTEN HOPKINS, and JOHN HARRELL would

make, and cause to be made, false entries into the books and

records       of Commodore by causing the              books    and records   to

erroneously reflect that selected employees received regular
salary increases and reimbursements for travel expenses, when



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such payments were always designed to be used for a different

purpose,    that is,     to reimburse said employees     for political

contributions he or she had been urged to make.

      19.   During the period 1982 through 1986, it was a further

part of this conspiracy that ROBERT HOPKINS and MORTEN HOPKINS

would cause to be used approximately $135,000 of moneys and funds

of National,       Big Country,    and Commodore,   respectively,    for

political purposes and would conceal that fact from the Federal

Election Commission.



D.   THE OVERT ACTS OF THE CONSPIRACY
      20.   In     furtherq.nce   of the conspiracy and in order to

accomplish its objects, the following overt acts, among others,

were committed in the Northern District of Texas:

            (a)     In early 1982 MORTEN HOPKINS had a conversation
with Gwynne Autry regarding payroll deductions from her salary

for political contributions and reimbursement from her employer

for these deductions.

             (b)    In early 1982 MORTEN HOPKINS had a conversation

with Tyler Brown regarding payroll deductions from his salary for

political contributions and reimbursement from his employer for

these deductions.

             (c)    In early 1982 MORTEN HOPKINS had a conversation

with Bill Jackson regarding payroll deductions from his salary

.for political contributions and reimbursement from his employer

for these deductions.



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             (d)     In early 1982 MORTEN HOPKINS had a conversation

 with Tom Taylor regarding payroll deductions from his salary for

 political contributions and reimbursement from his employer for

 these deductions.

             (e)     In or about October 1982, JOHN HARRELL had a

 conversation with Gary Matthews regarding payroll deductions from

 his salary for political contributions and reimbursement from his

 employer for these deductions.

             (f)     In or about October 1982, JOHN HARRELL had a

 conversation with Mike Gamble regarding payroll deductions from

 his salary for political contributions and reimbursement from his
.. , employer for these deductions.

             (g)     In or about April 1984, ROBERT HOPKINS spoke with

 Charles Delphenis about terminating the NPAC.

             (h)     In or about April 1984, ROBERT HOPKINS had a

 conversation with Ann Williams regarding the disposition of the

 funds in the NPAC account.

             (i)     In or about April 1984, ROBERT HOPKINS caused a

 new account        to be opened called       "Robert H.     Hopkins,    Jr.,

 Custodian for Various Employees."

             ( j)    In or about June 19 8 5 ,        MORTEN HOPKINS had a

 conversation with Tyler Brown regarding a $2,000.00 payment to

 the ETF-PAC.

             (k)     In   or   about   July   1985,   JOHN   HARRELL    had   a

 conversation with Gary Matthews regarding a $2,000.00 payment to

 the ETF-PAC.



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              (1)   In or about June 1985, JOHN HARRELL caused a

letter to be sent which transmitted $15,000.00 to the ETF-PAC.

              (m)   In or about July 1985, JOHN. HARRELL caused a
letter to be sent which transmitted $10,000.00 to the ETF-PAC.

       All in violation of Title 18, United States Code, Section

371.




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                                  COUNT 2

                      Concealment and Covering Up
                         by Scheme and Device
                         (18 u.s.c. §§1001,2]

     1.    The Grand Jury realleges and incorporates herein as if
set forth in full paragraphs 1 through 4, 5.a. through 5.d., and
8 of Count 1 of this indictment and further alleges that:
     2.    On or about January 18, 1984, in the Dallas Division of

the Northern District of Texas, defendants ROBERT HOPKINS and

MORTEN HOPKINS,    in a matter within the       jurisdiction of the
Federal Election Commission, did knowingly and willfully, by a
scheme and device, cause the treasurer of NPAC to conceal and

cover up a material fact,        in that the defendants caused the
treasurer, in a "REPORT OF RECEIPTS AND DISBURSEMENTS," to inform

the Federal Election Commission that approximately $13,630.00 of
voluntary individual contributions from the earnings of various

individuals that had been made to NPAC, thereby concealing and
covering up   that,   as   the   defendants   very   well   knew,   the

individual contributors were used as conduits for contributions

actually made with moneys and funds of National, Big Country, and
Commodore, respectively.
     A violation of Title 18, United States Code, Sections 1001

and 2.




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                                    COUNT 3

                       Concealment and Covering Up
                          by Scheme and Device
                          [18 u.s.c. §§1001,2]
        1.    The Grand Jury realleges and incorporates herein as if

set forth in full paragraphs 1 through 4, 5.a. through 5.d., and

8 of Count 1 of this indictment and further alleges that:
        2.    On or about April 17, 1984, in the Dallas Division of

the Northern District of Texas, defendants ROBERT HOPKINS and
MORTEN HOPKINS,      in a matter within the         jurisdiction of the

Federal Election Commission, did knowingly and willfully, by a
scheme and device, cause the treasurer of NPAC to conceal and
cover up a material fact,         in that the defendants caµsed the

treasurer, in a "REPORT OF RECEIPTS AND DISBURSEMENTS," to inform
the Federal Election Commission that approximately $20,165.00

were voluntary individual contributions from the earnings of
various      individuals   that   had   been made   to   NPAC,   thereby
concealing and covering up that,          as the defendants very well

knew,    the individual contributors were used as conduits for

contributions actually made with moneys and funds of National,

Big Country, and Commodore, respec~ively.
        A violation of Title 18, United States Code, Sections 1001

and 2.




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                                   COUNTS 4-17
                                 Misapplication
                               [18 u.s.c. §§657,2]
     1.      The Grand Jury realleges and incorporates herein as if
set forth in full paragraphs 1 through 3, 5, 6, and 9 of Count 1

of this indictment and further alleges that:

     2.      In   or   about    the   periods    ("Inclusive    Dates    of
Reimbursements")       listed    below   for    Counts   4   through    17,

respectively, in the Dallas Division of the Northern District of
Texas,    defendants    ROBERT    HOPKINS,     MORTEN HOPKINS,    and JOHN

HARRELL,    each connected in some capacity with Commodore,                   an

institution having accounts insured by the FSLIC, with intent to
injure    and defraud     Commodore,     knowingly   and     willfully did
misapply,    and cause to be misapplied,           moneys and funds       of
Commodore,    causing approximately $14,517 of Commodore's moneys
and funds to be used illegally to reimburse the individuals

listed below for their political contributions made through the

payroll deductions listed below.             These payroll deductions were
made into a Commodore account controlled by defendant ROBERT
HOPKINS named "Robert H.          Hopkins, Jr., Custodian for Various

Employees."




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                  '··--




             Inclusive Dates                          Amount Reimbursed/
COUNT        of Reimbursements      Employee          Payroll Deductions

 4           08/01/84 through       Bryce Fowler      $1,204.00
             06/01/86

 5           08/01/84 through       Tom Dawson        $1,118.00
             06/01/86

 6           08/01/84 through       Gwynne Autry      $1,118.00
             06/01/86

 7           08/01/84 through       William E.        $1,118.00
             06/01/86                Gilliland

 8           08/01/84 through       Sylvia Coats      $1,247.00
             06/01/86

 9           08/01/84     through   Bonita Grogan     $1,419.00
             06/01/86

 10          08/01/84 through       June Nelson       $1,089.00
             06/01/86

 11          08/01/84 through       Linda Barnett     $1,204.00
             06/01/86

 12          01/01/85 through       Robin Bennett     $   850.00
             06/01/86

 13          01/01/85 through       Tyler Brown       $   850.00
             06/01/86

 14          01/01/85 through       Teresa Bowling$       850.00
             06/01/86

 15          01/01/85 through       E. Morten         $   850.00
             06/01/86                 Hopkins

 16          01/01/85 through       Tom Taylor        $   800.00
             06/01/86

 17          01/01/85 through       Gary W. Spross $      800.00
             06/01/86

     All in violation of Title 18, United States Code, Sections
657 and 2.




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                                               COUNTS 18-25
                                              Misapplication
                                            [18 u.s.c. §§657,2]

                1.          The Grand Jury realleges and incorporates herein as if

       set forth in full paragraphs 1 through 3 and 6, 7 and 9 of Count

       1 of this indictment and further alleges that:

                2.          On or about the dates listed below under the heading

       "Date of Reimbursement," for Counts 18 through 25, respectively,

       in the Dallas Division of the Northern District of Texas,

       defendants ROBERT HOPKINS, MORTEN HOPKINS, and JOHN HARRELL, each

       connected in some capacity with Commodore, an institution having

       accounts insured by the FSLIC, with intent to injure and defraud

. __ ,,.1~- · J:;p~pdore,    knowingly and willfully did misapply, and cause·. to be

       misapplied, moneys and funds of Commodore, causing approximately

       $15,000 of Commodore's moneys and funds to be used illegally to

       reimburse the individuals listed below for their contributions to

       ETF-PAC in the amounts listed below:

                            Date of
       COUNT                Reimbursement         Employee                 Amount


         18                 June 26, 1985         David R. Farmer          $1,000.00
         19                 June 27, 1985         Tyler Brown              $2,000.00

         20                 June 27, 1985         William E. Gilliland     $2,000.00

         21                 July 5, 1985          Robbie L. Cook           $2,000.00

         22                 July 5, 1985          Gary D. Matthews         $2,000.00

         23                 July 6 , 1985         Mike Gamble              $2,000.00
         24                 July 8, 1985          Joe Collins              $2,000.00

         25                 July 8, 1985          Gary W. Spross           $2,000.00



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     All in violation of Title 18, United States Code, Sections
657 and 2.




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                                  COUNTS 26-39
                                  False Entries
                              [la u.s.c. §§1006,21

      1.     The Grand Jury realleges and incorporates herein as if

set forth in full paragraphs 1 through 3, 5, 6, 9 and 10 of Count

1 of this indictment and further alleges that:

      2.     In   or    about    the   periods     ("Inclusive   Dates   of

Reimbursements")        listed    below    for   Counts   26   through   39,

respectively, in the Dallas Division of the Northern District of

Texas,     defendants    ROBERT HOPKINS,         MORTEN HOPKINS,   and JOHN

HARRELL,    each connected in some capacity with Commodore,                    an

institution having accounts insured by the FSLIC, with intent to

(1) deceive the Bank Board and (2) injure and defraud Commodore,

knowingly and willfully did cause false entries to be made in the

books and records of Commodore, in that the defendants caused

payroll records of Commodore              (Commodore's general ledger and

employee expense records relating to the below listed "Payroll
Deductions 11 )   to show that the entire dollar figure designated as

regular earnings        for   each pay period       for   the below listed

employees was actually disbursed as earnings, when in truth and

in fact, as the defendants well knew, the entire dollar figure

designated as regular earnings for the below listed employees was

not disbursed as earnings, but instead a portion of the earnings

disbursements for each of the below listed employees was used to
repay the employees the amounts             listed below which had been

deducted from their pay to provide moneys for.political purposes.




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            Inclusive Dates
COUNT       of Reimbursements       Em12loyee         Payroll Deductions

 26         08/01/84 through        Bryce Fowler      $1,204.00
            06/01/86

 27          08/01/84 through       Tom Dawson        $1,118.00
             06/01/86

 28          08/01/84 through       Gwynne Autry      $1,118.00
             06/01/86

 29          08/01/84 through       William E.        $1,118.00
             06/01/86                Gilliland

 30          08/01/84 through       Sylvia Coats      $1,247.00
             06/01/86

 31          08/01/84   through     Bonita Grogan     $1,419.00
             06/01/86

 32          08/01/84 through       June Nelson       $1,089.00
             06/01/86                                              .._,, ·... ~;~'!


 33          08/01/84 through       Linda Barnett     $1,204.00
             06/01/86

 34          01/01/85 through       Robin Bennett     $   850.00
             06/01/86

 35          01/01/85 through       Tyler Brown       $   850.00
             06/01/86

 36          01/01/85 through       Teresa Bowling $      850.00
             06/01/86

 37          01/01/85 through       E. Morten         $   850.00
             06/01/86                 Hopkins

 38          01/01/85 through       Tom Taylor        $   800.00
             06/01/86

 39          01/01/85 through       Gary W. Spross $      800.00
             06/01/86

     All in violation of Title 18, United States Code, Sections
1006 and 2.




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                                    COUNTS 40-47
                                    False Entries
                                (18 u.s.c. §§1006,2]

        1.        The Grand Jury realleges and incorporates herein as if

set forth in full paragraphs 1 through 3 and 6, 7, 9 and 10 of

Count    i of this indictment and further alleges that:
        2.        On or about the dates listed below under the heading

"Dates       of     Reimbursements,"     for    Counts    40    through   47,

respectively, in the Dallas Division of the Northern District of

Texas,       defendants     ROBERT   HOPKINS,      MORTEN HOPKINS,     and JOHN

HARRELL,      each connected in some capacity with Commodore,                   an

institution having accounts insured by the FSLIC, with intent to

(1) deceive the Bank Board and (2)                 injure and defraud Commodore,

knowingly and willfully did cause false entries to be made in the

books and records of Commodore,                in that the defendants caused

Commodore's general ledger to show reimbursements to the below

listed employees for business expenses, when in truth and in

fact,    as . the defendants very well knew,             these reimbursements

actually          were   made   to   repay   the    employees    for   their

contributions, in the amounts listed below, to the ETF-PAC, which

the employees had made at the urging and with the knowledge of

the defendants.


                  Date of
COUNT             Reimbursement          Employee                         Amount

 40               June 26, 1985          David R. Farmer                  $1,000.00

 41               June 27, 1985          Tyler Brown                      $2,000.00




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                                                    '-   _,:-




            Date of
COUNT       Reimbursement           Em:eloyee                     Amount

 42         June 27, 1985           William E. Gilliland          $2,000.00

 43         July 5, 1985            Robbie L. Cook                $2,000.00

 44         July 5, 1985            Gary D. Matthews              $2,000.00

 45         July 6, 1985            Mike Gamble                   $2,000.00

 46         July 8, 1985            Joe Collins                   $2,000.00

 47         July 8, 1985            Gary W. Spross                $2,000.00

        All in violation of Title 18, United States Code, Sections

1006 and 2.

                                      A TRUE BILL:


                                         tLn..~ O
                                        FOREPERSO




Assistant                    Attorney



     ADLER
Trial Attorney, Fraud Section
Criminal Division




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                           EXHIBIT D:
Indictment from United States v. Hsia, Criminal Action No. 98-00057-PLF (D.D.C.)



            Defendant Concord Management and Consulting LLC’s
                      Motion to Dismiss the Indictment
             United States v. Internet Research Agency LLC, et al.,
                     Criminal Action No. 18-00032-DLF
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                                   UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA

                                       Holding a criminal Term

                              Grand Jury Sworn in on December 8, 1995

        UNITED STATES OF AMERICA                        )   CR. NO.   f 9 8 - QQ!) 7
                                                        )
                                                        )   VIOLATIONS
                                                        )
                                                        )   18 u.s.c. § 371 (Conspiracy);
                                                        )   18 u.s.c. § 1001 (False
                                                        )
                        v.                              )   statements);
                                                        )   18 u.s.c. § 2 (Willfully causing
                                                        )   The Commission Of An Offense)
        MARIA HSIA,                                     )
                                                        )
                                                        )
                A/K/A "HSIA LING,"                      )
                                                        )
                                                        )             FILED IN OPEN COURT
                        Defendant.                      )
                                                        )
                                                        )
                                                                              FEB 1 8 1998

FRI En- ,-v --,\-N,- J-.--.--P-.--LF=--- -I- N-D - I - C) T M E N T              otslRlCT COURT
                                                                      CLERK, ~;T· OF COLUMBIA
                                                                        O\STAtv

        The Grand Jury Charges:



'               1.      Defendant,      MARIA
                                                INTRODUCTION
                At all times relevant to this indictment:

                                                   HSIA     (aka   "HSIA      LING"),    was    an

        immigration consultant who worked and resided in the Los Angeles,

        California area.

                2.      The    International Buddhist Progress Society                  ( "IBPS"),

        doing        business    as    the   Hsi    Lai     Temple     (the    "Temple"),      was

        incorporated under the laws of the State of California, with its

        headquarters in Hacienda Heights, California.

                3.      IBPS was a tax-exempt religious organization pursuant to




                                      Case Related To
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Title 26,    United States Code,        Section 50l(c) (3)     of the Internal
Revenue Code.      As a tax-exempt organization, IBPS was prohibited
from participating or        intervening in any political campaign on

behalf of any candidate for public office.

     4.     The Federal Election Campaign Act, Title 2, United States

Code, Section 431 tl ~ .           ("FECA") specifically prohibited, among
other things:
     a.     corporations from making contributions or expenditures in
     connection with the nomination and election of candidates for

     federal office (Title 2, United States Code, Section 441b(a));

     b.     any person from making a contribution in the name of

     another person or knowingly permitting his or her name to be
     used to effect such a contribution (Title 2, United states

     Code, Section 441f).

     5.     In addition,     the    FECA,   in particular Title 2,               United

states    Code,   Section   434,     required   that   each    treasurer          of   a

political    committee      file     periodic   reports   of     receipts           and

disbursements to the Federal Election Commission                ( II   FEC") .      The
reports identified each person who had made a contribution during

the relevant reporting period whose contribution or contributions

had an aggregate amount or value in excess of $200 within the

calendar year, together with the date and the amount of any such
contribution.     The.reports also identified the mailing addresses

and the occupations of such contributors, as well as the· names of
their employers.

     6.     The FEC was an agency of the United States government,


                                        2
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headquartered        in     Washington     D.C.,        and     entrusted      with      the

responsibility of enforcing the reporting requirements of the FECA

and for directing, investigating and instituting civil enforcement

actions with respect to violations of the FECA,                           including the

provisions    referred       to   in paragraphs          4   through    5,    above.      In
addition,    the    FEC was       responsible for making available to the
public    specific        information     about    the       amounts    and   sources     of

political contributions to federal candidates and their political

committees.
     7.      The    Immigration and Nationality Act,                   Title 8,    United

States Code,       Section 1101 t l seg.          ("!NAIi),      and the regulations
promulgated thereunder, provided, among other things, that:
     a.      persons who are not citizens of the United States may

     apply to stay in the United states on a temporary or permanent

     basis by filing certain applications and documents with the

     Immigration and Naturalization Service ("INS");
     b.      the INS reviews the applications and documents submitted

     and,     if    necessary,       conducts       further       investigation,          to

     determine whether to grant or deny the persons' applications;

     c.      if a person applies for a religious worker (R-1) visa or

     a    special    immigrant      religious      worker       visa,    he   or   she    is

     required, among other things, to be entering or remaining in
     the United States for the purpose of working for a bona fide
     nonprofit religious organization;                   that is,       an organization

     exempt from taxation as described in section 50l(c) (3) of the

     Internal        Revenue       Code     as     it        relates     to     religious


                                           3
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       organizations, or one that has never sought such exemption but

       establishes to the satisfaction of the INS that it would be

       eligible therefor if it had applied for tax exempt status.

        8.     The INS was an agency of the United States government,

headquartered            in    'Washington      D. C.,     and    entrusted     with     the

responsibility of administering and enforcing the requirements of

the INA and all other laws relating to immigration, naturalization,

and nationality, including the provisions referred to in paragraph

7, above.       In addition, the INS was responsible for investigating

violations of the immigration and nationality laws.



                                  COUNT ONE - CONSPIRACY

       9.    The grand jury realleges paragraphs 1 through 8, above, as

though fully set forth herein.

       10.      From      mid-1993      and     continuing       through    1996,   in   the

District of Columbia and elsewhere, defendant MARIA HSIA, and IBPS,

not    named    as   a    defendant      herein,     did    knowingly       and willfully

combine, conspire, confederate, and agree with and among each other

?nd with persons known and unknown to the grand jury, to defraud

the United States and, in particular, the FEC and INS, agencies of

the    United    States,         by    impairing,        obstructing,       impeding,    and

defeating the        FEC' s      and   INS' s   lawful     functions       and duties,    in

violation of Title 18, United States Code, Section 371.



                              The Objects of the Conspiracy

       11.     It was an object of the conspiracy that defendant MARIA


                                                4
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                             EXHIBIT E:
Indictment from United States v. Mariani, Criminal Action No. 97-00225-TIV (M.D. Pa.)



               Defendant Concord Management and Consulting LLC’s
                         Motion to Dismiss the Indictment
                United States v. Internet Research Agency LLC, et al.,
                        Criminal Action No. 18-00032-DLF
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                                    UNITED STATES DISTRICT COURT
                              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


             UNITED STATES OF AMERIC,3 :)
                                                                    l
                                                                                       97-225
                                                                    )    VIOLATIONS:
                                                                    )
                                 FlLcO                              )   18 u.s.c. § 371, Conspiracy
                                                                    )    (Counts 1 and 135);
                                                ...,,.,-_.          )   18 u.s.c. § 1001, False Statements
                        v.      OCT ~., 7 I, ::.1,:., .'            )    (Counts 2-11) 1        ·
                                                                    )   2 U.S.C. § 441b(a) and 437g(d),
                                                                  ·-j   Prohibited Corporate Contributions
                        PER~~~~-:-:::::~-,                               (Counts 12-13);
                               Oe:PUTY CLl:rii<                     )   2 u.s.c. § 441f and 437g(dl,
             RJ!lNATO P • MARIANI                                   )   Conduit Campaign Contributions
             MICHAEL L. SERAFINI                                    )    (Counts 14-134);
             LEO R. DEL SERRA,                                      )   18 u.s.c. § 1503, Obstruction of
             ALAN W. STEPHENS,                                      )   Justi~e (Counts 136 and 138);
             ROBERT GIGLIO and                                      )   18 u.s.c. § 1512(b), Ta.mpering with
             FRANK SERAFINI,                                        )   a Witness (Count 137); and
                                                                    )   18 U.S.C. § 1623, False Statements
                                Defendants.                         )   Before Grand Jury (Counts 139-140).


                                                                        INDICTMENT
                                                                        COUNT ONE


             THE GRAND JURY CHARGES,


                                                             I.     INTRODUCTION.

                   1.   At all times relevant to this indictment, defendant
             RE?,ATO P. MARIANI was the president, treasurer and 25%

             shareholder of Empire Sanitary Landfill, Inc.                              ("Empire") and
             Danella Environmental Technologies, Inc ("Danella") .
                   2.   At all times relevant to this indictment, defendant

             MICHAEL L .. SERAFINI was the assistant secretary of Empire and the
                                                                                                                       I
             assistant treasurer of Danella.                               In addition, defendant




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MICHAEL L. SERAFINI was a partner in a partnership trading as
FMKF Company ("FMKF") , which had a financial connection to
Empire.
     3.    At all t.imes relevant to this indictment, defendant
LEO R, DEL SERRA was the comptroller of Empire.
     4.    At all times relevant to this indictment, defendant
ALAN W. STEPHENS was the operations manager of Empire.
     5.    At all times relevant to this indictment, defendant
ROBERT GIGLIO was the proprietor of a plumbing and heating
business known as Robert Giglio Plumbing and Heating which was
located in Old Forge, Pennsylvania, and was an unindicted co-
conspirator in the conspiracy alleged in count one of this
indictment.
     6.    At all times relevant to this indictment, defendant
FRANK SERAFINI was a Pennsylvania. State Representative
representing the 114th Legislative District which includes an
area in the Middle District of Pennsylvania where Empire and
Danella did bus           In addition, defendant FRANK SERAFINI was
the uncle of defendant MICHAEL L. SERAFINI and was also a partner
in FMKF.    FRANX SERAFINI was also an unindicted co-conspirator in
the conspiracy alleged in count one of this indictment.
     7.    At all times relevant to this indictment, Empire was a
Pennsylvania corporation which operated a solid waste transfer,
disposal and landfill business in Pennsylvania and New York.            As
part of this business Empire operated a solid wa.ste landfill
commonly known as the Empire Landfill ("the landfill") in Taylor

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     Borough and Ransom Township within Lackawanna County,
     Pennsylvania, which is within the Middle District of
     Pennsylvania. A large percentage of the landfill's business was
     interstate in nature, that is a large portion of the waste dumped
     at the landfill had its origin outside of Pennsylvania, i.e., New
     Jersey and New York. Empire's administrative headquarters were
     located at the landfill site.
          8.    At all times relevant to this indictment, Danella was a
     Pennsylvania corporation which operated a solid waste collection
     and transportation business in Pennsylvania and New York.
     Danella also operated in Lackawanna County, Pennsylvania, within
     the Middle District of Pennsylvania, and its administrative
     headquarters were a.lso located at the landfill site.
          9. At all times relevant to this indictment, Bowser, Weaver
     and Cousounis, a law firm located in Philadelphia, Pennsylvania,
     operated a political action committee known as the Bowseir, Weaver
     and Cousounis PAC ("the BWC PAC") .     Charles Bowser, a partner iI'l
     the law firm, was an attorney who represented Empire and Danella.
          10.   Dutko and Associates, Inc. ("Dutko") and the DCS Group
     were associated consulting firms located in Washington D.C. that
     were hired by Empire on January 1, 1995, for government relations
     and public relations services.      One of Empire's objectives under
     the retainer agreement with Dutko was to have an impact on
     legislation and policies which could affect the flow of
     interstate waste to the landfill.      Specifically, Empire desired
     to have an impact on the reconfiguration of the Interstate
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   '   '                                    '   '



Transportation of Municipal Solid Waste Act which was pending in.
the 104th Congress.
           11.     At all times relevant to this indictment, Empire was
obligated to pay Frances Serafini, defendant MICHAEL L. SERAFINI,
Kimberly Ann Serafini, and defendanb FRANK SERAFINI, co-partners
trading as FMKF, a royalty of $1.50 for each short ton (2,000
pounds) of waste disposed of at the landfill.               Defendant FRANK
SERAFINI was entitled to receive 50% of the royalty distribution
and the remaining 50% was shared in equal amounts by the
defendant MICHAEL L. SERAFINI, his mother, Frances Serafini, and
his sister, Kimberly Ann Serafini.
           12.     By virtue of a stock purchase agreement dated
December 13, 1996, the sole shareholders of Empire and Danella,
defendant          RENATO P. MAR:CANI,    Carmen A, Danella and J.ames D.
Danella, sold all of the stock of Empire and Danella and ceased
operating Empire and Danella as of that date.
           13.     At all times relevant to the indictment, the Federal
Election Campaign Act, Title 2, United States Code, Section 431,
!al.tc ~ -        ("the Campaign Act"), in particular, Title 2, United
States Code, Section 441b(a) specifically prohibited corporations
from making contributions or expenditures in connection with the
nomination and election of candidates for federal office.
Section 44lb(a) also prohibited any officer of a corporation to
consent to a prohibited contribution or e~penditure.
           l.4.    At all times relevant to the indictment, the CampaJ,gn
Act:,      in particular Title     2,    United States Code, Section

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            4~1a(a) (1) specifically prohibited individuals from contributing
            more than $1,000 to any federal candidate per election and under
            Section 441a(a) (3) individuals are prohibited from making overall
            annual contributions in excess of $25,000.
                 15.   At all times relevant to the indictment, the Campaign
            Act, in particular '.ritJ.e 2, United States Code, Section 44lf,
            specifically prohibited any person from making a contribution in
            the name of another person or knowingly permitting his or her
            name to be used to effect such a contribution.         Section 44lf is
            violated if a person gives funds to a straw donor, known as a
            "conduit," for the purpose of having the conduit pass the funds
            on to a federal candidate as his or her own contribution.          A
            violation also can occur if a person reimburses a donor who has
            already given to a candidate, thereby converting the donor's
            contribution to his or her own.
                 16.   At all times relevant to this indictment, the Campaign
            Act, in particular Title 2, United States Code, section 434,
            required that each treasurer of a political committee file
            periodic reports of receipts and disbursements, which reports
            were to identify each person who made a contribution to such
            committee during the relevant reporting period whose contribution
            or contributions had an aggregate amount or value in excess of
            $200 within the calendar year, together with the date and the
            amount of any such contribution.
                 17. At all times relevan.t to this indictment, the Federal
            Election Commission ("FEC") was an agency of the United States

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          government entrusted with the responsibility of enforcing the
          reporting requirements of the Campaign Act and for directing,
          investigating and instituting civil enforcement actions with
          respect to violations of the Campaign Act, including the
          provisions referred to in paragraphs 13 through 16 above.           In
          addition, the FEC was and is responsible for making available to
          the public specific information about the amount and sources of
          political contributions to federal candidates and their political
          committees.


                                   II,   THE CONSPIRACY.

               18. Beginning at a time unknown to the grand jury, but at
          least as early as August 1994 and continuing thereafter to on or
          about December 13, 1996, in Lackawanna County, within the Middle
          District of Pennsylvania and elsewhere, the defendants RENATO P.
          MARIANI, MICHAEL L. SERAFINI, LEO R, DEL SERRA and ALAN W.
          STEPHENS and others, both known and unknown to the grand jury,
          did knowingly and willfully combine, conspire, confedera,te a,nd
          agree together and with each other:
                  ~A-    to defraud the United States by impairing,
               impeding, defeating and obstructing the la.wful functions and
               duties of the FEC in violatioJ:J, of Title 18, United States
               Code, Section 371.
                    B.   to knowingly and willfully cause others to make
               false statements to the FEC in violation of Title 18, United
               States Code, Section 1001.

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                      C.     to knowingly and willfully make, consent to, and
                cause to be made, corporate contributions to federal
                candidates and their poJ.itical committees in violation of
                Title 2, United States Code, Section 441b.
                      D.     to knowingly and willfully make and cause to be
                made contributions to federal candidates and their political
                committees in the name of third persons ("conduits") in
                violation of TitJ.e 2, United States Code, Section 441f~


                           III.   MANNER AND MEANS OF THE CONSPIRACY.

                19.   The defendants RENATO P. MARIANI, MICHAEL L. SERAFINI,
           LEO R. DEL SERRA and ALAN      w.   STEPHENS carried out the conspiracy

           in the following manner and by the following means:


                                       The Overall Scheme

                20.   From at least as early as August 1994 and continuing
           until on or about December 13, 1996, the defendants RENATO P.
           MARIANI, MICHAEL L. SERAFINI, LEO R. DEL SERRA and ALAN        w.
           STEPHENS and their co-conspirators devised and executed a scheme

           whereby corporate money belonging to Empire would be used to make
           secret, disguised and illegal campaign contributions to various
           federal candidates and their political committees.
                21.   In general, the defendants and their co-conspirators
           would identify candidates that they wished to support and
           thereafter would solicit campaign contributions from numerous
           conduits including Empire and Danella employees, Empire and

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             Danella business associates, as well as their own friends and
             family.    The defendants and their co-conspirators would agree to
             reimburse those individuals for their contributions and
             thereafter would use corporate funds to reimburse those
             individuals and execute the scheme.          In addition, the defendants
             themselves and their co-conspirators would act as conduits and
             reimburse themselves from corporate funds.         The defendants and
             their co-conspirators would then disguise the use of the
             corporate funds for this illegal purpose in the books and records
             of the corporation by coding the reimbursements as office
             entertainment expenses or some other legitimate corporate
             expense.
                  22. The defendants' long standing pat.tern of using conduits
             to disguise illegal corporate contributions evidenced their
             intent to interfere with the accurate reporting of campaign
             contributions and to deliberately cause false information to be
             conveyed to the FEC.     As a result of their scheme, the defendants
             and their co conspirators did in fact interfere with the accurate
             reporting of numerous campaign contributions and did in fact
             cause false information to be conveyed to the FEC on numerous and
             separate occasions.
                  23. The political committees that received illegal corporate
             contributions during this time period and thereafter made false
             reports to the FEC included, but was not limited to: (1) Dole for
             President; (2) Clinton/Gore '96 Primary Committee; (3) Santorum
             '94; (4) Arlen specter    '96;   (5)   Haytaian-u.s. senate '94; (6) Fox

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      for Congress; (7) Paxon for Congress; (8) Duhaime for Senate; (9)
      Friends of Max Baucus; and (10) Pallone for Congress.         The total
      of the illegal campaign contributions for all ten campaigns
      referenced above was approximately $129,000.


                              THE DOLE CON'l'RlBUTIONa
           24.     In 1995, U.S. Senator Robert Dole was a candidate for
      President of the United States.      The Dole for President Committee
      ("the Dole Committee") was a political committee authorized to
      support the candidacy of Senator Dole and as such was subject to
      the reporting provisions and campaign financing limitations of
      the Campaign Act.
           25. In April 1995, defendants RENATO P. MARIANI and
      MICHAEL L. SERAFINI were invited to support Senator Dole's

      candidacy and were asked to participate as members of the New
      Jersey Steering Committee, a fund-raising arm of the Dole
      Committee.    A Steering Committee luncheon was scheduled for
      April 29, 1995 at the Newark Airport Hilton for the purpose of
      raising funds for Senator Dole.
           26.     In the days prior to the Steering Committee luncheon,
      defendants RENATO P. MARIANI, MICHAEL L. SERAFINI, LEO R. DEL
      SERRA and ALAN W. STEPHENS and others known and unknown contacted

      numerous individuals, including Empire and Danella employees,
      Empire and Danella business assoc          , and the defendants' own
      friends and family in an effort to raise funds for the Dole
      Committee.    The donors were instructed to issue personal checks

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     payable to the committee in amounts of $1,000 or $2,000.             The
     donors were then reimbursed for their contributions by Empire
     directly or Empire acting through defendant MICH.II.ELL. SERAFINI.
            27.     On April 29, 1995, defendants RENATO P. MARIANI and
     MICHAEL L. SERAFINI attended the Steering Committee luncheon at

     the Newark Airport Hilton.        During the event, they turned over a
     large envelope to officials of the Dole Committee which contained
     numerous conduit contributions.         As a. result, the defendants
     caused approximately $80,000 to be donated to the Dole Committee
     in the form of illegal conduit contributions.
            28.     The reimbursements for the conduits' contributions took
     several forms.       Empire issued approximately nine corporate checks
     directly reimbursing approximately twenty individuals a total of
     $20,000.       Defendant MICHAEL L. SERAFINI issued approximately
     thirty-four (34) personal checks from a checking account he held
     with Melinda Marcotte, reimbursing approximately fifty-three (53)
     individuals, including the BWC FAC, a total of $58,000.
     Defendant RENATO P. MARIANI then issued defendant MICHAEL L.
     SERAFINI an Empire corporate check to reimburse him for the

     $58,000, as well as to reimburse him for the expense of his own

     contribution of $1,000 and the $1,000 contribution of Melinda
     Marcotte.
            29.    Defendants RENATO P. MARIANI, LEO R. DEL SERRA and
     ALAN   w.    STEPHENS also acted as conduits regarding their

     contributions to the Dole Committee.         Defendant RENATO P. MARIANI
     was reimb.:u::sed by Empire directly and defendants LEO R. DEL SERRA

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      and ALAN      w.   STEPHENS were reimbursed by defendant MICHAEL L.

      SERAFINI, who as stated above was ultimately reimbursed by

      Empire.
              30.    Frank Serafini acted as a conduit regarding his $1,000
      contribution to the Dole Committee and also solicited a $1,000
      conduit contribution from his legislative aide, Thomas Harrison.
      Frank Serafini reimbursed Thomas Harrison from his own personal
      funds and was ultimately reimbursed for this $1,000 expense, as
      well as for his own $1,000 cc,ntribution by a $2,000 check issued
      by defendant MICHAEL L. SERAFINI payable to Frank Serafini.

              31.    Robert Giglio was solicited by defendant MICKAEL L,
      SERAFINI to make a contribution to the Dole Committee and was

      also requested to seek contributions from his mother, Dolores
      Giglio, his sister, Mary McCormack, and his girlfriend, Ann
      Pompey.       Thereafter, all four individuals contributed $1,000 to
      the Dole Committee.        Robert Giglio reimbursed his family for
      their contributions and Empire issued Robert Giglio a corporate
      check, signed by defendant MICHAEL L, SERAFINI in the amount of
      $4,000, reimbursing him for his contribution and his family's
      contributions.
              32.    On or about July 17, 1995, the Dole Committee filed a
      report with the FEC summarizing all of its receipts and
      disbursements for the period between April 1, 1995 and June 30,
      1995.     As a result of the defendants' actions, that report
      falsely attributed approximately $75,000 in campaign
      contributions made by Empire as having been made by the conduits.

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                    THE   CLINTON/GORE CONTRIBUTIONS

     33. In September 1995, President William J. Clinton and Vice
President Al Gore, Jr., were candidates for President and Vice
President of the United States.      The Clinton/Gore    1   96 Primary
Committee ("the Clinton/Gore Committee") was a political
committee authorized to support the candidacies of President
Clinton and Vice President Gore and as such was subject to the
reporting provisions and the campaign financing limitations of
the Campaign Act.
     34.   In September 19~5, defendants RENATO P. MARIANI and
MICHAEL L. SERAFINI were invited to, support President Clinton's

and Vice President Gore's candidacies and were invited to attend
the Pennsylvania Presidential Gala on September 18, 1995 at the
Wyndham Franklin Plaza Hotel in Philadelphia, Pennsylvania.
     35.   In connection with this event, one or more of the
defendant:s contacted numerous individuals employed by Empire in
an effort to raise funds for the Clinton/Gore Committee.           The
donors were instructed to issue checks payable to the Clinton/
Gore Committee in the amount of $1,000.       The donors were then
reimbursed for their contributions by Empire acting through
defendant MICHAEL L. SERAFINI,
     36.   As a result of the defendants' actions, ten conduits
each issued a check for $1,000 for a total of $10,000 that was
contributed to the Clinton/Gore Committee.       Nine of those
conduits were reimbursed by personal checks issued by defendant
MICHAEL L. SERAFINI for which he was ultimately reJ.mbu.rsed by


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E~pire.      One conduit, the defendant LEO R. DEL SERRA, was
reimbursed directly by Empire.
       37.   On or about December 28, 1995, the Clinton/Gore
Committee filed a report with the FEC summarizing all of its
receipts and disbursements for the period between July 1, 1995
and September 30, 1995.        As a result of the defendants' actions,
that report falsely attributed approximately $10,000 in campaign
contributions made by Empire as having been made by the conduits.

                         THE SPECTER CONTRIBUTIONS
       38.   !n January 1995, United States Senator Arlen Specter
was a candidate for President of the United States.            The Arlen
Specter Presidential Exploratory Fund and Arlen Specter '96 ("the
Specter Committees") were political committees authorized to
support the candidacy of Senator Specter and as such were subject
to the reporting provisions and the campaign financing
limita.tions of the Campaign Act.
       39.   !n January 1995, defendants RENATO P. MARIANI and
MICHAEL L. SERAFINI were invited to support Senatqr Specter's
candidacy and were invited to attend a private cocktail reception
with Senator Specter on January 27, 1995 at the Hilton Hotel in
Fort Lee, New Jersey.       The cocktail reception was to be held
immediately prior to the Bergen County Republican Organi~ation
Victory Gala which was held at the Palisadium in Cliffside Park,
New Jersey.
       40.   ln connection with the cocktail reception, one or more
of the defendants contacted numerous individuals employed by
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     Empire and associated with Empire in an effort to raise funds for
     the Specter Committees.     The donors were instructed to issue
     checks payable to the Arlen Specter Presidential Exploratory Fund
     in amounts of $1,000 or $2,000.      The donors were then reimbursed
     for their contributions directly by Empire.
          41.   As a result of the defendants' actions, ten conduits
     each contributed $1,000 for a total of $10,000 that was
     contributed to the Specter Committees.       Defendants MICHAEL L.
     SERAFINI and LEO R. DEL SERRA also acted as Conduits in

     connection with their con'tributions to the Specter Committees and
     were reimbursed directly by Empire.
          42.   On or about April 15, 1995, the Specter Committees
     filed a report with the FEC summarizing all of its receipts and
     disbursements for the period between November 1, 1994 and
     March 31, 1995.   As a result of the defendants' actions, that
     report falsely attributed approximately $10,000 in campaign
     contributions made by Empire as having been made by the conduits.


                          THE HAYTAIAN CONTRIBUTIONS
          43.   In October 1994, Chuck Haytaian was a candidate for
     United States Senator for New Jersey.      Haytaian-U.S. Senate '94
     ("the Haytaian Committee") was a political committee authorized
     to support the candidacy of Chuck Haytaian and as such was
     subject to the reporting,pro,risions and the campaign financing
     limitations of the Campaign Act.
          44.   In October 1994, defendants RENATO P. MARIANI and

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MICHAEL L. SERAFINI were invited to support Chuck Haytaian's

candidacy and were invited to attend a fundraiser on October 14,
1994, at the Hilton Hotel in Fort Lee, New Jersey.
     45.   In connection with the fundraising event, one or more
of the defendants contacted numerous individuals employed by
Empire in an effort to raise funds for the Haytaian Committee.
The donors were instructed to issue checks payable to the
Haytaian Committee in amounts of $1,000 or $2,000.         The donors
were then reimbursed for their contributions directly by Empire.
     46.   As a result of the d.efendants' actions, ten conduits
each contributed $1,00d for a total of $10,000 that was
contributed to the Haytaian Committee.        Defendants MICHAEL L.
SERAFINI and LEO R. DEL SERRA also acted as conduits in

connection with their contributions to the Haytaian Committee and
were reimbursed directly by Empire.
     47.   On or about October 26, 1994, the Haytaian Committee
filed a report with the FEC summarizing all of its receipts and
disbursements for the period between October 1, 1994 and
October 19, 1994.    As a result of the defendants' actions, that
report falsely attributed approximately $10,000 in campaign
contributions made by Empire as having been made by the conduits.


                     :rHE S.AN'l'ORUM CONTRIBU'l'IONS
     48,   In December 1994, United st::ates Senator Rick Santorum
had been recently elected to the office of United States Senator
for l?ennsylvania.   Santorum '94 ("the Santorum Committee") was a

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        political committee authori?.ed to support the candidacy of
        Senator Santorum, as well as retire a debt accumulated from the
        recent election.    As such, the Santorum Committee was subject to
        the reporting provisions and the campaign financing limitations
        of the Campaign Act.
             49.    In December 1994, defendants RENATO P. MARIANI and
        MICHAEL L. SERAFINI were invited to support Senator Santorum and

        were invited to attend a fundraising event for Senator Santorum
        on December 14, 1994 at the Glenmaura Country club in Moosic,
        Pennsylvania.
             50.    In connection with the fundraising event, one or more
        of the defendants contacted numerous individuals employed by
        Empire and associated with Empire in an effort to raise funds for
        the Santorum Committee.     The donors were instructed to issue
        checks payable to the Santorum Committee in an amount of $1,000.
        The majority of donors were then reimbursed for their
        contributions directly by Empire.
             51.   As a result of the defendants' actions, approximately
        nine individuals each contributed $1,000 for a total of $9,000
        that was contributed to the ·santorum Committee.        Six of those
        individuals acted as conduits and were reimbursed directly by
        Empire.    Defendants RENATO P. MARIANI and LEO R. DEL SERRA also
        acted as conduits themselves in connection with their
        contributions to the Santorum Committee and were reimbursed
        directly by Empire.
             52.    on or about February 1, 1995, the Santorum Committee

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           filed a report with the FEC summarizing all of its receipts and
           disbursements for the perj,od between November 29, 1994 and
           December 31, 1994.    As a result of the defendants' actions, that
           report falsely attributed approximately $6,000 in campaign
           contributions made by Empire as having been ma.de by the conduits.


                                 THE DUHAIME CONTRIBUTIONa
                53.    In June 1995, Richard Duhaime was a candidate for
           United States Senator from New Jersey.           Duhaime for senate ("the
           Duhaime Committee") was a political committee authorized to
           support the candidacy of Richard Duhaime and as such was subject
           to the reporting provisions and the campaign financing
           limitations of the Campaign Act.        The Duhaime committee also
           raised funds under the name "Campaign       1   96."
                54.    In June 1995, defendants RENATO P. MARIANI and
           MICHAEL L. SERAFINI were invited to support Richard Duhaime and

           were invited to attend a fundraising event for Richard Duhaime on
           June 5, 1995 at the Tara Hotel and restaurant in Parsippany, New
           Jersey.
                55.    In connection with the fundraising event, defendant
           MICHAEL L. SERAFINI and others unknown, contacted several

           individuals connected to Empire in an effort to raise funds for
           the Duhaime Committee.    The donors were instructed to issue
           checks payable to Campaign    1   96 in the amount of $1,000.     Three of
           the donors were reimbursed for their contributions directly by
           Empire.    Robert Giglio acted as a conduit for his own

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contribution and also reimbursed Dolores Giglio and Mary
McCormack for their contributions.       Empire then isaued Robert
Giglio a corporate check signed by defendant LEO R. DEL SERRA,
reimbursing him for his contribution and his family's
contributions to the Duhaime Committee.
     56.   As a result of the defendants' actions, five conduits
each contributed $1,000 for a total of $5,000 that was
contributed to the Duhaime Committee.
     57.   On January 29, 1996, the Duhaime Committee filed a
report with the FEC summarizing all of its receipts and
disbursements for the period between June 1, 1995 and
December 31, 1995.    As a result of the defendants' actions, that
report falsely attributed approximately $5,000 in campaign
contributions made by Empire as having been made by the conduits.


                      THE PALLONE CONTRIBU'l'~oNa
     58.   In August 1994, United States Representative Frank
Pallone, Jr., was a candidate for election to the United States
House of Representatives.     Pallone for Congress ("the Pallone
Committee") was a political committee authorized to support the
candidacy of Representative Frank Pallone, Jr., and as such was
subject to the reporting provisions and the campaign financing
limitations of the Campaign Act.
     59.   On August 29, 1994, the Pallone Committee held a
fundraiser at La Fontana Ristorante in New Brunswick, New Jersey.
In connection with that event, one or more of the defendants

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contacted several individuals employed by Empire and doing
business with Empire in an effort to raise funds for the Pallone
Committee.      The donors were instructed to issue checks payable to
the Palione Committee in the amount of $1,000.           The donors were
then reimbursed for their contributions directly by Empire.
       60.   As a result of the defendants' actions, three conduits
each contributed $1,000 for a total of $3,000 that was
contributed to the Pallone committee.          Defendant LEO R. DEL SERRA
also acted as a conduit in connection with his contribution to
the Pallone Committee and was reimbursed directly by Empire.
       61,   On October 17, 1994, the Pallone Committee filed a
report with the FEC summarizing all of its receipts and
disbursements for the period between July 1, 1994 and
September 30, 1994.       As a result of the defendants' actions, that
report falsely attributed approximately $3,000 in campaign
contributions made by Empire as having been made by the conduits.


                           THE   FOX CONTRIBUTIONS

       62.   In October 1994, United States Representative Jon Fox
was a candidate for election to the United States House of
Representatives.       The Fox for Congress Committee ("the Fox
Committee") was a political committee authorized to support the
candidacy of Jon Fox and as such was subject to the reporting
provisions and the campaign financing limitations of the Campaign
Act.
       63.   On or about October 27, 1994, one or more of the

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         defendants contacted several individuals connected with Empire
         in an effort to raise funds for the Fox Committee.         The donors
         were instructed to issue checks payable to the Fox Commi.ttee in
         the amount of $1,000.     Three of the donors were then reimbursed
         for their contributions directly by Empire.
              64.   As a result of the defendants' actions, six individuals
         each contributed $1,000 for a total of $6,000 that was
         contributed to the Fox committee.        Three of those individuals
         acted as conduits and were reimbursed directly by Empire.
         Defendant RENATO J?. MARIANI acted as one of those conduits in
         connection with his contribution to the Fox Committee.
              65.   On or about December 12, 1994, the Fox Committee filed
         a report with the FEC summarizing all of the receipts and
         disbursements for the period between October 20, l.994 and
         November 28, 1994.     As a result of the defendants• act~ons, that
         report falsely attributed approximately $3,000 in campaign
         contributions made by Empire as having been made by the conduits.


                                THE BAUCUS CONTRIBUTIONS
              66.   On or about June 20, 1995, United States Senator Max
         Baucus held a fundraising event at the offices of Dutko in
         Washington, D.C.     Friends of Max Baucus ("the Baucus Committee")
         was a political committee authorized to support Max Baucus and as
         euch was subject to the reporting provieions and the campaign
         financing limitatione of the Campaign Act.
              67.   On or about June 16, 1995, defendant      MICF!AEL L.


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SERAFINI directed Melinda Marcotte to issue a $1,000 check
payable to the Baucus Committee.       The contribution check was
drawn on the joint checking account of defendant MICHAEL L.
SEIDi.FINI and Melinda Marcotte and was turned over to the Baucus
Committee in connection with the June 20, 1995 fundraising event
by an official of Dutko.      The contribution was then reimbursed by
an Empire check payable to defendant MICHAEL L. SERAFINI.
        68.   On or about July 31, 1995, the Baucus Committee filed a
report with the FEC summarizing all of its receipts and
disbursements for the period between January l, 1995 and June 30,
1995.     As a result of the defendants' actions, that report
falsely attributed approximately $1,000 in campaign contributions
made by Empire as having been made by the conduit.


                        THE PAXON CQNTRIBUTIQ)fil,'[
        69.   In January 1996, the United States Representative Bill
J?axon was a member of the United States House of Representatives.
Paxon for Congress ("the Paxon Committee") was a political
committee authorized to support Representative Bill Paxon and as
such was subject to the reporting provisions and the campaign
financing limitations of the Campaign Act.
        70.   On February 5, 1996, a fuhdraising lunch for
Representative Bill Paxon was held at the National Republican
Congressional Committee headquarters in Washington D.C.
Defendant MICHAEL L, SERAFINI was invited to support
Representative Paxon in connection with this fundraiser.

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                  71.     Defendant LEO R, DEL SERRA contributed $1,000 to the
             Paxon Committee in connection with this event.        The contribution
             check was turned over to the Paxon Committee by an official of
             Dutko.     Defendant LEO R, DEL SERRA was then directly reimbursed
             by Empire for his contribution to the Paxon Committee.,
                  72.     On or about April 19, 1996, the Paxon Committee filed a
             report with the FEC summarizing all of its receipts and
             disbursements for the period between January l, 1996 and
             March 31, 1996.    As a result of the defendants' actions, that
             report falsely attributed approximately $1,000 in campaign
             contributions made by Empire as having been made by the conduit.


                                           OVERT ACTS
                  73.     In furtherance of the conspiracy and to accomplish its
             unlawful objectives, the defendants and others both known and
             unknown committed the following overt acts, among others, in the
             Middle District of Pennsylvania and elsewhere:
                  74.    On or about: August 25, 1994, Empire issued three
             corporate checks payable to defendant LEO R. DEL SERRA,
             Charles P. Hunkele and John Reilly, each check in the amount of
             $1,000.
                  75.    On or about August 25, 199·~, defendant LEO R. DEL SERRA
             and John Reilly issued checks payable to the Pallone Committee,
             each check in the amount of $1,000.
                  76.    On or about August 29, 1994, Charles P. Hunkele issued
             a check payable to the Pallone Committee in the amount of $1,000.

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         77.   On or about August 29, 1994, Raymond J. Lesniak
attended a fundraiser for Representative Frank Pallone, Jr., held
at La Fontana Ristorante in New Brunswick, New Jersey, a.nd
delivered the DEL SERRA, Reilly and Hunkele checks to the Pallone
Committee.
        78.    On or about October 17, 1994, the l?al.lone committee
filed a report with the FEC summarizJ.ng its receipts and
disbursements for the period between July 1, 1994 and
September 30, 1994.
        79.    On or about October 10, 1994, Empire issued six
corporate checks payable to defendant MICHAEL L. SERAFINI
($1,000), defendant LEO R. DEL SERRA ($2,000)          1   Stacey Selig
($2,000), Gary Butler ($2,000), James Thomas ($2,000), and Peter
Blasi ($1,000).
        80.    On or about October 10 and 11, 1994, defendant
MICHAEL L. SERAFINI and LEO R. DEL SERRA, as well as Jo Ann Del

Serra, Peter Blasi, Gary Butler, Marion Butler, Stacey Selig, Lou
Selig, James Thomas and Carol Ann Thomas issued checks in amounts
of $1,000 and $2,000 payable to the Haytaian Committee.
        81.    On or about October 26, 1994, the Haytaian Committee
filed a report with the FEC summarizing its receipts and
disbursements for the period between October l, 1994 and
October 19, 1994.
        82.    On or about October 27 and 28, 1994, defendant
RENATO P. MARIANI and his wife, Joan Mariani, issued checks for

$1,000 payable to the Fox committee.

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             83.   On or about November 17, 1994, Empire issued a
        corporate check payable to defendant RENATO P. MARIANI in the
        amount of $5,000.
             84.   On or about October 27, 1994, Empire issued a corporate
        check payable to Gary Butler in the amount of $1,000.
             85.   On or about October 27, 1994, Marion Butler issued a
        check payable to the Fox Committee in the amount of $1,000.
             86.   On or about December 12, 1994, the Fox Committee filed
        a report with the FEC summarizing its receipts and disbursements
        for the period between October 20, 1994 and November 28, 1994.
             87.   On or about December 13, 1994, Empire issued a
        corporate check payable to defendant LEO R. DEL SERRA in the
        amount of $2,000.
             88.   On or about December 14, 1994, Empire issued a
        corporate check payable to defendant MICHAEL L, SERAFINI in the
        amount of $2,000 and a corporate check to defendant RENATO P.
        MARIANI in the amount of $2,000,

             89.   On or about December 14, 1994, defendant RENATO P.
        ~IANI, Joan M. Mariani, defendant LEO R. DEL SERRA, Jo Ann Del

        Serra, Melinda Marcotte and Louis Serafini issued checks payable
        to the Santorum Committee in amounts of $1,000 and $2,000.
             90.   On or about February 1, 1995, the Santorum Committee
        filed a report with the FEC summarizing all of its receipts and
        disbursements for the period between November 29, 1994 and
        December 31, 1994.
             91.   On or about January 20, 1995, Empire issued five

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      c9rporate checks payable to defendants MICHAEL L, SERAFINI and
      LEO R. DEL SERRA, as well as Gary Butler, James Thomas and Stacey

      Selig, each check in the amount of $2,000.
            92.       Between on or about Jam.i,ary 23, 1995 and January 26,
      1995, defendant LEO R. DEL SER.RA, as well as Melinda Marcotte, Jo

      Ann Del Serra, Gary Butler, Marion Butler, James Thomas, Carol
      Thomas, Stacey Selig, Lou Selig and Louis Serafini issued checks
      payable to the Specter Committee in the amounts of $1,000 and
      $2,000.

            93.       On or about April 15, 1995, the Specter Committee filed
      a report with the FEC summarizing all of its receipts and
      disbursements for the period between November 1, 1994 and
      Marc;ch 31, 1995.
           94.        On or about April 25, 1995, defendant MICHAEL L,
      SERAFINI directed his secretary Stacey Selig to i.ssue thirty-four
      (34) checks drawn on his joint checking account with Melinda
      Marcotte to the following persons a,nd in the following amounts:
           Ck. No.              Amount                     Payee
                426             $2,000            Leo and Jo Ann Del Serra
                427             $2,000            Jim and Carol Thomas
                429             $1,000            Louis Serafini
                430             $1,000            Francis Serafini
                431             $2,000            Frank Serafini
                432             $2,000            Mike and Donna Kon
                433             $2,000            Alan and Linda Stephens
                434             $2,000            Vincent and Susan Burney
                438             $2,000            Patrick and Susan Coccia
                439             $2,000            John Reilly
                440             $2,000            Diane and Arthur Bray
                441             $1,000            Joan Hummel
                442             $2, 000           Paul and Gail Hummel
                443             $1,000            Geralyn Zazzera
                444             $2,000            Stacey and Louis Selig
                445             $2,000            Kim and John Scrantino
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                   446             $2,000            Peter and Jane Blasi
                   447             $1,000            Chris Banko
                   448             $2,000            Donald and Robin Hallock
                   449             $1,000            Lisa Marcotte
                   450             $1,000            Tom Cook
                   451             $2,000            Tom and Fay Gable
                   452             $2,000            Gary and Marion Butler
                   453             $1,000            Diane Bratlee
                   454             $1,000            Vince Bernabei
                   455             $2,000            Paul and Brenda Keen
                   456             $2,000            Dan and Sheila Zeleniak
                   457             $1,000            Mike Mc.Ninch
                   458             $1,000            Vince Ciccone
                   459             $2,000            Tom and Renee Bergamino
                   460             $5,000            BWC Political Action Committee
                   461             $1,000            Mark Genell
                   462             $2,000            Angelo Genell
                   463             $1,000            Vince Ciccone

                 95.     Between April 27, 1995 and April 28, 1995, each payee
            listed in overt act 94 issued a check to the Dole Committee in an
            amount of $1,000 or $2,000 except the BWC PAC which issued a·
            check payable to the Dole Committee in the amount of $5,000 dated
            May 10, 1995.
                 96.     On or about April 27, 1995, Empire issued a corporate
            check payable to Bieber and Associates, Inc., in the amount of.
            $2,000 and a corporate check payable to William Gilchrist in the
            amount of $2,000.
                 97.     On or about April 27, 1995, George Bieber issued a
            check payable to the Dole committee in the amount of $2,000.
                 98. · On or about April 27, 1995, Empire issued a corporate
            check payable to defendant MICHAEL L. SERAFINI in the amount of
            $75,343.93.

                 99.     On or about April 28, 1995, William Gilchrist issued a
            check payable to the Dole Committee in the amount of $2,000.

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          100.    On or about April 28, 1995, defendant MICHAEL L.
     SERAFINI issued a check drawn on his joint account with Melinda

     Marcotte payable to the Dole Committee in the amount of $2,000.
         101.    On or abou.t April 29, 1995, Richard Bodner issued a
     check payable to the Dole Committee in the amount of $2,000.
         102.    On or about May 1, 1995, Empire issued a corporate
     check payable to Rick Bodner in the amount of $2,000.
         103.    On or about May 1, 1995, Thomas Earl issued a check
     payable to the Dole Committee in the amount of $2,000.
         104.    On or about May 1, 1995, Empire issued a corporate.
     check payable to Thomas Earl in the amount of $2,000.
         105.    On or about April 27, 1995, defendant MICHAEL L.
     SERAFINI solicited a contribution for the Dole Committee from

     Robert Giglio and members of Giglio's family including Dolores
     Giglio, Mary McCormack and Ann Pompey.       On or about April 27,
     1995, Robert Giglio, Dolores Giglio, Mary McCormack and Ann
     Pompey each issued checks payable to the Dole Committee in the
     amount of $1,000.
         106.    On or about April 28, 1995, Empire issued a corporate
     check payable to ROBERT GIGLIO in the amount of $4,000.
         107.    On or about April 25, 1995, Charles P. Hunkele issued a
     check payable to the Dole Committee in the amount of $2,000,
         108.    On or about May 23, 1995, Empire issued a corporate
     check payable to Charles Hunkele in the amount of $2,000.
         109.    On or about April 27, 1995, Renato Mariani and Lucy
     Mariani (the defendant RENATO P. MARIANI's mother and father)

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issued a check payable to the Dole Committee in the amount of
$2,000.
    110.    On or about May 5, 1995, Empire issued a corporate
check payable to Lucy Mariani in the amount of $2,000.
    111.    On or about April 27, 1995, defendant RENATO P. MARIANI
issued a check payable to the Dole Committee in the amount of
$2,000.
    112.    On or about May 9, 1995, Empire issued a corporate
check payable to defendant RENATO P. MARIAN! in the amount of
$2,000.
    113.    On or about April 28, 1995, Frank Ripa issued a check
payable to the Dole Committee in the amount of $2,000.
    lU,.    On or about April 28, 1995, Empire issued a check
payable to Malter International, a chemical supply business owned
by Frank Ripa, in the amount of $2,000.
   115.     On or about April 27, 1995, Frank Serafini solicited a
$1,000 contribution to the Dole Committee from his legislative
aide, Thomas Harrison.    Thomas Harrison then issued a check
payable to the Dole Committee in the amount of $1,000 and gave it
to Frank Serafini.    Frank Serafini then directed Thomas Harrison
to reimburse himself for the contribution by issuing himself a
check drawn on the account of Frank A. Serafini and Louis
Serafini.    Thomas Harrison issued himself the reimbursement check
and deposited it the next day into his bank account.
   116.     On or about July 17, 1995, the Dole Committee filed a
report with the FEC summarizing all of its receipts and
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disbursements for the period between April 1, 1995 and June 30,
1995.
    117.     On or about June 16, 1995, defendant MICHAEL L.
SERAFINI directed Melinda Marcotte to issue a check payable to

the Baucus Committee from their joint checking account.          Melinda
Marcotte then issued a check payable to the Baucus Committee in
the amount of $1,000 and gave it to defendant MICHAEL L.
SERAFINI.

    118.     On or about July 5, 1995, Empire issued a corporate
check payable to the defendant MICHAEL L. SERAFINI in the amount
of $1,000.
    119.     Between or about June 2, 1995 and June 5, 1995, Robert
Giglio, Dolores Giglio and Mary McCormack each issued checks
payable to Campaign '96 in the amount of $1,000.
    120.     On or about June 2, 1995, Empire issued a corporate
check payable to Robert Giglio in the amount of $3,500.
    121.     On or about June 2, 1995, Maria Ciccone (defendant LEO
R. DEL SERRA'S sister) issued a check payable to Campaign         1
                                                                      96 in
the amount of $1,000.
    122.     On or about July 5, 1995, Empire issued a corporate
check payable to defendant LEO R. DEL SERRA in the amount of
$1,000.
    123.     On or about July 5, 1995, Lou Selig issued a check
payable to the Duhaime Committee in the amount of $1,000.
    124.     On or about August 8, 1995, Empire issued a. corporate
check payable to Stacey Selig in the amount of $1,000.

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             125.   On or about January 29, 1996, the Duhaime Committee
         filed a report with the FEC summarizing all of its receipts and
         disbursements for the period between June 1, 1995 and
         December 31, 1995.
             126.   On or about September 15, 1995, defendant LEO R. DEL
         SERRA, Ronald C. Banko, Marion L. Butler, Patrick Coccia,

         Thomas J. Cook, Donald F. Hallock, Lou Selig, James Thomas,
         Janine Thomas and Geralyn Zazzera each issued a check payable to
         the Clinton/Gore Committee in the amount of $1,000.
             127.   On or about September 15, 1995, Empire issued a
         corporate check payable to defendant LEO R. DEL SERRA in the
         amount of $1,000.
             128.   On or about September 15, 1995, Empire issued a
         corporate check payable to defendant MICHAEL L. SERAFINI in the
         amount of $12,041.13 which was signed by defendant LEO R. DEL
         SERRA.

             129.   On or about September 18, 199S, defendant
         MICHAEL L, SERAFINI issued checks to each of the individuals

         referenced in overt act J.26 in the amount of $1,000 except
         defendant LEO R. DEL SERRA.
             130.   On or about December 28, 1995, the Clinton/Gore
         Committee filed a report with the FEC summarizing its receipts
         and disbursements for the period between July 1, 1995 and
         September 30, 1995.
            131.    On or about January 30, 1996, defendant LEO R. DEL
         SERRA issued a check payable to the Paxon Committee in the amount


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of $1,000.
    132.     On or about January 30, 1996, Empire issued a corporate
check payable to defendant LEO R. DEL SERRA in the amount of
$1,000.
    133.     On or about April 19, 1996, the Paxon Committee filed a
report with the FEC summari',dng all of its receipts and
disbursements for the period between Janu.ary 1, 1996 and
March 31, 1996.
    134.     On or about April 25, 1996, at the request of Empire's
corporate counsel, Empire and Danella employees issued statements
regarding the circumstances surrounding their contributions to
the Dole Committee and those statements were false and
misleading.
    135.     On or about April 26, 1996, defendants MICHAEL L.
SERAFINI and LEO R. DEL SERRA pressured and coerced an Empire

employee to sign a false and misleading statement regarding the
circumstances surrounding his contribution to the Dole Committee.
    136.   On or about May 3, 1996, defendants MICHAEL L. SERAFINI
and LEO R. DEL SERRA solicited phony invoices from two
individuals who had contributed to the Dole Committee and were
reimbursed by Empire.
    In violation of Title 18, United States Code Section 371.




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                               COUNl'S TWO THROUGH ELEVEN
         THE GRAND JURY FURTHER CHARGES:

             The allegations contained in paragraphs 1 through 136 of
         count one of this indictment are hereby repeated, realleged and
         incorporated by reference as though fully set forth herein.
             On or about the dates set forth below, in the Middle District
         of Pennsylvania and elsewhere, the defendants RENATO P. MARIANI,
         MICHAEL L. SERAFINI and LEO R, DEL SERRA as to all counts and

         ALAN W. STEPHENS as to count two only, and others known and

         unknown, in a matter within the jurisdiction of a departmerl'I: and
         agency of the United States, to wit, the FEC, knowingly and
         willfully caused the treasurers for the below listed political
         committees to (1) falsify, conceal and cover up by trick, scheme
         and device a material fact;     (2)    make materially false, fictitious
         and fraudulent statements and representations; and (3) make and
         use false writings and documents knowing the same to contain
         materially false, fictitious and fraudulent statements and
         entries, to wit, the defendants caused the treasurers for the
         below listed political committees to create and submit false
         reports to the FEC which indicated that lawful contributions were
         made by individuals to the respective political committees when
         in truth and fact, as the defendants well knew, it was Empire
         that had contributed to the respective political committees and
         not the conduits listed in the report filed with the FEC.
            cqnnt                                      Political Committee
              2          July 17, 1995                 Dole Committee
              3          December 28, 199S             Clinton/Gore Committee
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     4          April 15, 199S               Specter Committee
     s          October 26, 1994             Haytaian Committee
     6          February 1, 1995             Santorum Committee
     7          January 29, 1996             Duhaime Committee
     8          December 12, 1994            Fox Commit'l::ee
     9          October 17, 1994             Pallone Committee
    10          July 31, 1995                Baucus Committee
    11          April 19, 1996               Paxon Committee
   In violation of Title 18, United States Code Section 1001 and
Title 18, United States Code Section 2.




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                             COUNT TWE~



THE GRAND JURY FURTHER CHARGES:

    The allegations contained in paragraphs 1 through 136 of
count one of this indictment are hereby repeated, realleged and
incorporated by reference as though fully set forth herein.
    The defendants RENATO P. MARIANI and MICHAEL L, SERAFINI made
and caused to be made illegal campaign contributions aggregating
$2,000 or more during calendar year 1994.
   On or about the dates listed below, in the Middle District of
Pennsylvania and elsewhere, the defendants RENATO P. MARIANI and
MICHAEL L. SERAFINI, being officers of Empire, and other officers

unknown, did knowingly and will.fully consent to numerous. illegal
campaign contributions being made by Empire to the below listed
political committees in violation of the prohibition against
corporate contributions contained in the Campaign Act.
                           Politjcal committee           Amount
   August 29, 1994         Pallone Committee            $ 3,000
   October 10, 1994        Haytaian Committee             10,000
   October 28, 1994        Fox Committee                   3,000
   December 14, 1994       Santorum Committee              6,000
   In violation of Title 2, United States Code, Section 441b(a)
and 437g(d) and 18 United States Code, Section 2.




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                            COUNT THIRTEEN



THE GRAND JURY FURTHER CHARGES:

    The allegations contained in paragraphs l through 136 of
count one of this indictment are hereby repeated, realleged and
incorporated by reference as though fully set forth herein.
    The defendants RENATO P. MARIANI and MICHAEL L. SERAFINI made
and caused to be made illegal campaign contributions aggregating
$2,000 or more during calendar year 1995.

    On or about the dates listed below, in the Middle District of
Pennsylvania and elsewhere, the defendants RENATO P. MARIANI and
MICHAEL L. SERAFINI, being officers of Empire, and other officers

unknown, did knowingly and willfully consent to numerous illega.l
campaign contribution·s being made by Empire to the below listed
political committees in violation of the prohibition against
corporate contributions contained in the Campaign Act.
                            Political committee           Amount
    January 27, 1995        Specter Committee            $10,000
    April 2 9, 1995         Dole Committee                80,000
    June 2, 1995            Duhaime Committee              5,000
    June 16, 1995           Baucus Committee               1,000
    September 18, 1995      Clinton/Gore Committee        10,000

    In violation of Title 2, United States Code, Section 44lb(a)
and 437g (cl.) and 18 United States Code, Section 2.




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           COUNTS FOURTEEN THROUGH ONE       HUNDRE~      THIRTY-FOUR



THE GRAND JURY FURTHER CHARGES:

      The allegations contained in paragraphs l through 136 of
count one of this indictment are hereby repeated, realleged and
incorporated by reference as though fully set forth herein.
      The defendants RENATO P. MARIANI, MICHAEL L. SERAFINI and
LEO R. DEL SERRA made and caused to be made illegal campaign
contributions aggregating $2,000 or more during each of calendar
years 1994 and 1995.          The defendant ALAN   w.    STEPHENS made and

caused to be made illegal campaign contributions aggregating
$2,000 or more during calendar year 1995.
      On or about the dates listed below, in the Middle District of
Pennsylvania and elsewhere, the defendants REN.JI.TO P. MARIANI,
MICHAEL L. Sl!:RAFINI and LEO R. DEL SERRA as to all counts and the
defendant ALAN    w.      STEPHENS as to counts 14 through 89 only, and

others known and unknown, knowingly and willfully made and caused
to be made contributions to the below listed political committees
in the name of the individuals listed below rather than in the
name of the true source of the contribution:
 Count       ~Ql:l9,Uit        Political committee Amount               ~

 14      Ronald Banko               Dole                $1,000      04/28/95
 15      Rene Bergamine             Dole                $1,000      04/28/95
 16      Thomas Bergamino           Dole                $1,000      04/28/95
 17      Vincent Bernabei           Dole                $1,000      04/28/95
 18      George Bieber              Dole                $1,000      04/27/95
 19      Sandra Bieber              Dole                $1,000      04/27/95
 20      Jane Blasi                 Dole                $1,000      04/27/95
 21      Peter Blasi                Dole                $1,000      04/27/95
 22      Richard Bod.ner            Dole                $1,000      04/29/95
 23      Brenda Bodner              Dole                $1,000      04/29/95
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' '




      Count       Conduit       Polit;i.ciaJ, Committee   Amount       Date
      24      BWC PAC                 Dole                $5,000     05/10/95
      25      Diane Bratlee           Dole                $1,000     04/27/95
      26      Arthur Bray             Dole                $1,000     04/28/95
      27      Diane Bray              Dole                $1,000     04/28/95
      28      Susan Burney            Dole                $1,000     04/28/95
      29      Vincent Burney          Dole                $1,000     04/28/95
      30      Gary Butler             Dole                $1,000     04/28/95
      31      Marion Butler           Dole                $1,000     04/28/95
      32      Maria Ciccone           Dole                $1,000     04/28/95
      33      Vincent Ciccone         Dole                $1,000     04/28/95
      34      Patrick Coccia          Dole                $1,000     04/27/95
      35      Susan Coccia            Dole                $1,000     04/27/95
      36      Thomas Cook             Dole                $1,000     04/28/95
      37      Jo Ann Del Serra        Dole                $1,000     04/28/95
      38      Leo Del Serra           Dole                $1,000     04/28/95
      39      Susan Earl              Dole                $1,000     05/01/95
      40      Thomas Earl             Dole                $1,000     05/01/95
      41      Fay Gable               Dole                $1,000     04/28/95
      42      Thomas Gable            Dole                $1,000     04/28/95
      43      Angelo Genell           Dole                $1,000     04/28/95
      44      Tracy Genell            Dole                $1,000     04/28/95
      45      Mark Genell             Dole                $1,000     04/28/95
      46      Dolores Giglio          Dole                $1,000     04/27/95
      47      Robert Giglio           Dole                $1,000     04/27/95
      48      Josephine Gilchrist     Dole                $1,000     04/28/95
      49      William Gilchrist       Dole                $1,000     04/28/95
      50      Donald Hallock          Dole                $1,000     04/28/95
      51      Robin Hallock           Dole                $1,000     04/28/95
      52      Thomas Harrison         Dole                $1,000     04/27/95
      53      Elaine Hummel           Dole                $1,000     04/28/95
      54      Paul Hummel             Dole                $1,000     04/28/95
      ss      Joan Hummel             Dole                $1,000     04/28/95
      56      Donna Hunkele           Dole                $1,000     04/25/95
      57      Charles Hunkele         Dole                $1,000     04/25/95
      58      Brenda Keen             Dole                $1,000     04/28/95
      59      Paul K.een              Dole                $1,000     04/28/95
      60      Donna Kon               Dole                $1,000     04/28/95
      61      Michael Kon             Dole                $1,000     04/28/95
      62      Lisa Marcotte           Dole                $1,000     04/27/95
      63      Melinda Marcotte        Dole                $1,000     04/28/95
      64      Joan Mariani            Dole                $1,000     04/28/95
      65      Renato P. Maria.ni      Dole                $1,000     04/28/95
      66      Lucy Mariani            Dole                $1,000     04/27/95
      67      Renato Mariani          Dole                $1,000     04/27/95
      68      Mary McCormack          Dole                $1,000     04/27/95
      69      Miohael McNinch         Dole                $1,000     04/27/95
      70      Ann Pompey              Dole                $1,000     04/27/95
      71      John Reilly             Dole                $1,000     04/27/95
      72      Marilyn Reilly          Dole                $1,000     04/27/95

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Count
.            conduit       Political Committee      Amount        Date
 73     Frank Ripa               Dole               $1,000      04/28/95
 74     Dorothy Ripa             Dole               $1,000      04/28/95
 75     Kim Scarantino           Dole               $1,000      04/28/95
 76     John Scarantino          Dole               $1,000      04/28/95
 77     Lou Selig                Dole               $1,000      04/27/95
 78     Stacey Selig             Dole               $1,000      04/27/95
 79     Frances Serafini         Dole               $1,000      04/27/95
 80     Frank Serafini           Dole               $1,000      04/27/95
 81     Louis Serafini           Dole               $1,000      04/27/95
 82     Michael L. Serafini      Dole               $1,000      04/28/95
 83     Alan Stephens            Dole               $1,000      04/28/95
 84     Linda Stephens           Dole               $1,000      04/28/95
 85     Carol Thomas             Dole               $1,000      04/27/95
 86     James Thomas             Dole               $1,000      04/27/95
 87     Geralyn Zazzera          Dole               $1,000      04/28/95
 88     Daniel Zeleniak          Dole               $1,000      04/28/95
 89     Sheila Zeleniak          Dole               $1,000      04/28/95
 90     Ronald Banko             Clinton/Gore       $1,000      09/15/95
 91     Marion Butler            Clinton/Gore       $1,000      09/15/95
 92     l?atrick Coccia          Clinton/Gore       $1,000      09/15/95
 93     Thomas J. Cook           Clinton/Gore       $1,000      09/15/95
 94     Leo R. Del Serra         Clinton/Gore       $1,000      09/15/95
 95     Donald Hallock           Clinton/Gore       $1,000      09/15/95
 96     Lou Selig                Clinton/Gore       $1,000      09/15/95
 97     Carol Ann Thomas         Clinton/Gore       $1,000      09/15/95
 98     Janine Thomas            Clinton/Gore       $1,000      09/15/95
 99     Geralyn Zazzera          Clinton/Gore       $1,000      09/15/95
100     Gary Butler              Specter            $1,000      01/23/95
101     Marion Butler            Specter            $1,000      01/23/95
102     Jo Ann Del Serra         Specter            $1,000      01/23/95
103     Leo Del Serra            Specter            $1,000      01/23/95
104     Michael L. Serafini      Specter            $1,000      01/26/95
105     Stacey Selig             Specter            $1,000      01/26/95
106     Lou Selig                Specter            $1,000      01/26/95
107     Louis Serafini           Specter            $1,000      01/26/95
108     James Thomas             Specter            $1,000      01/25/95
109     Carol Ann Thomas         Specter            $1,000      01/25/95
110     Peter Blasi              Haytaian           $1,000      10/11/94
111     Gary Butler              Haytaian           $1,000      10/11/94
112     Marion Butler            Haytaian           $1,000      10/11/94
113     Leo Del Serra            Haytaian           $1,000      10/11/94
114     Jo Ann Del Serra         Haytaian           $1,000      J.0/11/94
115     Lou Selig                Haytaian           $1,000      10/11/94
116     Stacey Selig             Haytaian           $1,000      10/11/94
117     Michael L. Serafini      Haytaian           $1,000      10/10/94
118     James Thomas             Haytaian           $1,000      10/10/94
119     Carol Ann Thomas         Haytaian           $1,000      10/10/94
120     Leo R. Del Serra         Santorum           $1,000      12/14/94
121     Jo Ann Del Serra         Santorum           $1,000      12/14/94
122     Melinda Marcotte         Santorum           $1,000      12/14/Sl4

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         count        Conduit       PoliticaJ committee      Amount        ~

         123     Renato P. Mariani        Santorum           $1,000      12/14/94
         124     Joan Mariani             Santorum           $1,000      12/14/94
         125     Louis Serafini           Santorum           $1,000      12/14/94
         126     Maria Ciccone            Duhaime            $1,000      06/02/':'J5
         127     Dolores Giglio           Duhaime            $1,000      06/03/95
         128     Robert Giglio            Duhaime            $1,000      06/05/95
         129     Mary McCormack           Duhaime            $1,000      06/02/95
         130     Lou Selig                Duhaime            $1,000      07/05/95
         131     Marion Butler             Fox               $1,000      10/27/94
         132     Renato P. Mariani         Fox               $1,000      10/28/94
         133     Joan Mariani             Fox                $1,000      10/27/94
         134     Melinda Marcotte         Baucus             $1,000      06/16/95

           In violation of Title 2, United States Code, Section 441f and
        437g(d) and 18 United States Code, Section 2.




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                    COUNT ONE HIJRORED THIRTY-FIVE


THE GRAND JURY FURTHER CHARGES THAT:



                           I,    INTRODUCTION,

    1.    The allegations contained in paragraphs 1 through 136 of
count one of this indictment are hereby repeated, realleged and
incorporated by reference as though fully set forth here.in.
    2.    On or about February 8, 1996, a seven count indictment
was filed in the United States District Court for the Eastern
District of Pennsylvania ("the Eastern District case") which
charged defendant RENATO    P,   MARIANI and his uncle, Carmen Danella

(a 50% shareholder in Empire and Danella), with various criminal
tax offenses.    Count one charged both defendants with a
conspiracy to defraud the United States by impeding, impairing,
obstructing and defeating the lawful functions of the Internal
Revenue Service.    Counts two, three and four charged Carmen
Danella alone with filing false individual income tax returns for
the years 1989 and 1992 and aidi.ng and assisting in the
preparation of a false corporate income tax return for Plymouth
Transport, Inc., for the year 1988.       Counts five, six and seven
charged both the defendant RENATO P, MARIANI and Carmen Danella
with aiding and assisting in the preparation of false corporate
income tax returns for Empire for the years 1988, 1989 and 1991.
     3.   The indictment charged that defendant RENATO P. MARIANI
and Carmen Danella directed an attorney named John G. Kaufman to

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prepa,re 16 phony invoices totaling $759,190.30 for legal services
never rendered for Empire and two other companies under those
individuals' control.     It was further alleged that defendants
RENATO P. MARIANI and Carmen Danella caused the phony invoices to

be paid by checks drawn on the accounts of Empire and the other
two companies.    It was also alleged that defendant RENATO P.
MARIANI and Carmen Danella directed Kaufman to negot             the
checks and kick-back 80% of the ca.sh proceeds to them.         Finally,
it was alleged that part of the conspiracy to defraud the IRS was
that the phony invoices were recorded and deducted as legitimate
professional services, thereby reducing taxable income.
    4.   One of the issues in the investigation and prosecution of
the Eastern District case was to determine what motive defendant
RENATO P. MARIANI and Carmen Danella had for raising clean cash
and what they did with the more than $600,000 they allegedly
received in the course of the scheme.
    5.   On Thursday, April 25, 1996, newspaper articles appeared
in the Wall Street Journal and the Washington Post reporting that
numerous employees of Empire and their relatives contributed
nearly $50,000 to Senator Dole's presidential campaign a week
before a trash transportation bill Empire was lobbying to change
was brought to the Senate floor.      The newspaper stories also
referenced the fact that Empire's two principal owners, Carmen
Danella and defendant RENATO P. MARIANI were under indictment in.
the Eastern District case.

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    6.     The newspaper stories noted that an Assistant u.s.
Attorney handling the Eastern District case would not comment on
whether the cash generated from the Eastern District scheme was
used to finance political contributions.         The newspaper stories
also noted that Senator Dole had requested the FEC to investigate
reports earl       in the week         ive to a similar scheme
involving a Massachusetts corporation.
    7.     Immediately following the April 25, 1996 newspaper
stories, prosecutors in the Eastern District case commenced an
investigation to determine if there was any connection between
the Eastern District case and the facts alleged in the newspaper
stories.     Prosecutors in the Eastern District case directed IRS
agents to interview E~pire and Danella employees and their
spouses regarding the circumstances surrounding their Dole
contributions to the Dole Committee.         Within the next several
days, numerous Empire and Danella employees and their spouses
were contacted by the IRS.       With one exception, each and every
individual contacted either denied being reimbursed for their
contribution or refused to be interviewed.
   8.      On or about April 29, 1996, the U.S. Attorney's Office
for the Middle District of Pennsylvania opened its file on this
matter and the first round of grand jury subpoenas were issued on
May 3, 1996 to various individuals including Empire employees and
their spouses.
                         II.     TI;IE CONSPIRACY.
    9.     Beginning on or about April 2S, 1996 and continuing until

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01; or about the date of this indictment, in Lacka.wanna County,

within the Middle District of Pennsylvania and elsewhere, the
defendants MICHAEL L. SERAFINI and LEO R. DEL SERRA and others
both known and unknown to the grand jury, did knowingly and
willfully combine, conspire, confederate and agree together and
with each other to:
          A.     Corruptly influence, obstruct and impede and endeavor
    to influence, obstr~ct and impede the due administration of
    justice in violation of Title 18, United States Code, Section
    1503.

          B.     Tamper with a witness in violation of Title 18, United
    States Code, Section 1512.


                  III.   HANNER AND MEANS OF THE CONSPIRACY.
    10.        The defendants, MICHAEL L. SERAFINI and LEO R. DEL SERRA
carried out the conspiracy in the following manner and by the
following means:
    11.        On or about April 25, 1996, a meeting was held at Empire
which included Empire's attorney, Brian Cali, and numerous Empire
and Danella employees who had contributed to the Dole Committee a
year earlier.        The topic of the meeting was the recent newspaper
articles and the circumstances surrounding the employees'
contributi.ons.
    12.        At the April 25, 1996 meeting, Brian Cali requested that
the attendees prepare written statements regarding the
circumstances surrounding their contributions to the Dole

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Committee.    It was the intent of the defendants tha'I: these
letters be used in connection with the pending criminal
proceeding in the Eastern Di             of Pennsylvania and/or the
incipient grand jury investigation in the Middle District of
Pennsyl va.nia.   At least twenty-one pre-typed forms on the Empire
letterhead were distributed to the conduits for this purpose.
    13.   As a result of the meeting, at least twenty-one Empire
and Danella employees prepared false and/or misleading statements
indicating, among other things,           they were not reimbursed for
their contributions or were not reimbursed by Empire for their
contributions.    Not one statement included the fact that
defendant MICHAEL L, SERAFINI, an officer of the corporation,
solicited the contributions and issued personal checks
reimbursing the contributors.      Nor did the statements include the
fact that defendant MICHAEL L. SERAFINI was reimbursed by Empire
£or his expense in reimbursing the conduits.
    14.   One individual who refused to sign such a statement was
subsequently visited by defendant LEO R. DEL SERRA and               by
defendant MICHAEL L. SERAFIN~ and was coerced into signing a
statement which he believed to be false and misleading and which
defendants LEO R. DEL SERRA and MICHAEL L. SERAFINI knew was
false and misleading.
    15.   Thereafter, defendant MICHAEL L. SERAFINI contacted two
individuals who acted as paid consultants for Empire and who had
previously been solicited by Empire to contribute to the DoJ.e
Committee.   Both individuals     had previously received

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reimbursement checks drawn on the Empire account in connection
with their contributions.      Neither individual was informed what
the purpose of the meeting was.
    16.   On May 3, 1996, a meeting was held at the landfill and
attending were defendants MICHAEL L. SERAFINI and LEO R, DEL
SERRA and the two consultants.      The purpose of the meeting was to
discuss the Dole Committee contributions and the furor that had
erupted as a result of the pending investigations.
    17.   During the course of the meeting, defendants MICHAEL L.
SERAFINI and LEO R. DEL SERRA invited the two consultants to

submit phony invoices to Empire which could thereafter be used by
the defendants in the course of the pending Eastern District case
and/or the pending grand jury investigation in the Middle
District of Pennsylvania and any trials that might result
therefrom.   It was the intent of the defendants that the phony
invoices be used to legitimatize the Empire corporat·e checks that
had been previously issued to reimburse those individuals for
their conduit contributions to the Dole Committee.


                           III,   OVERT ACTS,

   18.    In furtherance of the conspiracy and to accomplish its
unlawful objectives, the defendants and others, both known and
unknown, committed the following overt acts in the Middle
District of Pennsylvania and elsewhere.
   19.    On or about April 25, 1996, Brian Cali held a meeting at
the Empire landfill and requested numerous conduits to prepare

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written statements regarding the circumstances surrounding their
contributions to the Dole Commi.ttee.
    20.   On or about April 26, 1996, defendants MICHAEL L.
SERAFINI and LEO R. DEL SERRA coerced one Empire employee into
signing a statement which that employee believed to be false and
misleading and which defendants MICHAEL L. SERAFINI and LEO R.
DEL SERRA knew was false and misleading.
   21.    On or about May 3, 1996, defendants MICHAEL L. SERAFINI
and LEO R. DEL SERRA invited two individuals who had previously
been reimbursed for their contributions to the Dole Committee by
Empire to submit phony invoices to Empire.
   In violation of Title 18, United States Code Section 371.
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                     COUNT ONE HUNDRED THIRTY-SIX


THE GRAND JURY FURTHER CHARGES:
    1,   The allegations contained in paragraphs 1 through 136 of
count one of this indictment, as well as the allegations
contained in paragraphs 1 through 21 of count 135 of this
indictment are hereby repeated, realleged and incorporated by
reference as though fully set forth herein.
    2.   On or about April 26, 1996, in the Middle District of
Pennsylvania and elsewhere, the defendants MICHAEL L. SERAFINI
and LEO R. DEL SERRA did corruptly influence, obstruct and impede
and endeavor to influence, obstruct and impede the due
administration of justice in United States of America v. Carmen
Panella and Renato Mariani, No. 96-055 in the U.S. District Court
for the Eastern District of Pennsylvania by coercing a
prospective witness to sign a false and misleading statement
regarding the circumstances surrounding his contribution to the
Dole Committee.
   In violation of Title 18, United States Code, Section 1503
and 18 United States Code, Section 2.




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                    COUNT ONE HUNDRED TH!RTY-SEVEH


THE GRAND JIJ'RY FURTHER CHARGES:

    l.   The allegations contained in paragraphs l through 136 of
count one of this indictment, as well as the allegations
contained in paragraphs l··through 21 of count 135 of this
indictment are hereby repeated, realleged and incorporated by
reference as though fully set forth herein.
    2.   On or about April 26, 1996, in the Middle District of
Pennsylvania and elsewhere, the defendants MICHAEL L. SERAFINI
and LEO R. DEL SERRA did knowingly intimidate and attempt to
intimidate, corruptly persuade and attempt to corruptly persuade
and engage in misleading conduct toward a person whose identity
is known to the grand jury with the intent (l) to influence,
delay and prevent the testimony of that person in an official
proceeding; (2) to cause or induce that person to withhold
testimony from an official proceeding; and (3) to hinder, delay
or prevent the communication to a law enforcement officer of
information relating to the commission or possible commission of
a federal offense; the official proceeding being a federal grand
jury proceeding in the Middle District of Pennsylvania and a
pending case in the United States District Court for the Eastern
District of Pennsylvania entitled United States of America Y,
Carmen Danella and Renato Mariani, No 96 055, by coercing a
prospective witness to sign a false and misleading statement
regarding the circumstances surrounding his contribution to the

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        Dole Committee.
           In violation of Title 18, United States Code, Section 1512(b)
        and 18 United States Code, section 2.




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                    COUNT ONE HUNDRED THIRTY-EIGHT


THE GRAND JURY FURTHER CHARGES:

    1.   The allegations contained in paragraphs l through 136 of
count one of this indictment, as well as the allegations
contained in paragraphs 1 through 21 of count 135 of this
indictment are hereby repeated, realleged and incorporated by
reference as though fully set forth herein.
    2.   on or about May 3, 1996, in the Middle District of
Pennsylvania and elsewhere, the defendants MICHAEL L. SERAFINI
and LEO R, DEL SERRA did corruptly endeavor to influence,
obstruct and impede the due administration of justice in a
federal grand jury proceeding in the Middle District of
Pennsylvania by requesting two ind.ividuals whose identities are
known to the grand jury to submit phony invoices to Empire whi.ch
could thereafter be used by the defendants in the course of that
grand jury proceeding or any trials resulting therefrom to
legitimatize the Dole Committee contribution reimbursement checks
previously issued by Empire to those two individuals.
   In violation of Title 18, United States Code, Section 1503
and 18 United States Code, Section 2.




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                    COUNT ONE HUNDRED THIRTY-NINE



THE GRJ\.ND J'CIRY FURTHER CHARGES:

    1.   The allegations contained in paragraphs 1 through 136 of
count one of 1:.his indictment:. are hereby repeated, realleged and
incorporated by reference as though fully set forth herein.
    2.   On or about April 9, 1997, in the Middle District of
Pennsylvania, the defendant ROBERT GIGLIO while under oath and
testifying in a proceeding before Grand Jury
No. 95-1, a grand jury of the United States in the Middle
District of Pennsylvania, knowingly did make false material
declarations, that is to say:
    3.   At the time and place aforesaid, the grand jury was
conducting an investigation to determine whether violations of
Title 2, United States Code, Ssction 431, et seg;. ("the Campaign
Act:.") had bean committed, and to identify the persons who had
committed, caused the commission of, and conspired to commit such
violations.    !twas material to the said investigation that the
grand jury ascertain if ROBERT GIGLIO was reimbursed in any way
in connection with any political contributions he ever made or
whether he otherwise acted as a conduit or caused others to act
as conduits.
   4.    At the time and place alleged, ROBERT GIGLIO, appearing
as a witness under oath at a proceeding before the grand jury,
knowingly made the following declarations in response to



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questions with respect to the material matter alleged in
paragraph 3 as follows:

                    * * * * * * * * * * * * * *
   Q,     Well, let's start with the Dole campaign contribution,
          tell me the circumstances that led you to contribute to
          Senator Dole's campaign, how did it happen that you
          decided to contribute?
   A.     Michael asked me to make a donation to his campaign.
          He asked me to ask my sister, my mother, she was my
          fiance at the time, to have her, all three and myself
          write a check for the campaign.
   Q.    And did he tell you he would reimburse you?
   A.    No, he didn't.
   Q.    Did he reimburse you?
   A.    No. he didn't.
                    * * * * * * * * * * * * * *
   Q.    Now, the next, tell me about the next transa.ction where
         you made a contribution you said to Campaign '96, the
         person named Dunaine?
   A.    Yes.
   Q.    Tell us how that arose?
   A.    He asked me to do the same thing again.
   Q.    What did he say?
   A.    I have one more contribution I would like you to make.
         And I said well, what do you want me to do? He said
         just ask, I believe there is only two checks that are
         made to that one. Mine and it is either my wife or my
         mother's, I don't think there is three, there is only
         two.
   Q,    What did he ask you to do?
   A.    He asked me to make that contribution.
   Q.    Did you ask him who the heck Dunaine is and why am I
         contributing to this guy?

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A.     No, he just said he wanted to get his checks to
       somebody, to Campaign '96 is all he told me.

Q.     Did you even know what office the guy was running for?
A.     No, I didn't.

Q.     Do you even know today what office he ran for?
A.     Senate, yeah.
Q,     Senate?

A.     Senator, isn't it Senator?

Q.     Is it U.S. Senator, State Senator?
A.     I don't know.

Q.     Do you know what state he is from?
A.     Jersey.

Q.     New Jersey?

A.     Yeah.

Q.     How is it that you know that?
A.     Because I saw it.     They gave me a sticker now that I
       remember it.

Q.     Who gave you the sticker?

A.    Michael.

Q.     So how much money did you donate to Dunaine Senate            1
                                                                         96
       Campaign?

A.     I believe it is $2,000.

Q.    And the $2,000 was you for a thousand and your wife,
      you were already married at that time?
A.    No, I am, it is my girlfriend.

Q.    Your girlfriend. Okay. So it would be a thousand for
      you and a thousand for Ann Pompey?

A.    Right, or it could be my mother.
Q.    Dolores?
                               -53-
 Case 1:18-cr-00032-DLF Document 46-5 Filed 07/16/18 Page 55 of 73



A.     Dolores, I am not sure.
Q.     And did you have any discussion with Michael regarding
       reimbursement for this New Jersey Senate, Senate
       hopeful that you were now contributing $2,000 to?
A.     No.

Q.     He never mentioned to you that he would reimburse you?
A.     No.

Q.     And he never did reimburse you?
A,·    No.

Q.     Did anyone reimbu.rse you?
A.     !'i1.Q..

Q.     Did the corporation reimburse you?
A.     N.Q.



                  * *   * * * * * * * * * * * *

Q.     And you have never      reimbursed in your life for any
       contribution you have ever made?
A.     ll!.Q.

                  * * * * * * * * * * * * * *
Q.     And what do you remember being discussed, what did they
       say to you?
A.     They asked me about the donations, that's it, and I
       told them what I did.
Q.     The same thing that you told us here?
A.     Yeah.
Q.     That you made the donations at the request of Michael?
A.     Right.
Q.     And that you were not reimbursed.
A.     Ri9ht,
                               -54-
    Case 1:18-cr-00032-DLF Document 46-5 Filed 07/16/18 Page 56 of 73



   Q.     . . . by the corporation?
   A.     Right.
   Q.     And you weren't reimbursed by him personally?
   A,     Right.

                      * * * * * * * * *    *   * * *
   5.   The aforesaid underscored testimony of ROBERT GIGLIO as
he then and        well knew and believed, was false in that
Empire issued ROBERT GIGLIO a check on April 28, 1995 in the
amount of $4,000 which was signed by defendant MICHAEL L.
SERAFINI and which reimbursed him, his mother, his sister and his

girlfriend for their contributions to the Dole Committee and
Empire issued him another check on June 2, 1995 in the amount of
$3,500 which was signed by defendant MICHAEL L. SERAFINI and
which reimbursed him, his mother and his sister for their
contributions to the Duhaime Committee.
   In violation of Title 18, United States Code, Section 1623.




                                  -55-
     Case 1:18-cr-00032-DLF Document 46-5 Filed 07/16/18 Page 57 of 73



                         COUNT ONE HUNDRED [QE.IX


THE GR.AND JURY FURTHER CHARGES:
    l.   The allegations contained in paragraphs 1 through 136 of
count one of this indictment are hereby repeated, realleged and
incorporated by reference as though fully set forth herein.
    2.   On or about September 9, 1997, in the Middle District of
Pennsylvania, the defendant FRANK SERAFINI, while under oath and
testifying in a proceeding before Grand Jury 97-1, a grand jury
of the Uni.ted States of the Middle District of l?ennsyl vania,
knowingly did make false material declarations, that is to say:
    3.   At the time and place aforesaid, the grand jury was
conducting an investigation to determine whether violations of
Title 2, United States Code, Sections 431, et        .s!..§_g.   ("the Campaign
Act") had been committed, and to identify the persons who had
committed, caused the commission of, and conspired to commit such
violations.      It was material to the said investigation that the
grand jury ascertain if FRANK SERAFINI was reimbursed in any way
in connection with any political contributions he ever made, or
whether he otherwise acted as a conduit, or caused others to act
as conduits.
   4.    At the same time and place alleged, FRANK SERAF~N~,
appearing as a witness under oath at a proceeding before the
grand jury, knowingly made the following declarations in response
to questions with respect to the .material matter alleged in
paragraph   3   as follows:

                                   -56-
 Case 1:18-cr-00032-DLF Document 46-5 Filed 07/16/18 Page 58 of 73



                  * * * * * *   ~   * * * * * *
Q.     And did you bring any documents pursuant to the
       subpoena that required your appearance here today?
A.     I don't have the documents, I don't have documents with
       me but the subpoena, because the subpoena didn't
       require any. The way I read the subpoena, l have a
       copy of it, all documents relative to political
       contributions you were reimbursed for, and I was P.Qt
       :reimbursed for any contributions.

                   * * * * * * *    *   * * * * *
Q.     Well, then why wouldn't he reimburse you for your Dole
       contribution under the same rationale?
A.     Because I wanted to contribute to Bob Dole.
Q.     And you didn't want to fix his car?
A.     Not necessarily, would you?
Q.     I don't know.
A.     And $2,000 for a thousand dollar contribution.

Q.     $2,000 for what?

A.     $2,000

Q.     What was that last statement?
A.     $2,000 this check is for, if I see it correctly?

Q.     Right.
A.     And my check here is for a thousand dollar
       contribution?
Q.     Right. So you are saying you don't know what the other
       thousand dollars is for?
A.     I would not relate it to that, in my mind.
Q.     What would you relate?
A.     In my mind.
Q.     What would you relate it for?

                               -57-
 Case 1:18-cr-00032-DLF Document 46-5 Filed 07/16/18 Page 59 of 73



A.     To something else. whether it was fixing his car.
       whethe.;: it is something else. It could be something
       else and that's just what I am saying to you now,
       because when he asked me for a thousand dollar
       contribution I wrote a check for a thousand dollars, I
       found no problem with that, I was happy to be able to
       do it.                                      ·


                   * * * * * * * * * * * * *

Q.     Is there any check that you received •. that reimbursed
       you other than that $2,000 check for your contribution?
A.     No.
Q.     Is there another check that you are aware of that is
       connected to this investigation, to this Dole
       contribution, other than the $2,000?
A.     Not other than what you have shown me today, no,

                    * *   * * *   * * * * * * *

Q.     And you have no knowledge, as you sit here today, or is
       it accurate that as you sit here today you have no
       knowledge why Michael issued that check to you for
       $2,000.

A.     I still think the $2.ooo would have been just around
       the time that I was fixing his car, the transmission
       was gone, I was fixing it, it is just about that amount
       of money that would have paid for the repair. rt could.
       have been for a numt,er of things, but it certainly does
       not relate to me contributing to Bob Dole. I
       contribute quite frequently to candidates and those
       kind of amounts.

                  * * * * * * * * * * * * *

Q.     I am going to wrap this up. I want to make sure we are
      .absolutely on the same page here, there is no
       misunderstanding. It is your testimony under oath, as
       you sit here today; that as far as you're concerned, as
       far as you know, there is no connection between the
       check that you wrote to Dole for President dated April
       27 of '95 for $1,000, check 3781, and the check that
                                  -58-
     Case 1:18-cr-00032-DLF Document 46-5 Filed 07/16/18 Page 60 of 73



           you received from the Michael Serafini-Melinda Marcotte
           account dated April 25th of '95 for $2,000, it is your
           testimony that there is no connection between these two
           items:
    A.     In my mind I can honestly say that there is no
           connection between ~hose two checks, the thousand and
           the two thousand. In my, I mean in my mind I know I
           contributed to Bob Dole because I wanted to contribute
           to him without reimbursement. The $2,000, I truly
           believe I cashed that check and spent it to, for
           another reason, I am assuming it was when I was fixing
           his vehicle.
    Q.     Are you drawing any distinctions when you answer that
           question similar to the distinctions you drew when you
           were interviewed by Frank Schultz regarding whether or
           not people were hallucinating, or were a hundred
           percent incorrect that you were receiving a per ton fee
           from Empire landfill, are you drawing a similar kind of
           fine line distinction here?
    A.     Let me say this. When I am talk to Frank Schultz I am
           not under oath. Fra.nk Schultz questions me and I give
           him an answer. There is no fine line distinctions here
           as there was when, as there is when I talk to Frank
           Schultz. Frank Schultz is an entirely different
           person, he is not a U.S. Attorney.

                        * * * * * * * * * * * * *
    5.   The aforesaid underscored testimony of       FRANK SERAFINI,    as
he then and there well knew and believed, was false in that
(1) Defendant MICHAEL L. SERAFINI issued a check dated April 25,
19,gs. payable to   FRANK SERAFINI   in the amount of $2, ooo which was
subsequently negotiated on May 1, J.995 and which reimbu.rsed        FRANK

SERAFINI for his $1,000 contribution to the Dole Committee and
also reimbursed him for the expense of reimbursing Thomas
Harrison, his former legislative aide, $1,000 for a contribution
!homas Harrison made to the Dole Committee in the amount of



                                     -59-
..       Case 1:18-cr-00032-DLF Document 46-5 Filed 07/16/18 Page 61 of 73



     $1,000 which was solicited by FRANK SERAFINI and reimbursed by

     FRANK SERAFINI; and (2) There were at least two other checks

     connected to this transaction other than what was displayed
     during the grand jury proceeding, i.e., a $1,000 check dated
     April 27, 1995 drawn on the account of Thomas G. or Maureen         J".

     Harrison payable to the Dole Committee which was solicited and
     received by FRAN.K SERAFINI, and a $1,000 check dated Aprj.J. 27,
     1995 drawn on the account of Frank A. Serafini and Louis Serafini

     payable to cash which was used to reimburse Thomas Harrison for
     his Dole Committee contribution.
        In violation of Title 18, United States Code, Section 1623.

                                      A TRUE BILL:



     David M. Barasch                 Foreperson
     United States Atta



                                                /a    /7
                                                    /97
                                      Dated: --~~.--,.~------




                                       -60-
             Case 1:18-cr-00032-DLF Document 46-5 Filed 07/16/18 Page 62 of 73
  ' \
                           llNITED STATES DISTRICT COURT
                                      FOR THE
                         MIDDLE DIST.RI   OF PENNSYLVAl~IA
                        **MAILING CERTIFICATE OF CLERK**

Re:     3:97-cr-00225    USA v. Mariani


True and correct copies of the atta.ched were mailed by the clerk
to the following:

        Mark E. Cedrone, Esq.
        Carroll & Cedrone
        The Curtis Center, #750
        P.hiladelphia, PA 19l.06
        Howard B. Klein, Esq.
        1700 Market St.
        Suite 2632
        Philadelphia, PA 19103
        Robert E. Welsh JR., Esq.
        Welsh & Recker, P.C.
        Suite 3402
        181.8 Ma.rket St.
        Philadelphia, PA 19103
        Anna M Durbin, Esq.
        50 Rittenhouse Place
        Ardmore, PA 19003-2276
        Joseph D, Mancano, Esq.
        Britt, Hankins, Schaible     &   Maughan
        Two Penn Center Pla.za
        15th and JFK.Boulevard
        Suite 515
        Philadelphia, PA 19102
        Sal J. Cognetti Jr., Esq.
        Foley, Cognetti & Comerford
        700 Scranton Electric Building
        507 Linden Street
        Scranton, PA 18503 1666
                      Case 1:18-cr-00032-DLF Document 46-5 Filed 07/16/18 Page 63 of 73
 '   \   ~   I



         '   '   '.


CC;
,.Judge                  (             )
M.a,gistrate Judge
U.S. Marshs.1
Probation
U.S. Attorney
Atty. for Deft.          (
                                    I~/)
Defendant                (             )
warden                   (             )
Bureau of Prisons        (             )
Ct Reporter              (             )
Ctroom Deputy            (             )
Orig-Security            (             )
Feders.l Public Defender (             )
summons Issued           (             ) with N/C attached to complt. and ser\red by:
                                         U.S. Marshal ( )     Pl tf' s Attorney ( )
Standard Order 93-5
Order to Show Cause                        with Petition attached & mailed certified mail
                                           to: us Atty Gen     ( ) P.A Atty Gen ( )
                                                DA of County ( ) Respondents ( )
Bankruptcy Court
Other
             ----------                                                MARY               Clerk


     DATE:                                                       BY:
.:s   45 11/96)
                  Case 1:18-cr-00032-DLF Document 46-5 Filed 07/16/18 Page 64 of 73
 CRll('.ttfAL,CASE COVER SBEE'r                                 H+Dl!W DISTRICT                       or     PEN!fUl.Yl\HIA



Place of Offense,
City Taylor:, PA                                                                Related case Information, In Re: Gr:and Jur:y                     Mi~c. No.
                                                                                                                                                 95-98
County/Parish       Lackawanna                                                  superseding Indictment_ __                         Docket Num.ber~----
                                                                                Same Defendant_ _ _ __                             New Defendant.....,.----
                                                                                Magistrate Judge Case N u m b e r - - - - - - - - - - - -




                                                                                R 20/R 40 from District o f - - - - - - - - ~ - - ~



Defendant Info,:mation1
         Juvenile    _ _ _ Yea                                                  If Yea, Matter to be sealed:                      ___Yea


Defendant


Aliu Name


A<:l<:lreu
                       41 December Drive


                      Dunmore, PA 19512



Birthdate,_ _ _- _ _                                                                          sex---- Raoe, _ __                  Nationality·----~

AGENT•-----------~----

DEFlilNSE COUNSEL:     Hame,__M..;a..;r:..;k..;..;C..;e;.:;d;.:;r:;.:;o;.:;n;.:;e.....,......,......,._ _ _ _ _- -   Phone    215-925-2500

                                               9uite 750, The Cur:tis Center:, Independence Square West,
                       Addre••,~---------------------------------
                                               Philadelphia, PA 19106


U.S. Attol'Uey Information,
AUSA    BrUC8 D. Brandler



rnte,;preter      ___Yes          ....,.__No
              Case 1:18-cr-00032-DLF Document 46-5 Filed 07/16/18 Page 65 of 73
Location statua:                                                                                                      ' .\,




~        Already in Federal custody as of


          Already in State Cuetody
          on Pretrial         Release


U,S,C, Citation,                              _z;_   Indictmmnt                   lnfo1'111.at:i.on
~otal I of counts:
                                        134                          _   Petty   ~- Miedeameanor      ~- Felony


               Index lteyls:;s;is:111                Descriptign s;if offense Charged                      Countis>
                   18 USC 371                         Conspil:'acy                                         1
Sst 1

Set 2
                   18 USC 1001                        False Statements                                    10

Set 3
                   2 USC    4415                      Prohibited Cori;,orate Contribution                  2

Set       4
                   2 USC 441f                         Conduit Contributions                              1:21

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JS ,I~ (l/!il-6)




               Inde;,c Key/Code                      Deseription of Offense charged                        Countis>

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Set 6

Set 7

Set 8

Set 9

Set

Set ll

S@t 12

Set 13
J$     45 (1/96)
                                 Case 1:18-cr-00032-DLF Document 46-5 Filed 07/16/18 Page 66 of 73
-'<CR,,,1,.K,,'l,.t.,.IAL..,__,r,.A-s.,E_,.CO,._VE....,R.._,s.,n..,..l!l..'l',______M~t~De.,D,.LE..,_..,O.,.I.,.S:.,.11!...,,..lC,eT"-"O"-''/!'_,_.l;'..mm....,.,s""n.....,_v.,AN,,_I..,A"-----"'l.!.,_,.,_s.,_._,DISTRIC:X: COURT



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Place of Offanaa:
City_ _ _Tay
          __   __
             lot:' PA_ _ _ _ _ _ __
                                                                                                     Related case Information:                                         In Re: Gt:and Jury Misc. No.
                                                                                                                                                                                            95-98
                    Lackawanna
County /Par,ieh._ _ _ _ _ _ _ _ _ __                                                                 Superseding Indictment _ __                                             Docket Number _ _ __
                                                                                                     same Defendant_ _ _ __                                                  New Defendant._ _ _ __
                                                                                                     Magistrate Judge case

                                                                                                     search Warrant Case Number_ _ _ _ _ _ _ _ _ _ _ __

                                                                                                     R ~0/R 40 from District of



Defendant Information:
      Juv•nila _ _ _Ya11                                                                             lf Yea, Matter to be sealed:                                            ___Yea

Defendant Name, ____~M~1~·c~h~a~e~l,,._,I~.......s~~~t~~~f~-iun~j..__,__________________________



                                        2209 Summit Point Drive
Address

                                        Scranton, PA 18508


                                                         ss #-_ _ _ _ _ _ _ __
Birthdate,_-'-----                                                                                                 S e x - - - - Race _ _ _ Nationality_~---
AGENT: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


DEFENSE COUNSEI.,                          Na.me.....;H;;.o;.;w;;.;a;;;;r:;.;d;;...;K;;;,lccecciccn.c.__________                                Phone         215-564-4060

                                           Addraaa Suite 2632, 1700 Market St., Philadelphia, PA                                                                            19103


u.s. Attoi:'11.ey Information:
AUSA.____B_tu_c_e_D_._B_r_a_n_d_l_e_r__________                                                                                   Bar # _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



Interpreter                    -~-Yes                  ___No                          List Languaga and/or D i a l e c t : ~ - - - - - - - - - - - - ~


Location Stat11e:

Arrest

         Already in Federal custody as o f - - - - - - - -                                                                          in-----------------~
         Already in State custody
         on Pretrial Releas@
U.s.c. Citations                                          xx      Indi~tment                  Information
                                Case 1:18-cr-00032-DLF
                                            138        Document 46-5 Filed 07/16/18 Page 67 of 73
Total# of.C,:n.mt•:                                                            __ Petty      __ Miedeameanor         F@lon,·
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Set 2                                                                  False Statements
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                                                               (May be continued on reveree)


Qate     :_,,._/_i.,_/..:7.../_c;..1..?__________
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JS 45 {]~



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                             2 T.JSC 44]li                             Prohibited Corporate contributions        2
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                            2   USC 44lf                               Conduit Contributions                   121
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                    Case 1:18-cr-00032-DLF Document 46-5 Filed 07/16/18 Page 68 of 73
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Place of Offenne,
            Taylor, PA
CitY--------------~                                      Related Casa Information, IN RE: Grand Jury Misc. No.
                                                                                                                    95-98
County/Pariah       Lackawanna                           Superseding Indictment._ __            Docket Nwnber _ _~~­
                                                         Same Defendant_ _ _ __        New Defendant._~~--
                                                         Magistrate 3udge case Nwnber ____________




                                                         R 20/R 40 from District        of-----------~


Defendant Information,
                      _ _ _Yes        _X _No                                                                    __
                                                                                                                 x_No
         Juvenile


Defendant                   Leo R. Del Serra

                            731 Second St.
Alias Name

                            West Pittston, PA 18643
Addr"s"




Birthdate_ _ _ _ __                                            Sex - - - - Race, _ __           Nationality_ _ _ __
                               ss ' - - - - - - - -
AGENT,
         -------~---------                          'f



DEFENSE COUIIISEI.1
                                    Rober:t Welsh
                       Na.me,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                    k       215-972-6430
                                                                                P"one._ _ _ _ _ _.,..."'"-------


                       Addrass, _ _._1_s_1_8_M_ar_k_e_t_S_t_._,_s_u_i_te_3_4_0_2_,_P_h_i_l_a_ae_l~p~h-i_a_,_P_A_l_9_10_3_____~




u.s.   Attorney Information:
AUSA   Bruce D. Brandler                                               Bar'-----------------


lnterpreter       ___ Yes    ~No               Liat Languag• and/or D i a l • c t • ~ - ~ - - ~ ~ ~ ~ - - - - ~
                 Case 1:18-cr-00032-DLF Document 46-5 Filed 07/16/18 Page 69 of 73
i:.oca;t.ion Status:

                                                                                           '"


~- Already in Federal custody as of                           in


      Already in State Custody
      on Pretrial Release

u.s.c.    Citation•                 ~   Indictment                   Information
                               78                     __ Petty      __ Miedeamean~r   __ Felony
~otal # of Couuta:


          Index Eer/Code                Description of offense Cha:r.:s111d                Count ts:>

Set l        18 USC 371

Set 2        18   use   1001              Ea)se staterneots
Set 3        2 use 441 f                  CoodJlit ContribJ1tiocs

Set 4

                                    (May be continued on reverse)




Di~trict Coux-t case Humber(~<> be filled in by deputy c l e r k > : ~ - - ~ - - - - - - - - - - - ~


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                                      Case 1:18-cr-00032-DLF Document 46-5 I Filed 07/16/18 Page 70 of 73
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  Plac~ of Offense%
  City            Taylor, PA                                                                                    Related Case Information:                                            in RE: Grand Jur:y Mis. No.
                                                                                                                                                                                                                            95-98
  county/Parish___L_a_c_k_a_w_a_nn_a____                                                                        Superseding Indiotment~-- oooket Number
                                                                                                                same Defendant_ _ _ _         New Defendant_ _~ - -      ~
                                                                                                                                                                                                                                -----
                                                                                                                Magistrate Judge case Number ____________




                                                                                                                R 20/R 40 from Dietriot o f - - - - - - - - - - - ~


  Defendant lnformation1
                                                                              X
                  Juvenile                  _ _ _ Ya8                         ___No                             If Yes, Matter to be sealed:                                                  ___Yes                          __
                                                                                                                                                                                                                               x_No

  Defendant Name _ _ _R_O_B~E_R_T_G_I_G_L_I_o___________________________~

  Alias Nam@


  Address
                                                  210 Taylor St

                                                    Old Forge, PA 18518



  Birthdate_ _ _ _ __                                            ss      # _ _ _ _ _ _ __                                       Sex _ _ __                        Race._ _ _ Nationality______

  AGENT'-----------------
  DEFl!NSB COIJNSl!il.1                                   10
                                                 Name___,.......,ase,..p;,,hLJ...JMcufl:1JOUJCi..,a:1JOcoO-"--------

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                                                 Address, __
                                                                         Philadelphia, PA 19102

  U.S. Attorn"Y Information,
               Bruce D. Brandler
  AUSA__________~ ~ ~ ~ - - - - - - - ~                                                                                                        Bar'----------------~


  Interpreter                       ~~-Yes                    ___No                             Li•t Language and/or D i a l e c t • ~ - ~ - - - - - - - - - - ~

  Location Status:


  Arrest Date----------~-

  __ Already in Federal Custody as of                                                                                                             in-----------------~

  __ Already in State Custody
     On Pretrial Release
u.s.c. Citations                               xx                                Infot'11iation
                        Case 1:18-cr-00032-DLF
                                 l            rndtctment
                                                Document 46-5 Filed 07/16/18 Page 71 of 73
Total.# qf .counts:                                      · - Petty   __ Hiadeameanor       hi.any

          Ind,x Key;l Code                          Des r.:-t.ion of Offense Charned                        c,n>.ntu,)

Set 1                18 USC 1623                        False statements before arand 1ui:y
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Date, _                                                   signatur• of   AUSAI   /-"· .,/~:..-r...t_
JS~(I~



District court Ca~e Ntllllber (To be fille•• in by deputy clerk):


          Indtit)t   K.ey_LCode                     Des '-'-t<on of Offense Char,.,ed                       Cgu,n,t{;)

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                          Case 1:18-cr-00032-DLF Document 46-5 Filed 07/16/18 Page 72 of 73
                                               MI                    SYLVANIA
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                                                                                     11 S, \)IS'rRICT
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       Scranton, l?A
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                           Lackawanna                                                                         95-98
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                                                                   Same Defendant _ _~~­      New Defendant_ _ _ __
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De f en~ant
           A       N                 Frank Serafini
                        a.me ____________                    .J..-------~-------------------
Alias Name

Address
                                  603 Main     st.
                                  Moosic PA 18507



·Birthdate,___~ - -                                                         Sex                                 Nationality_ _ _ __
AGENT•----~----~------'-

DEFENSE COUNSEL1               ......,________
                                       Sal Cognetti
                                                    --J--------~                                        717-346-0745
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                             EXHIBIT F:
Indictment from United States v. Turner, Criminal Action No. 06-00026-CKK (D.D.C.)



              Defendant Concord Management and Consulting LLC’s
                        Motion to Dismiss the Indictment
               United States v. Internet Research Agency LLC, et al.,
                       Criminal Action No. 18-00032-DLF
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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
                                            Indictment No.

v.                                          VIOLATIONS:

                                            18   u.s.c.   § 371
PETER R. TURNER,                            (Conspiracy)

LATANYA ANDREWS, and                        18   u.s.c.   §   201
                                            (Bribery)
THELMA LEONARD,
          Defendants.                       18   u.s.c.   §   201
                                            (Bribery)



THE GRAND JURY CHARGES THAT:

                                 COUNT ONE

                  CONSPIRACY (18 U.S.C. § 371)
 Defendants Peter R. Turner, LaTanya Andrews, and Thelma Leonard

                                INTRODUCTION

     At all times relevant to this indictment:

     1.   Defendant LATANYA ANDREWS was an employee of the

Department of Veterans Aff        rs Medi         Center (DVAMC), located in

the District of Columbia.       Defendant LATANYA ANDREWS was employed

as a Payroll Technician in the human resources office of

DVAMC.    Defendant LATANYA ANDREWS's duties included accessing

personnel paperwork and records concerning employees of the DVAMC

kept and maintained in official personnel files located in the

human resources office of the DVAMC.

     2.    Defendant PETER R. TURNER was a volunteer driver for the

DVAMC, and a personal associate of defendant ANDREWS.               Defendant
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PETER R. TURNER was not authorized to access the                 fici

personnel files of DVAMC employees.

       3.   Defendant THELMA LEONARD was a personal associate of

  fendant PETER R. TURNER.

       4.   The FEGLI program is a group term life-insurance program

est     ished by the government              the     ted States to provide

term life insurance coverage for active federal employees.                    The

program is operated by the Office of Personnel Management (OPM},

a department and agency of the United States, located in the

District of Columbia.        At all times relevant to            s indictment,

OPM had designated a private corporation as                   insurance carrier

for the FEGLI program (the "Insurance Carrier")                 The employee

premiums necessary to participate                  the FEGLI program are pa

in part by OPM and          part by the employee.         A participating

employee who does not wish li            insurance benefits to be paid in

the order of precedence established by the FEGLI program and

applicable law may instead file a Designation of Beneficiary

form, known as an SF 2823, designating intended beneficiaries and

      percentage of life insurance benefits to be paid to each upon

the death of the employee.          Employees          the DVAMC who elect          to

participate in the FEGLI program were required to file any

Designat       of Beneficiary forms in the human resources               fice of

the DVAMC.




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        5.   VM was a licensed practic             nurse employed by the DVAMC.

As an active employee of              federal government, VM participated

in the FEGLI program.         From approximately 1998 to 2000, VM was

the girlf      end of defendant PETER R. TURNER.

        6.   On or about December 8, 2000, while still an act

employee of the DVAMC and while insured under the FEGLI program,

VM suffered a stroke             was hospitalized; shortly thereafter           VM

lapsed into a coma.         VM died on or about December 22, 2000.

                                 THE CONSPIRACY

        7.   From on or about December 8, 2000 through on or about

January 10, 2006 and continuing in the District of Columb                      and

elsewhere,        fendants PETER R. TURNER, LATANYA ANDREWS and THELMA

LEONARD, together with others, did combine, conspire,

confederate, agree, and have a tacit understanding:

        a.   to knowingly and will            ly    fraud the United States by

impairing, impeding,             de     ing the lawful functions and

duties of the OPM and the FEGLI program;

        b.   to commit an offense against the United States, that is,

to use and cause the use of               mails in furtherance and in

execution of a scheme and artifice to defraud and to obtain money

and property by means of materially                  se and fraudulent

pretenses, in violation of            tle 18, United States Code, Section

1341;




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        c.   to commit an offense against the Unit             States, that is,

to      rectly and indirectly, corruptly demand,           seek, receive,

accept, and agree to receive and accept a thing of value

personally, that is, payment from defendant PETER R. TURNER to

defendant LATANYA ANDREWS in the amount of approximately $1,000,

in return for defendant LATANYA ANDREWS, being a public official,

being influenced in the performance of official acts and being

influenced to commit and aid in committing, and collude                   , and

     low, a fraud on the Unit         States, that is, the placement of a

fraudulent FEGLI Designation of Beneficiary form, known as an SF

2823,        the official personnel file of VM, in violation of                tle

18, Uni        States Code, Section 201 (b) (2) (A)       and (B) ; and

        d.   to commit an offense against the United States, that is,

to directly and indirectly, corruptly give, of                 , and promise a

thing of value, that is, payment from defendant PETER R. TURNER

to defendant LATANYA ANDREWS in the amount of approximately

$1,000, with intent to influence the performance of official acts

and to influence defendant LATANYA ANDREWS, being a public

official, to commit and aid in committing, and collude in, and

allow, a fraud on the United States, that is,              the placement of a

fraudulent FEGLI Designation of Beneficiary form, known as an SF

2823, in the official personnel fi              of VM,   in violation of Title

18, United States Code, Section 201 (b) (1) (A) and (B).




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                         OBJECTS OF THE CONSPIRACY

     8.    It was the object of the conspiracy for defendants PETER

R. TURNER, LATANYA ANDREWS and THELMA LEONARD, together with

others, to obt        n money and property under false and fraudulent

    enses from the FEGLI program.           It was also an object of the

conspiracy for defendant PETER R. TURNER to make payments to

defendants LATANYA ANDREWS and THELMA LEONARD after obtaining

money and property under false and fraudulent pretenses from the

FEGLI program.        It was also an object of the conspiracy to

conceal the conspiracy itself and the acts committed in

furtherance thereof.

                  MANNER AND MEANS OF THE CONSPIRACY

     The conspiracy was accomplished through the following manner

    means:

     9.    It was a part of the conspiracy that Defendant PETER R.

TURNER would and did falsely and fraudulently designate himself

as a beneficiary entitled to receive fifty (50) percent of VM's

life insurance benefit on a FEGLI Designation of Beneficiary

form, known as an SF 2823.

     10.     It was            a part       the conspiracy that defendant

PETER R. TURNER would and did cause to be forged the signatures

of VM and an authorized official            the human resources office of

the DVAMC on the Designation of Beneficiary form.




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     11.   It was further a part           the conspiracy that defendant

THELMA LEONARD would and did sign the Designation of Benefici

form as a witness to VM's signature without in truth and in fact

witnessing VM sign the form.

     12.   It was further a part of the conspiracy that defendant

LATANYA ANDREWS would and did use her position and authority as a

payroll technician within the human resources office of the DVAMC

to cause the fraudulent Designation of Beneficiary form to be

placed     the official personnel file of VM.

     13.   It was further a part of the conspiracy that,                    lowing

VM's death, defendant PETER R. TURNER would and did submit a

false claim for fifty (50) percent of the total FEGLI life

insurance benefit that was due and owing to VM's beneficiaries.

     14.   It was further a part           the conspiracy that defendant

PETER R. TURNER would and did issue a check from a money market

account established by the Insurance Carrier payable to defendant

LATANYA ANDREWS.

     15.   It was further a part of the conspiracy that defendant

PETER R. TURNER would and did issue a check from his checking

account payable to defendant THELMA LEONARD's spouse, now

deceased, for the benefit of defendant LEONARD.

     16.   It was further a part of the conspiracy that the

conspirators would and did take steps to hide and conceal their

role in the conspiracy and the fraudulent claim for life


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insurance benefits by, among other methods, threatening witnesses

and providing false statements to federal investigators and the

Grand Jury.

                                 OVERT ACTS

     Defendants PETER R. TURNER, LATANYA ANDREWS, and THELMA

LEONARD, together with others, committed the following overt

acts, among others,        the District of Columbia and elsewhere, in

furtherance of the conspiracy:

     17.    Between on or about December 8, 2000, and in or about

January, 2001, defendant PETER R. TURNER caused the signatures of

VM and an authoriz       agency official from the human resources

office oft       DVAMC to be forged on a Designation of Beneficiary

form cont     ning VM's personal information.

     18.    Between on or about December 8, 2000, and in or about

January, 2001, defendant LATANYA ANDREWS caused the fraudulent

Designation of Beneficiary form to be            aced in VM's offic

personnel file located         the human resources office of the

DVAMC.

     19.    On or about January 10, 2001, defendant PETER R. TURNER

provided to the human resources office of the DVAMC an offici

claim form, which was necessary to assert a claim for payment of

benefits under the FEGLI program.

     20.    In or about January, 2001,          fendant PETER R. TURNER

caused the fraudulent Designation of Beneficiary form to be sent


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and delivered by private and commercial interstate carrier from

the Dist   ct of Columbia to the FEGLI process              center located

in the State of New York.

     21.   On or about January 20, 2001, the Insurance Carrier

issued a Total Control Account checkbook to defendant PETER R.

TURNER, which allowed defendant PETER R. TURNER to access

approximately $20,500 in a money market account established by

the Insurance Carrier in payment of             fendant PETER R. TURNER 1 s

fraudulent insurance claim.

     22.   On or about February 1, 2001, defendant PETER R. TURNER

issued      first check from the Total Control Account checkbook

in the amount of $1,000, payable to defendant LATANYA ANDREWS,

which defendant LATANYA ANDREWS              sented to a financial

institution for cash on or about February 7, 2001.

     23.   On or about July 16, 2002, defendant PETER R. TURNER

issued a check from his personal checking account in the amount

of $1,000 to     fendant THELMA LEONARD 1 s spouse, now deceased.

Defendant THELMA LEONARD'S spouse deposited that check in a

checking account held jointly with defendant THELMA LEONARD.

     24.   On or about October 20, 2004, in the Dist             ct of

Columbia, as part of an offici             investigation being conducted by

the Offices of Inspector General               the Department of Veterans

Affairs (VA) and OPM, defendant THELMA LEONARD was interviewed by

agents from the VA and OPM.        Defendant THELMA LEONARD provided a


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voluntary statement.     In her interview, defendant THELMA LEONARD

provided false and misleading information, that is, that VM was

present when defendant THELMA LEONARD signed the Designation of

Beneficiary form as a signature witness.

     25.   On or about July 26, 2005, in the District of Columbia,

as part of the investigation being conducted by the grand jury,

Defendant THELMA LEONARD provided testimony to the grand jury.

In her testimony, defendant THELMA LEONARD provided false and

misleading information, that is, that VM was present when

defendant THELMA LEONARD signed the Designation of Beneficiary

form as a signature witness.

     26.   On or about November 22, 2005, in the District of

Columbia, as part of an official investigation being conducted by

the Offices of Inspector General for the VA and OPM, defendant

LATANYA ANDREWS was interviewed by agents from the VA.             Defendant

LATANYA ANDREWS provided a voluntary statement.           In her

interview, defendant LATANYA ANDREWS concealed her role in

accepting payment in exchange for causing the fraudulent

Designation of Beneficiary form to be placed in the official

personnel file of VM, and provided false and misleading

information, that is, that the check she received from defendant

PETER R. TURNER was a loan that she repaid in February, 2001.

     27.   In or about January, 2006, in the District of Columbia,

Defendant PETER R. TURNER confronted a witness in the


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investigation               grand jury.    Defendant PETER R. TURNER

stated to         witness words to the effect that he was                   ed

about the invest               and, in the old days, would            gone

home to get his

        All in       at      of Title 18, United States

Section 371.

                                   COUNT TWO

                          Bribery (18 U.S.C. § 201)
                          Defendant LaTanya Andrews


        28.   The allegations conta          in Paragraphs 1 through 27 of

this Indictment are reall            as though fully set forth              in.

        29.   On or about             1, 2001, in the District of

Columbia and elsewhere, defendant

                               LATANYA ANDREWS,

  ing a public official,              rect     and indirectly, corrupt

demand, seek, receive, ac             and agree to receive and ac                 a

         of value personally,             is, payment in the amount of

approximately $1,000 from de                  PETER R. TURNER, in return

         ing influenced in the                    of official acts and

         influenced to commit, and aid          committing, and collude

in, and allow a fraud on the Uni             States, that is, causing a

          ent FEGLI Designation of Bene£         iary form, known as an SF

2823,    to      placed in the official personnel file of VM.




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     All in violation of         tle 18, United States Code, Sections

201 (b) (2) (A) and (B}.

                                 COUNT THREE

                          BRIBERY (18 U.S.C. § 201)
                          Defendant Peter R. Turner

     30.     The allegations contained in                    1 through 27

and Paragraph 29 of this I         ctment are reall          as though

set forth           in.

     31.     On or about February 1, 2001, in the District of

Columbia and elsewhere, de

                              PETER R. TURNER

did direct      and indirectly, corruptly give, of            , and promise a

thing of              that is, payment in the amount of approximate

$1,000, to      f          LATANYA ANDREWS, being a public official,

with intent to influence the performance of official acts and to

influence such official to commit and aid in committing, and

collude in, and allow, a fraud on              United States, that is,

causing a f                FEGLI Des        ion of Beneficiary form, known

as an SF 2823, to be placed in the official personnel file of VM.




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       All in        ation of Title 18, Unit         States Code, Sections

20l(b) (1) (A)        (B).

                                      A TRUE BILL




                                      FOREPERSON


                         DATED:

Pre          by:

ANDREW LOURIE

                   ty Section




DANIEL A. PETALAS
ANN C. BRICKLEY
Trial Attorneys
Public Integrity Section
       1 Division
                 of Justice
10th Street and Constitution Ave. NW
        on, D. C. 2 O5 3 O
(202) 514 1412
(202) 514 3003 (facsimile)




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                     EXHIBIT G:
          Information from United States v. Mathis-Gardner,
             Criminal Action No. 11-00100-RJL (D.D.C.)



       Defendant Concord Management and Consulting LLC’s
                 Motion to Dismiss the Indictment
        United States v. Internet Research Agency LLC, et al.,
                Criminal Action No. 18-00032-DLF
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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      )       Criminal No.:
                                              )
                                              )       Filed:
        V.                                    )
                                              )       Violations:
                                              )       18 U.S.C. § 371
DARLENE MATHIS-GARDNER,                       )       Conspiracy to Defraud the United States
                                              )
                                              )       18 U.S.C. § 287
                       Defendant.             )       Making of False Claims Upon the United
                                              )         States
________________                              )

                                         INFORMATION


       THE UNITED STATES, ACTING THROUGH ITS ATTORNEYS, CHARGES:


       1.       For the purposes of this Information, the "relevant period" is that period from in

or about March 2007 until at least in or about January 2009. During the relevant period, Darlene

MATHIS-GARDNER ("MATHIS-GARDNER" or "defendant") was the founder and president

of Company A, a corporation with its principal place of business in Washington, D.C., that held

itself out as a provider of interior design and furnishing services for commercial and government

clients. During March 2007 to in or about August 2008, Company A was a Maryland

corporation. During in or about August 2008 through the remainder of the relevant period,

Company A was a District of Columbia corporation.

       2.       As Company A's president, MATHIS-GARDNER pursued new business for

Company A from government clients. In or around December 2006, MATHIS-GARDNER

learned of a contract to be let by the United States General Services Administration ("GSA") for
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certain interior design and project management services. Over the next several months, she

learned that the project involved a headquarters building being renovated for Immigration and

Customs Enforcement ("ICE"), Department of Homeland Security. Upon award, the contract

was identified by GSA as Contract No. GS-29F-T0003. The building was known as "Potomac

Center North" ("PCN") and was located at 500 12th Street, SW, Washington, D.C. The GSA

contract for the PCN interior design and project management services is referred to hereinafter as

the "PCN contract."

       3.      During the relevant period, MATHIS-GARDNER retained Person A, a person

with experience in retail store management, as a consultant to assist MATHIS-GARDNER in

preparing a response to the RFQ (request for quotes) for the PCN contract, and to manage the

project if awarded.

       4.      As a result of the charged offenses, ICE suffered a loss of $389,738.

       5.      Whenever this Information refers to any act, deed, or transaction of any company,

it means that the company engaged in the act, deed, or transaction by or through its officers,

directors, employees, agents or other representatives while they were actively engaged in the

management, direction, control, or transaction of its business or affairs. Various individuals not

made defendants in this Information participated as co-conspirators in the conspiracy charged in

Count One herein and performed acts and made statements in furtherance thereof.

                                           COUNT ONE
                                           18 u.s.c. § 371
                                            (Conspiracy)

       Paragraphs 1 through 5 of this Information are incorporated by reference as if fully stated

herein, and the following is further alleged:


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       6.       Beginning in or about March 2007 and continuing until in or about June 2007, in

the District of Columbia and elsewhere, defendant,

                               DARLENE MATHIS-GARDNER,

did knowingly and unlawfully combine, conspire, confederate, and agree with other persons, both

known and unknown to the United States, to defraud the United States by providing false and

fraudulent information, documents, and representations to GSA in order to obtain the

approximately $1.3 million PCN contract.

                           THE CONSPIRACY AND ITS OBJECTS

       7.       The charged conspiracy consisted of a continuing agreement, understanding, and

concert of action among the defendant and her co-conspirators, the substantial terms of which

were to obtain through fraud and deceit an award of the PCN contract.

                      MANNER AND MEANS OF THE CONSPIRACY

       It was a part of the conspiracy that MATHIS-GARDNER, Company A, Person A, and

others would, among other things, do the following:

       8.       Knowingly and willfully provide to GSA, as part of Company A's bid proposal for

the PCN contract, false and fraudulent information, documents, and representations regarding the

background and qualifications of persons Company A had retained to perform work under the

PCN contract;

       9.       Knowingly and willfully provide to GSA as part of Company A's bid proposal for

the PCN contract, false and fraudulent information, documents, and representations regarding past

performance by Company A on other interior design projects and amounts paid to Company A for

such performance; and


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       10.     Knowingly and willfully create and submit fictitious invoices to GSA purporting to

document Company A's past performance on projects similar to the PCN contract in their size and

scope and the amounts paid by government and commercial clients for such projects, to justify

Company A's bid proposal for the PCN contract.

                                         OVERT ACTS

       In furtherance of the conspiracy and in order to accomplish its objects, the following

overt acts, among others, were committed by defendant and her co-conspirators in the District of

Columbia and elsewhere:

       11.    In or about April 2007, MATHIS-GARDNER and Person A prepared a written

supplement to Company A's proposal for the PCN contract that falsely overstated the background

and qualifications of Company A to perform the PCN contract. Among other false and fraudulent

information, the supplement represented that certain individuals had worked for Company A for

years although some in fact had never worked there and others had worked there for less than the

duration claimed. The supplement also represented that certain employees had particular security

clearances and professional certifications when they did not. MATHIS-GARDNER arranged for

the submission of the supplement to GSA in support of Company A's bid proposal.

       12.     In or about May 2007, MATHIS-GARDNER prepared and faxed written

instructions to Person A that explained how to create fictitious invoices that were supposed to

reflect Company A's past performance to GSA. MATHIS-GARDNER's instructions provided

customer names, task descriptions, employee names, labor rates, and dollar values for Person A to

use in creating the fictitious invoices with Company A's logo.

       13.     In or about May 2007, Person A created several false invoices on a computer as


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directed by MATHIS-GARDNER. For example, Person A created a false invoice purporting to

reflect approximately $1.25 million in work by Company A for Fannie Mae that had never been

done. While Company A had a contractual relationship with Fannie Mae, no work had been

ordered or performed under that arrangement. Person A also created a false invoice purporting to

reflect approximately $1.1 million in work for the District of Columbia Department of Parks and

Recreation, which contained false labor categories, task descriptions, and hourly rates for

Company A's performance under the contract, falsely identified Company A as a prime contractor

on the project when it had been a subcontractor, and substantially overstated the total amount that

Company A had billed for its services on the contract. MATHIS-GARDNER arranged for copies

of the false invoices to be transmitted to GSA.

        14.    In or about June 2007, based on the false and fraudulent information, documents,

and representations that MATHIS-GARDNER had submitted, GSA awarded to Company A a

prime contract for the PCN interior design and project management work with a total value of

approximately $1.3 million.

   ALL IN VIOLATION OF SECTION 371 OF TITLE 18 OF THE UNITED STATES CODE.



                                           COUNT TWO
                                           18 u.s.c. § 287
                                         (False Claims Act)

       Paragraphs 1 through 5 of this Information are incorporated by reference as if fully stated

herein, and the following is further alleged:

       15.     As Company A's president, defendant exercised management authority over the

invoices that Company A submitted between June 2007 and January 2009 for its work under the


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           Case
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  PCN Contract. During that time period, in the District of Columbia and elsewhere, defendant,

                                 DARLENE MATHIS-GARDNER,

  made and presented to GSA, being a department or agency of the United States, false and

  fraudulent claims, knowing such claims to be false and fraudulent in that they materially

  overstated the number of hours of work performed by Company A's personnel. Among the false

  and fraudulent claims that defendant made and presented were the following invoices for

  Company A's work on the PCN Contract:

  March 18, 2008         Invoice for period November 1, 2007 to November 30, 2007

  March 18, 2008         Invoice for period December 1, 2007 to December 31, 2007


  ALL IN VIOLATION OF SECTION 287 OF TITLE 18 OF THE UNITED STATES CODE.




 ( CHRISTINE A. VARNEY                                  LISM.PlfELAN
   Assistant Attorney General                           Chief

. fAntitrust Division
    nit.ed States Department of Justice
                                                        National Criminal Enforcement Section
                                                        Antitrust Division
                                                        United States Department of Justice

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                              EXHIBIT H:
Indictment from United States v. Kanchanalak, Criminal Action No. 98-00241-PLF (D.D.C.)



                Defendant Concord Management and Consulting LLC’s
                          Motion to Dismiss the Indictment
                 United States v. Internet Research Agency LLC, et al.,
                         Criminal Action No. 18-00032-DLF
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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

                        Holding a Criminal Term
                Grand Jury Sworn in on December 8, 1995

 UNITED STATES OF AMERICA                CRIMINAL NO.: 98-0241 PLF

           V.                            VIOLATIONS:
                                         18 U.S.C. § 371 (Conspiracy);
 PORNPIMOL "PAULINE"                     18 U.S.C. § 1001 (False
 KANCHANALAK (aka PORNPIMOL              Statements); 2 U.S.C. §§ 441b,
 PARICHATTKUL) and DUANGNET              441e & 437g (d) (1) (A) (Corporate
 "GEORGIE" KRONENBERG                    and Foreign National
                                         Contributions, in Criminal
                                         Violation     of     the  Federal
                                         Election Campaign Act);         18
FRIEDMAN, J. PLF                         U.S.C. § 2(b) (Causing an Act
                                         to Be Done)

B                        SUPERSEDING INDICTMENT
                                                          FILED IN OPEN COURT
      The Grand Jury charges:                                   NOV 1 3 1998
                                COUNT ONE                , D1S'fRICT COURT
                                                        tCT OF COLUMBIA
    CONSPIRACY TO IMPAIR AND IMPEDE THE LAWFUL FUNCTION OF THE
                    FEDERAL ELECTION COMMISSION

                        Introductory Allegations

      1.   Between on or about August 30,         1993,   and on or about

 December 31, 1996, Ban Chang International (USA), Inc.         ("BCI USA")

 was a corporation organized under the laws of the Cayman Islands

 with offices located in the Washington Harbour office complex, 3000

 and 3050 K Street, N.W., Washington, D.C.        BCI USA was affiliated

 with Ban Chang International (Thailand), Ltd.        ("BCI Thailand"), a

 corporation organized under the laws of the Kingdom of Thailand.

      2.   Defendant PORNPIMOL "PAULINE" KANCHANALAK (aka PORNPIMOL

 PARICHATTKUL) was a director, 30 percent shareholder, and President



                               SUPERSEDING                                     I~
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of BC! USA.

        3.      Defendant DUANGNET KRONENBERG was the Secretary of BC!

USA.     Defendant KRONENBERG also held herself out to the public as

the Vice President of Operations of BC! USA.             Defendant KRONENBERG

is     the     sister    of   Chupong   Kanchanalak   (also      known   as   Jeb
Kanchanalak) ,       who is married to defendant         PAULINE KANCHANALAK.

Thus,        defendant   DUANGNET   KRONENBERG   is   the    sister-in-law     of
defendant PAULINE KANCHANALAK.

        4.      Praitun Kanchanalak,     an unindicted coconspirator with

respect to the conspiracy charged in this Count, is the mother of

defendant DUANGNET KRONENBERG and the mother-in-law of defendant

PAULINE KANCHANALAK.          At all times material to this Count, Praitun

Kanchanalak was not a shareholder, officer, director, employee or

creditor of BC! USA or of any entity affiliated with BC! USA, nor

did Praitun Kanchanalak perform any consulting or other services

for BC! USA or for any entity affiliated with BC! USA.

        5.      Jeb Kanchanalak, an unindicted coconspirator with respect
to the conspiracy charged in this Count, was a director, 20 percent

shareholder, and Vice President of BC! USA, and was the Managing
Director and/or President of BC! Thailand.

        6.      Between on or about November 16,         1993,   and continuing

through at least July 1, 1996, AEGIS Capital Management Limited

("AEGIS") was a corporation organized under the laws of Hong Kong

with offices located in the Washington Harbour office complex, 3050

K Street, N. W. , Washington, D. C.       Defendant PAULINE KANCHANALAK was

one of        two   "Directors"   of AEGIS.   AEGIS' s    other Director was


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Supharb   Parichattkul,         defendant      PAULINE    KANCHANALAK's      mother.
Defendant DUANGNET KRONENBERG was the Secretary of AEGIS.

     7.    At all times material to this Count, defendant DUANGNET
KRONENBERG    and     Praitun    Kanchanalak     were     lawfully     admitted   for
permanent residence in the United States.                At all times material to

this Count,        defendant PAULINE KANCHANALAK,          Jeb Kanchanalak,       and

Supharb Parichattkul were neither citizens nor lawful permanent

residents of the United States.
     8.      Pairoj     Piempongsant     was     a   director    and    30   percent

shareholder of BCI USA, and was a director of BCI Thailand.
     9.    At all times material to this Count, it was prohibited

under the provisions of the Federal Election Campaign Act ( "FECA") :

             (a)     for any person to contribute more than $1,000.00 to

             the campaign of a candidate for federal office for the

             candidate's primary election;
             (b)     for any person to contribute more than $1,000.00 to

             the campaign of a candidate for federal office for the

             candidate's general election;

             (c)     for any person to make a contribution in the name of

             another     person    for   the     purpose    of   influencing      any

             election for federal office;

             (d)     for any corporation to make a contribution for the
             purpose of influencing any election for federal office;

             and
             (e)     for any corporation organized under the laws of a

             foreign nation, or for any individual not a


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             citizen of the United States and not lawfully

             admitted for permanent residence in the United States, to
            make a contribution for the purpose of influencing any

             election for federal office.

      10.   At all times material to this Count, the Federal Election

Commission ("FEC") was an agency of the United States government,

headquartered       in    Washington,   D.C.,       and    was    responsible       for
enforcing     the    reporting    requirements        of    the    FECA,    and     for
directing, investigating, and instituting civil enforcement actions
with respect to violations of the FECA,              including the provisions

ref erred to       in paragraph 9 of        this   Count.        The    FEC also was

responsible for providing accurate information to the public about

the amounts and sources of certain federal political contributions

and non-federal political donations.

      11.   At all times material to this Count, under the provisions

of the FECA, the responsible officials of "political committees,"

as   that   term is defined in the FECA,             2 U.S.C.      §    431(4),    were

required    to     file   periodic   reports       with    the    FEC    listing    the

contributions received by such committees.                  In each report,         the
responsible official was required to state the following for all

contributions that were made by a person who contributed more than

$200 during the calendar year:
             (a)    the identity of the contributor;

             (b)    the date of the contribution; and

             (c)    the amount of the contribution.

      12.    The following entities were "political committees" within


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the meaning of the FECA and therefore were required to submit
periodic reports to the FEC concerning certain contributions they
received in connection with elections for federal office:

               (a)    Democratic National Committee ( "DNC")

               (b)    Democratic Senatorial Campaign Committee ("DSCC")
               (c)    Wayne Owens for Senate Committee

               (d)    Democratic State Central Committee
                          of California - Federal

               (e)    Marjorie Margolies-Mezvinsky for Congress

               (f)    Friends of Marjorie Margolies-Mezvinsky

               (g)    Gephardt in Congress Committee
               (h)    Kennedy for Senate Committee

               (i)    Friends of John Glenn

               (j)    Friends of Jane Harman

               (k)    Clinton/Gore '96 Primary Committee

               (1)    Coopersmith for Congress

       13.     At    all   times   material   to   this   Count,     the DNC was     a

"national committee" within the meaning of the                     FECA,    2 U.S. C.

§   431(14),    and thus      also was    required,       pursuant    to   11   C.F.R.

§ 104.S(e),         to report information to the FEC concerning certain

donations to its non-federal account.               In particular, the DNC was

required to state the following for all donations that were made by

a person who donated more than $200 during a calendar year to the

DNC's non-federal account:

               (a)    the identity of the donor;

               (b)    the date of the donation; and

               (c)    the amount of the donation.

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           14.     In or about 1988, the DNC established the Trustee Program

     for   major    supporters       of    the   Democratic       Party.      At    all    times

     material to this Count, in order to be a "Trustee" of the DNC, an

     individual     was     required       either      to    contribute      and/or       donate

     $50,000.00 to the DNC or to raise $100,000.00 in contributions
.,
     and/or donations for the DNC in a calendar year.                          At all times
     material to this Count, in order to be a "Managing Trustee" of the

     DNC, an individual was required either to contribute and/or donate

     $100,000.00 to the DNC or to raise $200,000.00 in contributions

     and/or donations for the DNC in a calendar year.

           15.     In or    about     May 1994,        defendant     PAULINE       KANCHANALAK

     achieved the status of DNC Trustee.                     In or about October 1994,

     defendant PAULINE KANCHANALAK achieved the status of DNC Managing

     Trustee.

                                          The Conspiracy

           16.     Beginning in or about September 1992,                     and continuing

     through in or about November 1996, in the District of Columbia and

     elsewhere, defendants PAULINE KANCHANALAK and DUANGNET KRONENBERG,

     and   others    known     and    unknown         to    the   grand    jury,     combined,
     conspired, and agreed with each other to defraud the United States
     by impairing,        impeding,       and defeating the lawful functions                 and

     duties of the FEC.

                               Purpose of the Conspiracy

           17.     The purpose of the conspiracy was for defendants PAULINE

     KANCHANALAK, DUANGNET KRONENBERG, and others known and unknown to
     the grand jury to use funds from BC! USA,                      AEGIS,    BC! Thailand,

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PAULINE KANCHANALAK, Jeb Kanchanalak, and other corporations and/or

"foreign nationals," as that term is defined in the PECA, 2 U.S.C.

§ 441e(b),         to make at least $392,000 in prohibited contributions
and other political                donations     to    the    DNC and other political
committees, without being detected by the FEC or the public.
        18.    It    was     the     further      purpose      of     the    conspiracy       for
defendants PAULINE KANCHANALAK and DUANGNET KRONENBERG to gain

favor     with      the     DNC    by    making       substantial         contributions       and

donations to the DNC and other Democratic political committees,

using     funds      that    belonged       to    undisclosed         corporations         and/or

foreign nationals, and thereby to gain access to President Clinton

and members of his Administration for defendants KANCHANALAK and

KRONENBERG and for their clients, which defendants believed would

help their business ventures.

                          Manner and Means of the Conspiracy

        19.    It was a part of the conspiracy that defendants PAULINE

KANCHANALAK and DUANGNET KRONENBERG used funds from BCI USA, AEGIS,

BCI     Thailand,         PAULINE       KANCHANALAK,         Jeb    Kanchanalak,        Supharb

Parichattkul,         and     other      foreign      nationals       to    make     prohibited

campaign contributions,                 as well as donations to the non-federal

account       of    the    DNC,    and concealed the               true    sources    of    these

contributions         and    donations .by           making    such       contributions       and

donations with checks drawn on bank accounts held in the names of

DUANGNET KRONENBERG and Praitun Kanchanalak.

        20.    It was a part of the conspiracy that defendants PAULINE

KANCHANALAK and DUANGNET KRONENBERG caused checks to be written on

                                                 7
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BCI USA's bank account at Riggs National Bank ("Riggs") payable to

DUANGNET KRONENBERG, Praitun Kanchanalak, and "P. Kanchanalak," and

caused those checks to be deposited into bank accounts held in the

names of DUANGNET KRONENBERG and Praitun Kanchanalak.

     21.    It was a part of the conspiracy that defendants PAULINE

KANCHANALAK and DUANGNET KRONENBERG caused checks to be written on

AEGIS's bank account at Riggs payable to DUANGNET KRONENBERG and

"P. Kanchanalak," and caused those checks to be deposited into bank

accounts held in the names of DUANGNET KRONENBERG and Praitun

Kanchanalak.

     22.    It was a part of the conspiracy that defendants PAULINE

KANCHANALAK and DUANGNET KRONENBERG caused funds from BCI USA and

AEGIS which were deposited into accounts held in the names of

DUANGNET    KRONENBERG    and   Prai tun Kanchanalak   to   be   contributed

and/or    donated to various political       committees     located   in   the

United States.

     23.    It was a part of the conspiracy that defendants PAULINE

KANCHANALAK and DUANGNET KRONENBERG prepared and submitted false or

deceptive statements to political committees in order to conceal

the true sources of the contributions and/or donations made to such

committees.

     24.    It was a part of the conspiracy that defendants PAULINE

KANCHANALAK and DUANGNET KRONENBERG caused political committees to

receive    contribution     and   donation   checks    drawn     on   Praitun

Kanchanalak' s   bank account which were imprinted and signed "P.

Kanchanalak," thereby causing several such political committees to


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believe that the contributions and donations were being made from

an account held by defendant PAULINE KANCHANALAK.
     25.     It was a part of the conspiracy that defendants PAULINE

KANCHANALAK        and   DUANGNET     KRONENBERG           concealed     their       unlawful

activities     from      the   FEC   and    the       public    by    causing       political
committees to submit false reports to the FEC.

                                      Overt Acts

     26.     In furtherance of the conspiracy, and to accomplish its

objects, defendants PAULINE KANCHANALAK and DUANGNET KRONENBERG,

and others known and unknown to the grand jury,                           committed the
following overt acts in the District of Columbia and elsewhere:

     A.      $16,750.00 in Foreign National Contributions Made
             in the Name of Praitun Kanchanalak in 1992

             (1)     Between on or about September 25, 1992, and on or

about October 20, 1992, defendant PAULINE KANCHANALAK caused the

following    contributions           to    be       made   in   the    name   of      Praitun

Kanchanalak:

Date of Check              Recipient                                            Amount

9/25/92                    DNC                                                  $11,000.00

10/5/92                    Wayne Owens for Senate Committee                     $      500.00

10/20/92                   Democratic State Central Committee$ 5,000.00
                               of California - Federal

10/20/92                   DSCC                                                $   250.00
                                                                      Total   $16,750.00
             (2)     Between on or about September 25, 1992, and on or

about October 20,          1992,     defendant        PAULINE KANCHANALAK provided

Praitun Kanchanalak with $16,750.00 in funds drawn on defendant


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PAULINE KANCHANALAK's personal accounts at Bank-Fund Staff Federal

Credit Union ( "BFSFCU") and First American Bank of Virginia ( "First
American") for the purpose of funding the contributions listed in

subparagraph (1).
             (3)    On or about             March   4,   1993,      Praitun Kanchanalak

signed a "contributor information form" sent to her by the DSCC in

order for the DSCC to be able to comply with federal contribution

reporting requirements.
      B.     $4,000.00 in Conduit/Foreign National Contributions
             Made in Connection with 1993 Fundraiser for
             Representative Marjorie Margolies-Mezvinsky
             ( 4)   In       or     about     August       1993,     defendant       PAULINE

KANCHANALAK agreed to be one of four host committee members for a

fundraising breakfast to be held in September 1993 to benefit the
reelection campaign of Representative Marjorie Margolies-Mezvinsky

of   Pennsylvania.            Defendant       DUANGNET       KRONENBERG       was    on    the

organizing committee for this fundraiser.

             (5}    On or         about August       10,    1993,     defendant      PAULINE

KANCHANALAK wrote        a        $4,000.00    check made payable to defendant

DUANGNET KRONENBERG drawn on Supharb Parichattkul's Merrill Lynch

cash management account.
             (6)    On or about August 10,                 1993,     defendant DUANGNET

KRONENBERG     wrote     a        $2,000.00    check       made     payable    to    Praitun

Kanchanalak.
             (7}    On or about August 10,                 1993,     defendant DUANGNET

KRONENBERG     wrote     a    $2,000.00        check     made      payable    to    "MMM   for

Congress."

                                               10
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             (8)    On or about August 10,         1993,   Praitun Kanchanalak

wrote a $2,000.00 check made payable to "MMM for Congress."

             (9)    On or about August 10, 1993, in connection with the

upcoming     fundraising     breakfast      for   Representative      Margolies-

Mezvinsky,     defendant     PAULINE     KANCHANALAK       provided      the    two

contribution checks described in subparagraphs               (7)   and   (8)   to a

member of Representative Margolies-Mezvinsky's campaign staff.

             ( 10) On or about September 22, 1993, PAULINE KANCHANALAK,

DUANGNET     KRONENBERG,     and    Praitun       Kanchanalak      attended     the

fundraising breakfast for Representative Margolies-Mezvinsky that

defendants PAULINE KANCHANALAK and DUANGNET KRONENBERG had helped

to organize.       Also in attendance at this event were Vice President

Albert Gore, Jr. and Representative Margolies-Mezvinsky.

     C.      1994 Contributions and Donations

             (11) In or about February 1994, BCI USA and BCI Thailand

budgeted $135,000.00 for political contributions and/or donations

and other politically related payments in the United States for

calendar year 1994.        One of the budgeted items was $100,000.00 to

the DNC to pay for "Renewal of DNC Trusteeship."

             (12) Between on   or   about March 17, 1994, and on or about

October 14, 1994, approximately $121,250.00 in contributions and/or

donations were made by way of checks drawn on accounts held in the

name of DUANGNET KRONENBERG and Praitun Kanchanalak, using funds

that were provided to DUANGNET KRONENBERG and Praitun Kanchanalak

by BCI USA.




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           Contributions and Donations Made with Checks Drawn on
           Praitun Kanchanalak's Account at First Virginia

           (13) Between on or about March 17, 1994, and on or about

October 14, 1994, the following contributions and donations were

made by way of checks drawn on Praitun Kanchanalak's account at

First Virginia Bank ("First Virginia") using BCI USA funds that had

been deposited into Praitun Kanchanalak's First Virginia account

via DUANGNET KRONENBERG's personal account at First Union National

Bank ( "First Union") :

Date of Check          Recipient                                  Amount

3/17/94                DNC                                        $15,000.00

3/22/94                Gephardt in Congress                       $1,500.00

4/18/94                DNC                                        $15,000.00

5/3/94                 Friends of Marjorie Margolies-             $1,000.00
                            Mezvinsky (primary)

5/3/94                 Friends of Marjorie Margolies-             $1,000.00
                            Mezvinsky (general)

5/19/94                Kennedy for Senate                         $1,000.00

10/14/94               DNC                                        $32,500.00
                                                          Total   $67,000.00

           (14) Defendant DUANGNET KRONENBERG signed the BCI USA

checks which were used to fund the contributions and donations

listed in subparagraph (13).

           (15) The    checks   used    to   make   the   contributions    and

donations listed in subparagraph ( 13) were imprinted and signed "P.

Kanchanalak," in order to cause the recipient political committees

to believe that the funds were coming from an account held by

PAULINE KANCHANALAK.


                                       12
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             ( 16 ) On or about        Apr i 1 18 ,     19 9 4 ,   DUANGNET KRONENBERG

conveyed     the    April     18,      1994,       $15,000.00       check   listed    in

subparagraph (13) to a DNC fundraiser located in Washington, D.C.,
with an accompanying memorandum which stated:
     Enclosed please find a check for $15,000.00 payable to
     DNC   (non-federal)  as  part  of   Ms.  Kanchanalak's
     contribution to the DNC Trustee Program.    As earlier
     discussed with you, the remaining $20,000.00 will be
     payable at the end of May 1994 which will conclude the
     total contribution of $50,000.

     Please also mail             me   the    Federal      Election    Commission
     Report Form.

             Contributions and Donations Made with Checks Drawn on
             DUANGNET KRONENBERG's Account at First Union

             (17) Between on or about May 25,                  1994, and on or about

October 6,    1994,    the following contributions and donations were

made by way of checks drawn on DUANGNET KRONENBERG's account at

First Union, using BCI USA funds that were provided to DUANGNET

KRONENBERG    for     the    purpose     of       making    such    contributions    and

donations:

Date of Check               Recipient                                       Amount

5/25/94                     Friends of John Glenn                           $1,000.00

5/26/94                     DNC                                             $20,000.00

6/7/94                      DNC                                             $15,000.00

9/20/94                     Friends of Jane Harman                          $   500.00
                                                                    Total   $36,500.00


             (18) Defendant DUANGNET KRONENBERG signed the BCI USA

checks which were used to fund the contributions and donations

listed in subparagraph (17).

             (19) The May 26, 1994, $20,000.00 contribution to the DNC

                                             13
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listed in subparagraph (17) was made as the final payment toward
PAULINE KANCHANALAK's 1994 DNC Trustee dues.

              (20) On     or   about   May    25,    1994,    defendant    DUANGNET

KRONENBERG provided Friends of John Glenn with information about
herself on a form which noted that the requested information was
"required by the Federal Election Commission."

              (21) On or about May 27, 1994, BCI USA issued a check to

defendant DUANGNET KRONENBERG in the amount of $2,628.40.                   The memo

line of this check read:          "May 15-30 + expenses."             This BCI USA
check constituted KRONENBERG's BCI USA paycheck for the period May

15, 1994, through May 30, 1994, plus reimbursement of "expenses" in

the amount of $1,128.40.           $1,000.00 of these "expenses" included

the    $1,000.00 contribution to Friends of John Glenn listed in

subparagraph (17).

              (22) On or about September 22,            1994, BCI USA issued a
$2,000.00 check to DUANGNET KRONENBERG.                 The memo line of this
check     read   "Sept:    1-15   &    consulting."          This   BCI   USA   check
constituted KRONENBERG's BCI USA paycheck for the period September

1,    1994,   through September 15,          1994,   plus reimbursement of the

$500.00 contribution to the Friends of Jane Harman that Kronenberg
had made approximately two - days earlier.

              (23) In     or   about   September      1994,    defendant    PAULINE

KANCHANALAK pledged to donate $50,000.00 as co-chair of the Second

Annual Issues Conference of the Women's Leadership Forum ("WLF"),

which was to be held in Washington, D.C.                in early October 1994.

The WLF was a donor council within the DNC's Finance division.


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                  (24) The    $32,500.00        donation        to    the    DNC       listed    in

    subparagraph (13) was made by the defendants to partially fulfill

    PAULINE KANCHANALAK's $50,000.00 pledge in connection with the WLF

    conference.

           D.     $1,000.00 Contribution to Clinton/Gore '96
J
                  (25) In or about June 1995, PAULINE KANCHANALAK, having

    been asked to make a contribution to the Clinton/Gore '96 Primary

    Committee, requested that DUANGNET KRONENBERG "handle" the making
    of such a contribution for her.              Writing partially in English and

    partially in Thai, PAULINE KANCHANALAK faxed KRONENBERG: "When you
    fill out the info regarding the donation ... , be very careful.

    Don't take for granted."         Elsewhere on the same document, PAULINE

    KANCHANALAK        instructed   KRONENBERG             partially        in    English       and

    partially in Thai: "Use the name£.,,. Kanchanalak and mom's SS# and

    add.    You don't need to fill out the work address or occupation."

                  ( 2 6 ) On or about June 12 , 19 9 5 , DUANGNET KRONENBERG wrote

    a $1,000.00 check made payable to "P. Kanchanalak."

                  (27) On or about        June       14,    1995,     the    $1,000.00      check

    described in the preceding subparagraph was deposited into Praitun

    Kanchanalak's account at First Virginia.
                  (28) On    or   about    June       14,     1995,    BCI       USA    issued    a
    $1,000.00 check to DUANGNET KRONENBERG.                      This check,           which was

    signed by defendant KRONENBERG, contained a handwritten notation in

    the memo line referring to "Clinton/Gore '96."

                  (29) On or about June 16,                1995, a $1,000.00 check was

    made    out   to    Clinton/Gore      '96    on        Praitun    Kanchanalak's         First


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Virginia     account.        This    check       was   imprinted        and   signed   "P.

Kanchanalak"     and    contained      a    handwritten        notation       of   Praitun

Kanchanalak's Social Security Number.
        E.   1996 Contributions and Donations

             (30) In    or     about       January     1996,      defendant        PAULINE
KANCHANALAK joined the DNC's Finance Board of Directors, pledging

to contribute/donate or raise at least $350,000.00 for the DNC.

             $25,000.00 in Contributions and Donations
             in Connection with the February 19, 1996,
             DNC Dinner at the Hay-Adams Hotel

             (31) On or about February 19, 1996, defendants PAULINE

KANCHANALAK and DUANGNET KRONENBERG attended a                          DNC fundraising

dinner at the Hay-Adams Hotel in Washington, D.C.                         The suggested

ticket price per person for this event was a $12,500.00 payment to

the DNC.
             (32) On or about February 21, 1996, defendants PAULINE

KANCHANALAK and DUANGNET KRONENBERG caused BCI USA to receive a

wire     transfer    deposit    of     $14,985.00       into      its    Riggs     account

($15,000.00 minus $15.00 for the wire transfer fee).                          These funds

were wired through Siam City Bank by an individual affiliated with

Jeb Kanchanalak.
             (33) On or about February 21,                1996,    BCI USA issued a

$15,000.00 check drawn on its Riggs account made payable to Praitun

Kanchanalak.        This check, which was signed by defendant DUANGNET

KRONENBERG, contained a notation in the memo line of "consulting

fee."
             (34) On or about February 26, 1996, a $10,000.00 check


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was made out to the DNC on Praitun Kanchanalak's account at First

Virginia,       containing a typed entry of "dinner 2/19" on the memo

line.        This check was imprinted and signed "P. Kanchanalak.            11




                (35) On or about February 26, 1996, defendant DUANGNET

KRONENBERG wrote a $5,000.00 check to the DNC in connection with

the Hay-Adams dinner.
                (36) On   or   about   March   4,    1996,    defendant    DUANGNET

KRONENBERG deposited $4,877.65 into her First Union account by way

of checks provided to her by BCI USA and Praitun Kanchanalak.

                (37) On or about March 6, 1996, having caused $15,000.00

to be contributed to the DNC in connection with the Hay-Adams
dinner, out of the $25,000.00 that represented the full price of

two tickets to that event, defendant PAULINE KANCHANALAK sent a

memorandum to Pairoj Piempongsant with a copy to Jeb Kanchanalak,

which said in a post-script:            "The DNC calls me everyday.          Please
help!   II



                (38) On   or   about   March   8,    1996,    defendant    DUANGNET

KRONENBERG wrote a $5,000.00 check made payable to the DNC.

                (39) On   or   about   March   11,    1996,    defendant    PAULINE

KANCHANALAK caused BCI USA to receive a wire transfer deposit of

$9,985.00 into its Riggs account ($10,000.00 minus a wire transfer

fee of $15.00)       from a Thai corporation affiliated with BCI USA.

Prior to this deposit, BCI USA's account at Riggs had a balance of

$926.78.

                (40) On   or   about   March   13,   1996,    BCI   USA    issued   a

$5,000.00 check drawn on its Riggs account to defendant DUANGNET


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KRONENBERG.       This check, which was signed by defendant KRONENBERG,

contained a notation in the memo line of: "consulting fee."
             (41) On     or   about   March    14,     1996,     defendant       DUANGNET

KRONENBERG wrote a $5,000.00 check made payable to the DNC.
             (42) On     or   about   March     15,     1996,        BCI   USA   issued   a

$5,000.00 check drawn on its Riggs account to defendant DUANGNET
KRONENBERG. This check, which was signed by defendant KRONENBERG,

contained a notation in the memo line of: "consulting fee."

            $10,000.00 in Donations to the DNC in May 1996

             (43) On     or   about   May     15,     1996,     BCI    USA    issued    two

sequential checks to Praitun Kanchanalak and DUANGNET KRONENBERG,

respectively,      each in the amount of $5,000.00.                        Both of these

checks were signed by defendant DUANGNET KRONENBERG.                        The memo line

of the check to Praitun Kanchanalak read: "consulting."

             (44) On or about May 23, 1996, a $5,000.00 check was made

payable    to    the   DNC on   Praitun     Kanchanalak' s            account    at   First

Virginia.       This check was imprinted and signed "P. Kanchanalak."
             (45) On     or   about   May     23,      1996,     defendant       DUANGNET

KRONENBERG wrote a $5,000.00 check made payable to the DNC.

            $185,000.00 in Donations to the DNC in June 1996

                (46) On or about June 7,            1996,     Jeb Kanchanalak wired

$100,000.00       into   defendant    DUANGNET         KRONENBERG's          First    Union

account.    After a series of transactions between defendant DUANGNET

KRONENBERG and defendant PAULINE KANCHANALAK between on or about

June 7, 1996, and on or about June 20, 1996, defendant KRONENBERG

retained a       net   sum of   $85,000.00      out     of     the    $100,000.00      wire


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transfer into her First Union account from Jeb Kanchanalak on or

about June 7, 1996.
             (47) On or about June 7,             1996,    Jeb Kanchanalak wired

$100,000.00    into     Praitun Kanchanalak' s           First Virginia account.

After a series of transfers between Praitun Kanchanalak and PAULINE
KANCHANALAK between on or about June 13, 1996, and on or about July

1, 1996, Praitun Kanchanalak retained a net sum of $77,500.00 out
of the $100,000.00 wire transfer into her First Virginia account

from Jeb Kanchanalak on or about June 7,                   1996.       (The remaining

$22,500.00    of    this      wire   transfer     was     passed      through    PAULINE

KANCHANALAK's BFSFCU account to DUANGNET KRONENBERG, as described

below in subparagraph (53) .)
             (48) On or about June 13,            1996, Jeb Kanchanalak wired

$275,510.00    into     AEGIS'S        Riggs    account.        The    wire     transfer

confirmation sheet for this deposit into AEGIS'S account described

the purpose of the transfer as "professional service fees."                        Prior

to this infusion of funds, AEGIS's Riggs account had a balance of

$500.59.
             (49) On    or     about    June    17,     1996,   defendants       PAULINE

KANCHANALAK and DUANGNET KRONENBERG caused AEGIS to issue three

sequential checks        drawn on       its Riggs       account made out         to   "P.

Kanchanalak"       in   the    amounts     of    $75,000.00,       $75,000.00,        and
$50,000.00, respectively.            Defendant DUANGNET KRONENBERG signed all

three of these AEGIS checks.
             (50) On or about June 17, 1996, the three AEGIS checks

made out to "P. Kanchanalak" described in subparagraph (49) were


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deposited into Praitun Kanchanalak' s First Virginia account, which,

combined      with    the      $77,500.00    left       in    that     account       from   the

$100,000.00 wire transfer from Jeb Kanchanalak on or about June 7,

1996,      amounted       to     $277,500.00          in     deposits         into    Praitun
Kanchanalak's First Virginia account that were traceable back to

wire transfers from Jeb Kanchanalak in or about June 1996.

              (51) On       or   about   June     18,        1996,    defendant       PAULINE

KANCHANALAK and three individuals affiliated with the C.P. Group,

a Thai corporation, attended a "coffee" at the White House hosted

by    President      Clinton.       Others       in     attendance       at    this    coffee

included, among others, John Huang and Donald Fowler of the DNC.

The Chairman of the C.P. Group, Mr. Dhanin, spoke for the majority

of the event, discussing primarily economic and political issues

relating to the relationship between the United States and the

People's Republic of China.

              (52) On or about June 20, 1996, AEGIS issued a $75,000.00

check     drawn      on   its    Riggs   account           made     payable    to    DUANGNET

KRONENBERG, which was signed by defendant KRONENBERG.

              (53) On       or   about   June     24,       1996,     defendant      DUANGNET

KRONENBERG deposited into her First Union account the $75,000.00

AEGIS check described in the preceding subparagraph, simultaneously

depositing a $22,500.00 check made payable to defendant KRONENBERG

drawn on defendant PAULINE KANCHANALAK's BFSFCU account, dated June

21,   1996.       When combined with the $85,000.00 left in defendant

KRONENBERG' s First Union account from the $100,000.00 wire transfer

from Jeb Kanchanalak on or about June 7, 1996, as of June 24, 1996,


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a net total of approximately $182,500.00 in deposits into defendant

KRONENBERG' s   account were traceable to wire transfers from Jeb

Kanchanalak in or about June 1996.

            (54) Several checks, including a $50,000.00 donation to

the DNC,   were written on defendant DUANGNET KRONENBERG' s              First

Union account, as follows:

Date of Check          Recipient                                 Amount

6/13/96                California Democratic Party               $30,000.00

6/15/96                Florida Democratic Party                  $25,000.00

6/18/96                DNC                                       $50,000.00

6/18/96                Illinois Democratic Party                 $30,000.00

6/21/96                Ohio Democratic Party                     $20,000.00

6/25/96                Pennsylvania Democratic Party             $25,000.00
                                                  Total         $180,000.00

            (55) Several checks, including two donations to the DNC

totalling $135,000.00, were written on Praitun Kanchanalak's First

Virginia account, as follows:

Date of Check          Recipient                                 Amount

6/19/96                DNC                                       $85,000.00

6/24/96                DNC                                       $50,000.00

6/25/96                California Democratic Party               $24,500.00

6/27/96                Florida Democratic Party                  $35,000.00

6/29/96                Ohio Democratic Party                     $33,000.00

7/5/96                 Illinois Democratic Party                 $25,000.00

7/5/96                 Pennsylvania Democratic Party             $25,000.00
                                                  Total          $277,500.00




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             Contributions and Donations to the DNC
             and Coopersmith for Congress
             (56) On or about August             18,    1996,       defendants       PAULINE

KANCHANALAK and DUANGNET KRONENBERG traveled from Washington, D. C. ,

to New York City, staying overnight at the Waldorf-Astoria Hotel.

On or about August 18, 1996, the DNC held a fundraising event at

the   Waldorf-Astoria Hotel            in New York          City in       celebration of
President Clinton's fiftieth birthday.
             (57) On or        about   August    19,     1996,      BCI    USA      issued a

$20,000.00      check    to    defendant    DUANGNET        KRONENBERG.          Defendant
KRONENBERG      signed       this   $20,000.00    BCI       USA   check      made    out   to

herself.
             (58) On or about August             22,    1996,       defendant DUANGNET

KRONENBERG      wrote    a     $20,000.00    check      made      payable     to     Praitun

Kanchanalak.
             (59) On or about August 26, 1996, the $20,000.00 check

described in the preceding subparagraph was deposited into Praitun

Kanchanalak's First Virginia account.

             (60) On or about August 26, 1996, a $1,000.00 check was

written    on   Praitun       Kanchanalak's      First       Virginia      account       made

payable to Coopersmith for Congress.              This check was imprinted and
signed "P. Kanchanalak."            At the time of this contribution, Jeffrey

Coopersmith      was      seeking      election        to     the     U.S.       House     of

Representatives from a congressional district located in the State

of Washington.

             (61) On or about August 26, 1996, a $1,000.00 check was

written on defendant DUANGNET KRONENBERG's First Union account made
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payable to Coopersmith for Congress.

             (62) On or about September 10,          1996, BCI USA issued a
$21,000.00    check made payable       to    "P.   Kanchanalak."        Defendant
KRONENBERG signed this check.
             (63) On or about September 11, 1996, the $21,000.00 BCI

USA check described in the preceding subparagraph was deposited

into Praitun Kanchanalak's First Virginia account.

             (64) On or about September 11, 1996, defendant DUANGNET

KRONENBERG wrote a memorandum to defendant PAULINE KANCHANALAK,

which read, in relevant part:

           I transferred 21K into P. Kanchanalak's acct. The
     acct now has a total of 40K (lK was written to Jeff
     Coopersmith). I will give John Huang 40K from this acct
     for B-Day on Friday, Sept 13 afterwhich the acct bal will
     be 0.
             (65) On or about September 13, 1996, a $40,000.00 check

was written on Praitun Kanchanalak's First Virginia account made

payable   to the DNC.       This    check was      imprinted and signed          "P.

Kanchanalak."

             (66) On or about September 13, 1996, defendant DUANGNET

KRONENBERG    gave   John   Huang   the     $40,000.00       check   described    in

subparagraph (65).


     (Conspiracy,    in violation of 18 U.S.C.           §   371).




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                      COUNTS TWO THROUGH FOURTEEN

   CAUSING FALSE STATEMENTS IN MATTERS WITHIN THE JURISDICTION
                OF THE FEDERAL ELECTION COMMISSION

     1.      The grand jury realleges paragraphs 1 through 26 of Count

One, above, as though fully stated herein.

     2.      On or about the dates indicated below, in the District of

Columbia, in matters within the jurisdiction of the FEC, an agency

of the United States, defendants PAULINE KANCHANALAK and DUANGNET

KRONENBERG     knowingly   and   willfully   caused   the   submission   of

material false statements to the FEC, in that defendants caused the

responsible officials of the following political committees to file

reports   with the   FEC that    listed the   following     individuals as

having provided funds to such political committees on the following

dates, in the following amounts, when, as defendants then and there

well knew,    the named individuals were not the actual sources of

those funds:




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Count   Political Committee   Date of     Person Identified in      Amount Re12orted      Date of
        Makino Re12ort        Re12ort     Report as Having                                Contrib.
                                          Provided Funds                                  or
                                                                                          Donation
                                                                                          Re12orted
2       Friends of Marjorie   12/31/93    Praitun Kanchanalak       $1,000 (primary)      8/13/93
        Margolies-Mezvinsky               Praitun Kanchanalak       $1,000 (general)      8/13/93
                                          Duangnet Kronenberg       $1,000 (primary)      8/13/93
                                          Duangnet Kronenberg       $1,000                8/13/93
                                                                    (general/debt)
3       Gephardt in           4/13/94     P. Kanchanalak            $1,000 (primary)      3/29/94
        Congress Committee                P. Kanchanalak            $500 (general)        3/29/94
4       DNC                   4/15/94     Pauline Kanchanalak       $15,000               3/21/94
5       DNC                   7/15/94     Pauline Kanchanalak       $15,000               4/22/94
                                          Duangnet Kronenberg       $20,000               5/27/94
                                          Duangnet Kronenberg       $15,000               6/13/94
6       Friends of John       7/i5/94     Duangnet Kronenberg       $1,000    (primary)   6/6/94
        Glenn
7       Friends of Marjorie   7/19/94     Pauline Kanchanalak       $1,000    (primary)   5/4/94
        Margolies-Mezvinsky               Pauline Kanchanalak       $1,000    (general)   5/4/94
8       Kennedy for Senate    7/15/94     P. Kanchanalak            $1,000    (primary)   6/19/94
        Committee
9       DNC                   12/8/94     Pauline Kanchanalak       $32,500               10/20/94
10      Clinton/Gore '96      10/14/95    P. Kanchanalak            $1,000    (primary)   6/22/95
        Primary Committee
11      DNC                   4/15/96     Pauline Kanchanalak       $10,000               2/29/96
                                          Duangnet Kronenberg       $5,000                2/29/96
                                          Duangnet Kronenberg       $5,000                3/11/96
                                          Duangnet Kronenberg       $5,000                3/15/96

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 12     DNC                   7/15/96     Pauline Kanchanalak       $5,000                6/6/96
                                          Duangnet Kronenberg       $5,000                6/6/96
                                          Pauline Kanchanalak       $85,000               6/19/96
                                          Duangnet Kronenberg       $50,000               6/19/96
 13     Coopersmith for       9/5/96      P. Kanchanalak            $1,000 (primary)      8/28/96
        Congress                          Duangnet Kronenberg       $1,000 (primary)      8/28/96
 14     DNC                   10/15/96    Pauline Kanchanalak       $50,000               7/10/96
                                          P. Kanchanalak            $40,000               9/25/96

(Causing False Statements in Matters Within the Jurisdiction of               the   Federal   Election
Commission, each count in violation of 18 U.S.C. §§ 1001 and 2(b)).




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                       COUNTS FIFTEEN AND SIXTEEN

            CONSENTING TO CONTRIBUTIONS BY A CORPORATION

      1.    The grand jury realleges paragraphs 1 through 26 of Count

One, above, as though fully stated herein.

      2.    On or about     the   following dates,        in the District of

Columbia and elsewhere, defendants PAULINE KANCHANALAK and DUANGNET

KRONENBERG knowingly and willfully committed a                violation of       a

provision of the FECA which involved the making,                receiving,      or

reporting of a contribution aggregating $2,000 or more during a

calendar year; to wit, defendants PAULINE KANCHANALAK and DUANGNET

KRONENBERG, both of whom were officers of BCI USA, consented to the

following contributions by BCI USA, which were passed through bank

accounts held in the name of DUANGNET KRONENBERG and/or Praitun

Kanchanalak at First Union and First Virginia, respectively:

 Count     Political       Account Used         Amount of     Date of
           Committee       to Make              Contrib.      Contrib.
                           Contribution                       Check
 15        DNC (federal    Praitun              $10,000       2/26/96
           account)        Kanchanalak
 16        DNC (federal    Duangnet             $5,000        2/26/96
           account)        Kronenberg

(Consenting    to   Contributions    by    a   Corporation,    each     count   in
violation of 2 U.S.C.     §§   441b and 437g(d) (1) (A)).




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                                  COUNT SEVENTEEN
                  CAUSING CONTRIBUTION BY A FOREIGN NATIONAL

       1.        The grand jury realleges paragraphs 1 through 26 of Count

One, above, as though fully stated herein.

       2.        On or about August 26, 1996, in the District of Columbia

and    elsewhere,       defendants       PAULINE   KANCHANALAK          and    DUANGNET

KRONENBERG        knowingly    and   willfully     caused    a     violation        of    a

provision of the FECA which involved the making,                        receiving,       or
reporting of a contribution aggregating $2,000.00 or more during a

calendar year; to wit, defendants PAULINE KANCHANALAK and DUANGNET

KRONENBERG caused an aggregate contribution of $2,000.00 to be made

to    Coopersmith       for   Congress     in   connection       with    the    primary
election, using funds that belonged to foreign nationals, and which

were passed through bank accounts held in the name of DUANGNET

KRONENBERG        and   Praitun   Kanchanalak      at   First     Union       and   First

Virginia, respectively, in the form of two $1,000.00 checks.


(Causing Contribution by a Foreign National,                    in violation of 2
U.S.C.      §§   441e and 437g(d) (1) (A), and 18 U.S.C.         § 2 (b)).




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                                 COUNT EIGHTEEN

     CONSPIRACY TO OBSTRUCT THE DUE ADMINISTRATION OF JUSTICE
           AND TO OBSTRUCT A CONGRESSIONAL INVESTIGATION

                            Introductory Allegations

     1.   The grand jury realleges paragraphs 1 through 26 of Count

One, above, as though fully stated herein.

     2.    In or about        1994,   defendants         PAULINE KANCHANALAK and

DUANGNET KRONENBERG assisted in the formation of the U.S.-Thailand

Business Council       ( "USTBC"),    a   non-profit entity established to

facilitate trade between the United States and Thailand.                      From the

time of its inception,         through the dissolution of BCI USA,                  the

USTBC and BCI USA shared office space.

     3.   At all times material to this Count, a federal grand jury

in the District of Columbia was investigating various allegations

relating to the campaign financing practices, including allegations

relating to political contributions purportedly made by PAULINE

KANCHANALAK,    DUANGNET      KRONENBERG,        Praitun       Kanchanalak,    or   "P.

Kanchanalak."

     4.   At    all   times material           to this    Count,    a   Committee or

Committees of the United States Senate or the United States House

of   Representatives          were    conducting          an     investigation      or

investigations of political contributions which had been made in

the names of PAULINE KANCHANALAK,               Praitun Kanchanalak,          DUANGNET

KRONENBERG,    and    "P.   Kanchanalak,"        or such an        investigation or

investigations were reasonably foreseeable.




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                                 The Conspiracy

      5.      Beginning      in or about       December      1996,    and    continuing
through in or about March 1997,              in the District of Columbia and
elsewhere, defendants PAULINE KANCHANALAK and DUANGNET KRONENBERG,

and   others    known     and   unknown        to   the    grand     jury,    combined,
conspired, and agreed with each other --

      (1) corruptly to obstruct the due administration of justice,

      that is, a federal grand jury investigation, in violation of

      18 U.S.C.    §   1503; and

      (2)   corruptly to obstruct the due administration of the law

      under    which    an    inquiry   is      being      conducted,       that   is,     a

      congressional investigation, in violation of 18 U.S.C. § 1505.

                          Purpose of The Conspiracy

      6.      The purpose of the conspiracy was for defendants PAULINE

KANCHANALAK and DUANGNET           KRONENBERG,        to    obstruct,       impair,      and

impede ongoing or imminent federal grand jury and congressional

investigations into their activities and into the activities of

other individuals and entities with which they were associated.

                   Manner and Means of the Conspiracy

      7.      It was a part of the conspiracy that defendant DUANGNET

KRONENBERG caused an attorney, who had performed legal work for BC!

USA and defendants, to collect and remove relevant BC! USA records

from BCI USA's offices.
      8.      It was a part of the conspiracy that defendants PAULINE

KANCHANALAK and DUANGNET KRONENBERG subsequently retrieved the BCI
USA records referred to in paragraph 7 from the attorney outside

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his office.

     9.    It was a part of the conspiracy that defendants PAULINE

KANCHANALAK and DUANGNET KRONENBERG took steps to dissolve BCI USA

and to send relevant BCI USA records to Thailand.

     10.   It was a part of the conspiracy that defendants PAULINE

KANCHANALAK and DUANGNET KRONENBERG caused relevant BCI USA records

to be transported from BCI USA's offices to a self-storage facility

they had rented in the name of a nanny who was employed by a family

member.

     11.   It was a part of the conspiracy that defendants PAULINE

KANCHANALAK and DUANGNET KRONENBERG hired an individual to erase

the hard drives of computers located in BCI USA's offices and in

DUANGNET KRONENBERG's home.

                                 Overt Acts

     12.   In furtherance of the conspiracy, and to accomplish its

objects,   defendants PAULINE KANCHANALAK and DUANGNET KRONENBERG,

and others known and unknown to the grand jury,                comrni t ted the

following overt acts in the District of Columbia and elsewhere:

     A.    Removal o f BCI USA Records b y Attorney

            (1)    On or between December 2,      1996, and December 11,

1996, defendant DUANGNET KRONENBERG caused an attorney who was then

representing      PAULINE   KANCHANALAK to    review   files   at BCI    USA' s

offices over the course of two days.

            (2)    At the end of his review of records at BCI USA, the

attorney removed several boxes of records from BCI USA's office and

placed them in defendant DUANGNET KRONENBERG's car.


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             (3)     Defendant       KRONENBERG and the         attorney then used

KRONENBERG's car to transport the records the attorney had removed
from BCI USA's office to the attorney's office in Washington, D.C.,
whereupon     the        attorney     removed   the     boxes    of    records      from
KRONENBERG's car and took them to his office.                  On or about December

19, 1996, KANCHANALAK and KRONENBERG retrieved these records from
the attorney outside his office.

       B.    Dissolution of BCI USA

             (4)     Shortly before Christmas 1996,              defendant PAULINE

KANCHANALAK informed the staff of BCI USA and others working in the
same   office      suite      that   BCI USA would be      dissolved,       effective

immediately.

             (5)     In or about late December 1996, defendants PAULINE

KANCHANALAK        and    DUANGNET    KRONENBERG      participated     in   plans    to

organize a new company which would move into BCI USA's office as of
January 1,      1997,     and which would continue working on BCI USA's

projects.     This resulted in the formation of Global Investments,

Inc.   ("Global"),        a   corporation organized under the laws of the

District of Columbia, in or about January 1997,

             (6)     On or about January 20,           1997,    defendants PAULINE
KANCHANALAK        and   DUANGNET     KRONENBERG      caused    the   Office   of   the
Registrar General of the Cayman Islands to issue notification that

on March 27,        1997,     BCI USA would be struck from the Companies

Register of the Cayman Islands and thereupon dissolved.

       C.    Collection of Other BCI USA Records

             (7)     Shortly after       PAULINE      KANCHANALAK     announced     her


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plans to dissolve BCI USA, DUANGNET KRONENBERG told a member of BCI

USA's staff to review and pack all of BCI USA's inactive project

files        into     boxes,    which    the    staffer     did     with   the    help     of

KRONENBERG.

                (8)     In or about late December 1996, at the direction of

DUANGNET KRONENBERG, the BCI USA staffer described in subparagraph

(7) contacted an accountant who had performed services for BCI USA,

and     instructed        the   accountant      to   send     any    original     BCI     USA

documents in his or his firm's possession to Jeb Kanchanalak in

Thailand.

                (9)     On or about December 31, 1996, the accountant sent

original BCI USA records that were in his firm's files                             to Jeb

Kanchanalak at BCI Thailand in Bangkok.

        D.      Rental of Storage Unit in Name of Thai National

                (10) On or about December 17, 1996, defendants PAULINE

KANCHANALAK and DUANGNET KRONENBERG caused a Thai national working

as a nanny for a family member to accompany KRONENBERG to a self-

storage facility, and to rent a storage unit.

                (11) Defendant          DUANGNET     KRONENBERG      caused      the     Thai

national referred to in subparagraph                   (10)   to sign and initial a

rental form at the self-storage facility that the Thai national

could not read because it was written in English.

                (12) Defendant DUANGNET KRONENBERG completed most of the

rental form at the self-storage facility, providing KRONENBERG's

own address, telephone number, and Social Security Number under the

Thai national's name, and writing the Thai national's address under


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KRONENBERG's name.

              (13) After the rental form had been completed and the

Thai   national    was   given a   key to    the   storage unit,    defendant

DUANGNET KRONENBERG immediately took possession of the key to the

storage unit from the Thai national.

              (14) Defendant DUANGNET KRONENBERG subsequently informed

the Thai national that KRONENBERG had given the key to the storage

unit to PAULINE KANCHANALAK.

       E.    Moving of BCI USA Records to Storage Unit

              (15) On or about December 24, 1996, defendants PAULINE

KANCHANALAK and DUANGNET KRONENBERG caused two handymen to come to

BCI USA's offices to move boxes.         While the movers waited, PAULINE

KANCHANALAK and DUANGNET KRONENBERG filled boxes with papers and

files.      KRONENBERG labeled the boxes.

              (16) Later   on    that    same   day,   defendants     PAULINE

KANCHANALAK and DUANGNET KRONENBERG caused the handymen to load the

back of a pick-up truck with boxes containing files from BCI USA's

office suite.      The boxes removed from BCI USA's offices at that

time   included seven or eight boxes that a BCI USA staffer had

packed with BCI USA records, as described in subparagraph (7).

              (17) After the movers' truck had been loaded with boxes,

defendant PAULINE KANCHANALAK drove to the self-storage facility

described in subparagraph (10), followed by the movers.

              (18) Defendant PAULINE KANCHANALAK used a code to let

both vehicles into the self-storage facility, and then used a key

to open a storage unit.


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           (19) Defendant PAULINE KANCHANALAK caused the movers to

remove the boxes they had transported from their truck into the

storage unit, filling the unit almost to the ceiling.

           (20) After the movers finished moving the boxes into the

storage unit, defendant PAULINE KANCHANALAK gave one of the men a

BCI USA check signed by DUANGNET KRONENBERG,            dated December 24,
1996, for $200, and told the movers something to the effect that

"you didn't move these boxes here" or "don't tell anyone you moved

these boxes here."

           (21) Within two days of moving these boxes, one of the

movers went to BCI USA's offices to extort additional money from
PAULINE   KANCHANALAK.        PAULINE     KANCHANALAK    gave     the    mover

approximately $40 and then called the other mover to complain about

his colleague's conduct.

     F.    Erasure of Computer Hard Drives

           (22) On or about January 10,        1997,    defendants PAULINE

KANCHANALAK and    DUANGNET    KRONENBERG caused an       individual      with

expertise in computer engineering to erase professionally the hard

drives of two computers located in BCI USA's offices.
           (23) Within a few days of the erasure of the hard drives

of the computers located in BCI USA's offices, defendants PAULINE

KANCHANALAK and DUANGNET KRONENBERG caused the same individual

referred to in subparagraph       (22)    to erase the hard drive of a

computer located at defendant KRONENBERG's home.

           (24) Defendants      PAULINE     KANCHANALAK     and     DUANGNET

KRONENBERG caused BCI USA to pay $500.00 to the individual who


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erased the      hard drives of      the    three     computers      referred to      in
subparagraphs (22) and (23).

              (25) In or about late December 1996, defendant PAULINE

KANCHANALAK told a BCI USA staffer that one reason for erasing the
hard drives of BCI USA' s         computers was that          II
                                                                   someone had told
[KANCHANALAK]      that she need [ed]      to stay one step ahead in case

something ever happened, in case someone ever came to the office

and seized the assets, froze the assets.                           Or they took the

computers away or they seized them or something to that effect."

        G.    Discarding of Records Responsive to Grand Jury Subpoena

              (26) On or about February 24, 1997, defendant DUANGNET

KRONENBERG      received   notice   that       a   federal   grand     jury   in   the

District of Columbia was seeking to subpoena her to appear before

the grand jury and to produce certain relevant records to the grand

jury,    when her     father-in-law handed her a             federal    grand      jury

subpoena that an agent of the Federal Bureau of Investigation had
attempted to serve on defendant KRONENBERG earlier that day.




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              (27) Between on or about February 25,          1997,   and on or

about     March   7,   1997,    defendant    KRONENBERG    mutilated    and/or
discarded documents that she knew were responsive to the federal

grand jury subpoena described in the preceding subparagraph.



        (Conspiracy, in violation of 18 U.S.C. § 371).



                                     A TRUE BILL:




WILMA A. LEWIS
United States Attorne for
  for the District of Columbia




   ATHAN BIRAN
   RA HERZOG
Trial Attorneys
Campaign Financing Task Force
Criminal Division
U.S. Department of Justice
1001 G Street, N.W.
Suite 310
Washington, D.C. 20001
(202} 307-0655

Date:     November 13, 1998




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                         EXHIBIT I:
Indictment from United States v. Trie, Criminal Action No. 98-00029 (D.D.C.)



          Defendant Concord Management and Consulting LLC’s
                    Motion to Dismiss the Indictment
           United States v. Internet Research Agency LLC, et al.,
                   Criminal Action No. 18-00032-DLF
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

     UNITED STATES OF AMERICA                *

                 v.                          *   CRIMINAL NO.       19- 8 ~ Q~Q~2 9'
     YAH LIN "CHARLIE" TRIE, and             *   GRAND JURY ORIGINAL
     YUAN PEI "ANTONIO" PAN
                                             *
                                                 VIOLATIONS:
                                             *
                                                 18 U.S.C. Section 371
                                             *   (Conspiracy to Defraud and to Impair and
                                                 Impede the FEC)
                                             * 18 U.S.C. Section 1341
                                                 (Mail Fraud)
                                             * 18 U.S.C. Section 1343
                                                 (Wire Fraud)
                                              * 18 U.S.C. Section 2
                                                 (Aiding and Abetting)
                                              * 18 U.S.C. Section 1001
                                                 (False Statements)
                                             * 18 U.S.C. Section 371
                                                 (Conspiracy to Obstruct Justice)
                                             ,., 18 U.S.C. Section 1512(b)(2)
                                                 (Witness Tampering)
                                             * 18 U.S.C. Section 1505
                                                 (Obstruction of Congressional Investigation)
FRIEDMAN, J. PLF                                                 FILED IN OPEN COURT
                                      INDICTMENT
B'               The Grand Jury for the District of Columbia charges that:
                                                                          ,JAN 2 8 1998
                                                                CLERK, U.S. DISTRICT COURT
                                 Introductory Allegations          DISTRICT OF COLUMBIA

           1.    At all times material to this Indictment, defendant YAH LIN "CHARLIE"

     TRIE was a resident of Little Rock, Arkansas, and Washington, D.C.




                                                                                           I
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      2.      At all times material to this Indictment, defendant YAH LIN "CHARLIE"

TRIE owned and operated Daihatsu International Trading Corporation ("Daihatsu"),

an Arkansas corporation purportedly in the import and export business, with its principal

office in little Rock. Arkansas, and, beginning in the fall of 1994, utilized an apartment

at the Watergate South complex, 700 New Hampshire Avenue, Unit 121, in

Washington, D.C. ("Watergate South apartment") as an office.

      3.       Beginning in the Fall of 1994, defendant YAH LIN "CHARLIE" TRIE

was associated with San Kin Yip International Trading Co. ("San IGn Yip"), an Arkansas

corporation owned by a Macau resident, who was not a citizen of the United States nor

a lawful permanent resident. Beginning in the fall of 1994, San Kin Yip shared the

Watergate South apartment with Daihatsu.

      4.      Beginning in approximately April 1996, defendant YAH LIN "CHARLIE"

TR.IE owned and operated America-Asia Trade Center, Incorporated ("America-Asia"),

a Washington, D.C. corporation, which shared the Watergate South apartment with

Daihatsu and San Kin Yip.

      5.     Beginning in approximately August 1995, YUAN PEI "ANTONIO" PAN

began working for YAH LIN "CHARLIE" TR.IE. At some time thereafter, YUAN PEI

"ANTONIO" PAN was the Chief Executive Officer of Daihatsu and Executive Director

of America-Asia.    Prior to August 1995, YUAN PEI "ANTONIO" PAN was a

director of Lucky Port Investments, Ltd., a foreign corporation, and Senior Vice


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President of Lippo Group-Chinese Division. YUAN PEI "ANTONIO" PAN was a

Taiwanese national and not a citizen of the United States nor a lawful permanent

resident.

       6.    At all times material to this Indictment, the Federal Election Campaign Act,

Title 2, United States Code, Section 431, .tl ~- ("FECA"), in particular, Title 2, United

States Code, Section 441 e, specifically prohibited "foreign nationals" from making

contributions in connection with an election to any political office or in connection with

any primary election, convention, or caucus held to select candidates for any political

office; or soliciting, accepting or receiving any such contribution. A "foreign national"

is an individual who is not a citizen of the United States and who is not lawfully

admitted for permanent residence or any association, corporation, organization, or other

combination of persons organized under the laws of, or having its principal place of

business in, a foreign country.

       7.    At all times material to this Indictment, the FECA, in particular Title 2,

United States Code, Section 441 f, specifically prohibited any person from making a

contribution for the purpose of influencing any election for federal office, using the name

of another person or knowingly permitting his or her name to be used to effect such a

contribution, for example, by giving funds to a straw donor, known as a "conduit," for

the purpose of having the conduit pass the funds on to a federal candidate as the




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conduit's own contribution, or by reimbursing a "donor" who has already given to a

candidate.

       8.     At all times material to this Indictment, the Federal Election Commission

("FEC") was an agency of the United States government, headquartered in Washington,

D.C., and entrusted with the responsibility of enforcing the reporting requirements of

the FECA and for directing, investigating, and instituting civil enforcement actions with

respect to violations of the FECA, including the provisions referred in paragraphs 6 and

7 above. In addition, the FEC was responsible for making available to the public specific

information about the amounts and sources of political contributions to federal

candidates and their political committees.

       9.    At all times material to this Indictment, the FECA, in particular Title 2,

United States Code, Section 434, required that each treasurer of a political committee

file periodic reports of receipts and disbursements with the FEC. These reports identify

each person who made a contribution during the relevant reporting period whose

contribution or contributions had an aggregate amount or value in excess of $200 within

the calendar year, together with the date and the amount of any such contribution. The

reports also list the mailing address and occupations of persons identified as contributors,

as well as the names of their employers.




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        The Democratic National Committee and the Trustee Program

       10.   At all times material to this Indictment, the Democratic National

Committee ("DNC") was a "political committee" subject to the terms of the FECA and

related regulations.   The DNC was formed in 1848. A major function of the DNC

was to solicit campaign contributions and raise funds on behalf of the Democratic Party

and on behalf of democratic candidates for state and federal office.

       11.   At all times material to this Indictment, .it was the policy of the DNC not

to accept contributions made:

      a.      by foreign nationals, foreign corporations or United States subsidiaries of

foreign corporations unless the funds were generated in the United States and no foreign

national participated in the decision to contribute; and/or

       b.     in the name of another person.

       12.   In or about 1988, the DNC established the Trustee Program for major

supporters of the Democratic Party. Through this program, the DNC would provide

numerous benefits and privileges to its contributors, including access to White House

officials, in exchange for contributions of pre-determined amounts. The DNC required

that all contributions be made in accordance with applicable law and regulations

including its own internal policies.

       13.   On or about June 30, 1994, the DNC invited defendant YAH LIN

"CHARLIE" TRIE to become a Trustee of the DNC, as a result of an aggregate



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contribution of $100,000 he made to the DNC in or about May; of l 994, Thereafter,

defendant YAH LIN "CHARLIE" TRIE was given additional positions on DNC boards

and councils based upon his commitment to raise or contribute substantial amounts of

money to the DNC.

                                  The Conspiracy

       14.   From in or about April 1994 and continuing to in or about September

l 996, in the District of Columbia and elsewhere, defendants YAH LIN "CHARLIE"

TRIE and YUAN PEI "ANTONIO" PAN, together with persons both known and

unknown to the grand jury, did knowingly conspire and agree with others to:

             a.     Devise and intend to devise a scheme and artifice to defraud the

DNC and to obtain property from the DNC by means of false and fraudulent pretenses,

representations and promises and used the mails and wires in violation of Title 18,

United States Code, Sections 1341 and 1343;

             b.     Defraud the United States by impairing, impeding, defeating and

obstructing the lawful functions and duties of the FEC in violation of Title 18, United

States Code, Section 371.



                      Manner and Means of the Conspiracy

      15.    It was part of the conspiracy that the defendants YAH LIN "CHARLIE"

TRIE, YUAN PEI "ANTONIO" PAN and others acting at their request:



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               a.    Sought access to high level government officials in the United States

for the purpose of promoting the defendants' private business activities here and abroad;

              b.     Purchased access to high level government officials in the United

States by contributing and soliciting contributions to the DNC;

              c.     Channeled foreign money to the DNC through the use of straw or

conduit contributions;

              d.     Concealed. the source of the money contributed by reimbursing

conduits in cash and using multiple bank accounts;

              e.     Received benefits from the DNC as a result of the fraudulent

contributions and solicitation activities including, but not limited to, special seating at

DNC functions, complimentary tickets to DNC events, membership in DNC committees

and related entities, including the Trustee Program, the Democratic Business Leadership

Forum and the DNC Finance Board of Directors, invitations to meetings and other

events where White House personnel, including the President and Vice President of the

United States, were in attendance, and administrative support of DNC employees;

              f.     Received "credit" and recognition from the DNC as the solicitor of

the contributions, thereby enabling defendant YAH LIN "CHARLIE" TRIE to meet the

fundraising goals necessary to maintain his positions on DNC committees and related

entities;




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             g.     Used membership in the DNC committees and related entities,

including the Trustee Program, the Democratic Business Leadership Forum and the

DNC Finance Board of Directors to promote the defendants' private business activities;

             h.     Deprived the DNC of the right to control how its money is spent;

and

             i.     Caused the DNC to file false campaign finance reports with the FEC.

                                    OVERTACTS

       In furtherance of the conspiracy and to effect the objects thereof, the following

overt acts, among others, were committed in the District of Columbia and elsewhere:

1.     In or about April 1994, defendant YAH LIN "CHARLIE" TRIE requested a seat

at the table of the President of the United States at the 1994 DNC Presidential Gala on

June 22, 1994, in exchange for his contribution of $100,000 to the DNC.

2.     On or about May 6, 1994, a co-conspirator caused an overseas wire transfer in the

amount of $100,000 from Lucky Port Investments Ltd., a foreign corporation, for which

defendant YUAN PEI "ANTONIO" PAN was the Director, to the checking account of

defendant YAH LIN "CHARLIE" TRIE at First Commercial Bank in Little Rock,

Arkansas.

3.    On or about May 14, 1994, defendant YAH LIN "CHARLIE" TRIE wrote a

personal check from his account at First Commercial Bank in Little Rock, Arkansas to

the DNC in the amount of $60,000.



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4.    On or about May 14, 1994, defendant YAH LIN "CHARLIE',. TRIE wrote a

personal check from his account at First Commercial Bank in Little Rock, Arkansas to

the DNC in the amount of $20,000.

5.    On or about May 25, 1994, defendant YAH LIN "CHARLIE" TRIE caused his

wife to sign a check from their account at First Commercial Bank in Little Rock,

Arkansas to the DNC in the amount of $20,000.

6.    On or about June 21, 1994, defendant YAH LIN "CHARLIE" TRIE caused a

check to be written from the account of Daihatsu at First Commercial Bank in Little

Rock, Arkansas to the DNC in the amount of $7,500.

7.    On or about June 22, 1994, defendant YAH LIN "CHARLIE" TRIE and a

business associate from Macau attended the l 994 DNC Presidential Gala at the

Washington Hilton Hotel in Washington, D.C. defendant YAH LIN "CHARLIE" TRIE

sat with the President of the United States.

8.    On or about August 1, 1994, defendant YAH LIN "CHARLIE" TRIE wrote a

personal check from his account at First Commercial Bank in Little Rock, Arkansas to

the DNC in the amount of $20,000.

9.    On or about August 2, 1994, defendant YAH LIN "CHARLIE" TRIE was Vice

Chair of, and he and a business associate from Macau attended, a DNC fundraising

event and birthday celebration for the President of the United States based upon his

$20,000 contribution.



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10.    In or about August 1994, defendant YAH LIN "CHARLIE" TRIE requested the

DNC to arrange for a private tour of the White House for himself and his guests and a

tour of the White House for approximately twenty individuals from China.

11.    In or about August 1994, defendant YAH LIN "CHARLIE" TRIE requested

DNC employees to provide reference letters in support of his application to lease the

Watergate South apartment, which was later used as an office for Daihatsu, San Kin Yip

and America-Asia.

12.    In or about early September 1994, defendant YAH LIN "CHARLIE" TRIE

became a Vice Chair of the DNC's Business Leadership Forum.

13.    On or about September 21, 1994, defendant YAH LIN "CHARLIE" TRIE

attended an inaugural Vice Chair luncheon for the Business Leadership Forum with the

Vice President of the United States.

14.    On or about October 11, 1994, defendant YAH LIN "CHARLIE" TRIE directed

the incorporation of San Kin Yip in Little Rock, Arkansas.

15.    On or about October 20, 1994, a business associate from Macau wired $100,000

into a bank account established by defendant YAH LIN "CHARLIE" TRIE for San Kin

Yip at First Commercial Bank in Little Rock, Arkansas.

16.    On or about October 20, 1994, defendant YAH LIN "CHARLIE" TRIE and a

business associate from Macau attended a Business Leadership Forum dinner with the

Vice President of the United States.



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17. ·     On or about October 20, 1994, defendant YAH LIN "CHARLIE" TRIE caused

a check to be written from the account of San Kin Yip at First Commercial Bank in Little

Rock, Arkansas to the DNC in the amount of $15,000.

18.       On or about October 24, 1994, defendant YAH LIN "CHARLIE" TRIE

requested the DNC to arrange for a private White House tour for himself and three

business associates.

19.       In or about January 1995, defendant YAH LIN "CHARLIE" TRIE accepted a

position on the DNC Finance Board of Directors and promised to raise $350,000.

20.       On or about February 16, 1995, defendant YAH LIN "CHARLIE" TRIE

attended a dinner honoring the DNC Managing Trustees, which was held at the White

House with the President of the United States and the First Lady.

21.       On or about June 21, 1995, defendant YAH LIN "CHARLIE" TRIE wrote a

check on the account of Daihatsu at First Commercial Bank in Little Rock, Arkansas to

the DNC in the amount of $50,000.

22.       On or about June 28, 1995, defendant YAH LIN "CHARLIE" TRIE attended

the 1995 DNC Presidential Gala at the Sheraton Hotel in Washington, D.C.

23.       On or about September 11, 1995, defendant YAH LIN "CHARLIE" TRIE

attended a DNC dinner at the White House with the Vice President of the United

States.




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24.       On or about September 15, 1995, defendant YAH LIN "CHARLIE" TRIE

attended a DNC Trustee dinner at the White House with the President of the United

States.

25.       On or about October 31, I 995, defendant YAH LIN "CHARLIE" TRIE signed

a letter under the title "Vice Chair, Democratic National Finance Committee" to

officers of two Chinese corporations inviting them to a "special luncheon honoring the

President of the United States."

26.       On or about November 9, 1995, defendant YAH LIN "CHARLIE" TRIE

solicited a co-conspirator at a DNC fundraiser in Washington, D.C. to make a

contribution to the DNC in the amount of $5,000 and subsequently reimbursed that co-

conspirator in cash.

27.       On or about November 13, 1995, defendant YAH LIN "CHARLIE" TRIE

solicited a co-conspirator at a fundraiser in Washington, D.C. to make a contribution to

the DSCC in the amount of $2,000 and subsequently reimbursed that co-conspirator in

cash.

28.       On or about December 7, 1995, defendant YAH LIN "CHARLIE" TRIE

requested the DNC to arrange a meeting and photo opportunity with the President of

the United States for himself and a guest from Indonesia.

29.      On or about December 17, 1995, defendant YAH LIN "CHARLIE" TRIE

solicited a co-conspirator at a fundraiser in Washington, D.C. to make a contribution to


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the Oregon State Democratic, P.arty, in the amount of $2,000 and subsequently

reimbursed that co-conspirator in cash.

30.    On or about January 29, 1996, defendant YAH LIN "CHARLIE" TRIE attended

a DNC Finance Board of Directors luncheon at the White House with the President of

the United States.

31.    On or about February 6, 1996, defendant YAH LIN "CHARLIE" TRIE

requested the DNC to arrange a private tour of the White House for the defendant YAH

LIN "CHARLIE" TRIE and two business associates.

32.    On or about February 6, 1996, defendant YAH LIN "CHARLIE" TRIE and a

business associate attended a DNC coffee at the White House with the President of the

United States.

33.    On or about February 14, 1996, a co-conspirator caused a wire transfer in the

amount of $150,000 from San Kin Yip Holdings Co. Ltd., Bank of China, Hong Kong

Branch, into the bank account of defendant YAH LIN "CHARLIE" TRIE and a

business associate from Macau at Riggs Bank in Washington, D.C.

34.    On or about February 19, 1996, two co-conspirators wrote ~hecks made payable

to the DNC in the amounts of $12,500 from their personal bank accounts in California

at the direction of defendant YAH LIN "CHARLIE" TRIE, for which they were later

reimbursed by defendant YUAN PEI "ANTONIO" PAN.




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     35.    On or about February 19, 1996, defendants YAH LIN "CHARLIE" TRIE and

     YUAN PEI "ANTONIO" PAN, and a business associate from Macau, attended a DNC

     fundraising dinner with the President of the United States at the Hay-Adams Hotel in

     Washington, D.C.

     36.    On or about February 20, 1996, defendants YAH LIN "CHARLIE" TRIE and

     YUAN PEI "ANTONIO" PAN, and a business associate from Macau, attended a DNC

     breakfast meeting with the Vice President of the United States at the Hay-Adams Hotel

     in Washington, D.C.

     37.    On or about February 22, 1996, defendant YUAN PEI "ANTONIO" PAN

     opened a bank account in his name at Amer-Asia Bank in Flushing, New York. At that

     time, defendant YUAN PEI "ANTONIO" PAN deposited $25,200 in cash, and

     immediately purchased 5 cashiers checks in the amount of $5,000 each made payable
I'
     to the individuals referred to in Paragraph 34 above.

     38.    On or about February 29, 1996, defendant YAH LIN "CHARLIE" TRIE caused

     his wife to write a check on the account of Daihatsu at First Commercial Bank in Little

     Rock, Arkansas to the DNC in the amount of $12,500 for defendant YAH LIN

     "CHARLIE" TRIE's attendance at the February 19, 1996 Hay-Adams Hotel dinner.

     39.    On or about March 11, 1996, defendant YAH LIN "CHARLIE" TRIE executed

     a Confidential Financial Disclosure Report in conjunction with his nomination to the

     Commission on U.S. Pacific Trade and Investment Policy.


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      40.    On or about May 12, 1996, defendant YAH LIN "CHARLIE" TRIE wrote a

      check from his personal account at First Commercial Bank in Little Rock, Arkansas to

      the DNC in the amount of $10,000 for his attendance at the DNC Presidential Dinner

      at the Carlton Hotel in Washington, D.C.

      41.    On or about May 13, 1996, defendant YAH LIN "CHARLIE" TRIE attended

      a DNC Presidential dinner at the Carlton Hotel in Washington, D.C.

      42.    In or about July 1996, defendant YAH LIN "CHARLIE" TRIE requested a DNC

      employee to arrange for hotel rooms at the Democratic National Convention in

      Chicago, Illinois scheduled for August 1996.

      43.    On or about August 7, 1996, a co-conspirator caused a wire transfer in the

      amount of $200,000 from Compania de lnvestimento e Fomento Predail Goodwill, Bank

      of China, Macau Branch, into the bank account of defendant YAH LIN "CHARLIE"
j~,


      TRIE and a business associate from Macau at Riggs Bank in Washington, D.C.

      44.    On or about August 15, 1996, defendant YAH LIN "CHARLIE" TRIE solicited

      a co-conspirator in California to make a conduit contribution to the DNC in the amount

      of $10,000 and subsequently reimbursed that co-conspirator.

      45.    On or about August 15, 1996, a co-conspirator caused a wire transfer in the

      amount of $10,000 to be made to the account of another co-conspirator (referenced in

      Paragraph 44 above) from the account of San Kin Yip at Riggs Bank in Washington,

      D.C., as reimbursement for the $10,000 contribution to the DNC.


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46.     On or about August 15, 1996, a co-conspirator caused a wire transfer in the

amount of $80,000 from the account of defendant YAH LIN "CHARLIE" TRIE and

a business associate from Macau at Riggs Bank in Washington, D.C. to an account at the

American International Bank in Los Angeles, California.

4 7.    On or about August l S, 1996, defendant YUAN PEI "ANTONIO" PAN received

$80,000 in cash in Los Angeles, California.

48.     In or about August 1996, defendant YUAN PEI "ANTONIO" PAN solicited a

co-conspirator in California to make two conduit contributions to the DNC in the

amount of $5,000 each and subsequently reimbursed that co-conspirator in cash.

49.     In or about August 1996, defendant YUAN PEI "ANTONIO" PAN solicited a

co-conspirator in California to make a conduit contribution to the DNC in amount of

$10,000 and subsequently reimbursed that co-conspirator in cash.

50.     In or about August 1996, defendant YUAN PEI "ANTONIO" PAN solicited a

co-conspirator in California to make a conduit contribution to the DNC in amount of

$10,000 and subsequently reimbursed that co-conspirator in cash.

51.     In or about August 1996, defendant YUAN PEI "ANTONIO" PAN solicited a

co-conspirator in Ohio to make a conduit contribution to the DNC in amount of

$10,000 and subsequently reimbursed that co-conspirator in cash.

52.     In or about August 1996, defendant YAH LIN "CHARLIE" TRIE solicited a co-

conspirator at the Watergate South apartment in Washington, D.C. to make a conduit



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contribution to the DNC in the amount of $10,000 and subsequently reimbursed that

co-conspirator in cash.

53.       On or about August 18, 1996, defendant YAH LIN "CHARLIE" TRIE hand-

delivered contribution checks to the DNC at a hotel room in New York, New York.

54.       On or about August 18, 1996, defendants YAH LIN "CHARLIE" TRIE and

YUAN PEI "ANTONIO" PAN, and a business associate from Macau, attended a DNC

party in New York, New York honoring the birthday of the President of·the United

States.


(Conspiracy to Defraud and Impair and Impede the FEC,
in violation of 18 U.S.C. § 371)




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                                            COUNT1WO

            1.     The allegations contained in paragraphs One through Thirteen of Count

     One of the Indictment are incorporated herein by reference as though fully set forth in

     this Count of the Indictment.
_,

           2.      From in or about April 1994, until in or about September 1996, in the

     District of Columbia, and elsewhere defendants YAH LIN "CHARLIE" TRIE and

     YUAN PEI "ANTONIO" PAN knowingly devised and intended to devise a scheme and

     artifice to defraud the DNC, and to obtain from the DNC property by means of false

     and fraudulent pretenses, representations and promises, well knowing that the pretenses,

     representations, and promises would be and were false when made.

                              The Scheme to Defraud the DNC

           3.      It was part of the scheme and artifice to defraud that defendants YAH LIN

     "CHARLIE" TRIE and YUAN PEI "ANTONIO" PAN sought access to high level

     government officials in the United States for the purpose of promoting their private

     business activities here and abroad.

           4.      It was part of the scheme and artifice to defraud that defendants YAH LIN

     "CHARLIE" TRIE and YUAN PEI "ANTONIO" PAN purchased access to high level

     government officials in the United States by contributing and soliciting contributions

     to the DNC.




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      5.     It was part of the scheme and artifice to defraud that defendants YAH LIN

"CHARLIE" TRIE and YUAN PEI "ANTONIO" PAN channeled foreign money to

the DNC through the use of straw or conduit contributions.

      6.     It was part of the scheme and artifice to defraud that defendants YAH LIN

"CHARLIE" TRIE and YUAN PEI "ANTONIO" PAN concealed the source of the

money contributed by reimbursing conduits in cash and using multiple bank accounts.

      7.     It was pai:t. of the scheme and artifice to defraud that defendants YAH LIN

"CHARLIE" TRIE and YUAN PEI "ANTONIO" PAN received benefits from the

DNC as a result of the fraudulent contributions and solicitation activities including, but

not limited to, special seating at DNC functions, complimentary tickets to DNC events,

membership in DNC committees and related entities, including the Trustee Program,

the Democratic Business Leadership Forum and the DNC Finance Board of Directors,

invitations to meetings and other events where White House personnel, including the

President and Vice President of the United States, were in attendance, and

administrative support of DNC employees.

      8.     It was part of the scheme and artifice to defraud that defendant YAH LIN

"CHARLIE" TRIE received "credit" and recognition from the DNC as the solicitor of

the contributions, thereby enabling him to meet the fundraising goals necessary to

maintain his positions on DNC committees and related entities.




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          9.     It was part of the scheme and artifice to defraud that defendants YAH LIN

    "CHARLIE" TRIE and YUAN PEI "ANTONIO" PAN used defendant YAH LIN

    "CHARLIE" TRIE's membership in the DNC committees and related entities, including

    the Trustee Program, the Democratic Business Leadership Forum and the DNC Finance
.
    Board of Directors to promote the defendants' private business activities.

           10.   It was part of the scheme and artifice to defraud that defendants YAH LIN

    "CHARLIE" TRIE and YUAN PEI "ANTONIO" PAN deprived the DNC of the right

    to control how its money is spent.

           11.   It was part of the scheme and artifice to defraud that defendants YAH LIN

    "CHARLIE" TRIE and YUAN PEI "ANTONIO" PAN caused the DNC to file false

    campaign finance reports with the FEC.

           12.   On or about June 21, 1994, in the District of Columbia and elsewhere,

                                YAH LIN "CHARLIE" TRIE,

    defendant herein, for the purpose of executing and attempting to execute the scheme and

    artifice to defraud and to obtain property by false and fraudulent pretenses,

    representations and promises, did knowingly cause to be delivered by express mail to the

    DNC in Washington, D.C. a check payable to the DNC in the amount of $7,500 from




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the account of Daihatsu at First Commercial Bank from the U.S. Post Office in Little   '·

Rock, Arkansas.

(Mail Fraud and Aiding and Abetting,
in violation of 18 U.S.C. §§ 1341 and 2)




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                                   COUNT THREE
       1.    The allegations contained in paragraphs One through Eleven of Count Two

of the Indictment are incorporated herein by reference as though fully set forth in this

Count of the Indictment.

       2.    On or about August 4, 1994, in the District of Columbia and elsewhere,

                            YAH LIN "CHARLIE" TRIE,

defendant herein, for the purpose of executing and attempting to execute the scheme and

artifice to defraud and to obtain property by false and fraudulent pretenses,

.representations and promises, did knowingly cause to be delivered by express mail to the

DNC in Washington, D.C. a check payable to the DNC in the amount of $20,000 from

the account of defendant YAH LIN "CHARLIE" TRIE                  and his wife at First

Commercial Bank from the U.S. Post Office in little Rock, Arkansas.



(Mail Fraud and Aiding and Abetting,
18 U.S.C. §§ 1341 and 2)




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                                   COUNT FOUR
       1.    The allegations contained in paragraphs One through Eleven of Count Two

of the Indictment are incorporated herein by reference as though fully set forth in this

Count of the Indictment.

      2.     On or about August 26, 1994, in the District of Columbia and elsewhere,

                            YAH LIN "CHARLIE" TRIE,

defendant herein, for the purpose of executing and attempting to execute the scheme and

artifice to defraud and to obtain property by false and fraudulent pretenses,

representations and promises, did knowingly transmit and cause to be transmitted by

means of a wire in interstate commerce, writings. signs, signals, pictures and sounds, to

wit: the facsimile transmission of a memorandum from Little Rock, Arkansas to an

employee at the DNC in Washington, D.C.


(Wire Fraud and Aiding and Abetting.
in violation of 18 U.S.C. §§ 1343 and 2)




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                                     COUNT FIVE

       1.     The allegations contained in paragraphs One through Eleven of Count Two

of the Indictment are incorporated herein by reference as though fully set forth in this

Count of the Indictment.

      2.     On or about November 9, 1995, in the District of Columbia and elsewhere,

                           YAH LIN "CHARLIE" TRIE,

defendant herein, for the purpose of executing and attempting to execute the scheme and

artifice to defraud and to obtain property by false and fraudulent pretenses,

representations and promises, did knowingly transmit and cause to be transmitted by

means of a wire in interstate commerce, writings, signs, signals, pictures and sounds, to

wit: a telephone call from the Watergate South apartment in Washington, D.C. to an

individual in Gaithersburg, Maryland.


(Wire Fraud and Aiding and Abetting,
in violation of 18 U.S.C. §§ 1343 and 2)




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                                     COUNT SIX

       1.     The allegations contained in paragraphs One through Eleven of Count Two

of the Indictment are incorporated herein by reference as though fully set forth in this

Count of the Indictment.

      2.     On or about August 15, 1996, in the District of Columbia and elsewhere,

                           YAH LIN "CHARLIE" TRIE and
                           YUAN PEI "ANTONIO" PAN,

defendants herein, for the purpose of executing and attempting to execute the scheme

and artifice to defraud and to obtain property by false and fraudulent pretenses;

representations and promises, did knowingly transmit and cause to be transmitted by

means of a wire in interstate commerce, writings, signs, signals, pictures and sounds, to

wit: the wire transfer of funds in the amount of $80,000 from an account in the name

of defendant YAH LIN "CHARLIE" TRIE and a business associate from Macau

maintained at Riggs Bank.in Washington, D.C. to an account at American International

Bank in Los Angeles, California.


(Wire Fraud and Aiding and Abetting,
in violation of 18 U.S.C. §§ 1343 and 2)




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                                   COUNT SEVEN

       1.     The allegations contained in paragraphs One through Eleven of Count Two

of the Indictment are incorporated herein by reference as though fully set forth in this

Count of the Indictment.

      2.     On or about August 15, 1996, in the District of Columbia and elsewhere,

                           YAH LIN "CHARLIE" TRIE and
                           YUAN PEI "ANTONIO" PAN,

defendants herein, for the purpose of executing and attempting to execute the scheme

and artifice to defraud and to obtain property by false and fraudulent pretenses,

representations and promises, did knowingly transmit and cause to be transmitted by

means of a wire in interstate commerce, writings, signs, signals, pictures and sounds, to

wit: the wire transfer of funds in the amount of $10,000 from an account in the name

of San Kin Yip maintained at Riggs Bank in Washington, D.C. to an account held by

an individual in California.


(Wire Fraud and Aiding and Abetting,                                       ,.
in violation of 18 U.S.C. §§ 1342 and 2)




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                                   COUNT EIGHT

        1.    The allegations contained in paragraphs One through Eleven of Count Two

of the Indictment are incorporated herein by reference as though fully set forth in this

Count of the Indictment.

       2.     On or about August 16, 1996, in the District of Columbia and elsewhere,

                           YAH LIN "CHARLIE" TRIE,

defendant herein, for the purpose of executing and attempting to execute the scheme and

artifice to defraud and to obtain property by false and fraudulent pretenses,

representations and promises, did knowingly transmit and cause to be transmitted by

means of a wire in interstate commerce, writings, signs, signals, pictures and sounds, to

wit:   a telephone call from the Watergate South apartment in Washington, D.C. to a

business office in Rockville, Maryland.


(Wire Fraud and Aiding and Abetting,
in violation of 18 U.S.C. §§ 1343 and 2)

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                       COUNTS NINE THROUGH ELEVEN

       I.    The allegations contained in paragraphs One through Thirteen of Count

One of the Indictment are incorporated herein by reference as though fully set forth in

these Counts of the Indictment.

      2.     On or about the dates set forth below, in the District of Columbia, and

elsewhere,

                            YAH LIN "CHARLIE" TRIE,

defendant herein, in a matter within the jurisdiction of a department and agency of the

United States, knowingly and willfully caused another to (I) falsify, conceal and cover

up by trick, scheme and device a material fact; (2) make materially false, fictitious and

fraudulent statements and representations; and (3) make and use false writings and

documents knowing the same to contain materially false, fictitious and fraudulent

statements and entries, to wit: the defendant caused the treasurer for the DNC to create

and submit false reports to the FEC which indicated that lawful contributions were made

by individuals to the DNC when in truth and fact, as the defendant well)mew, it was

another person and entity that had contributed to the DNC and not the conduits listed

in the report filed with the FEC.




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           Count        Datt        Political Committee

            9           01/22/96    DNC Services Corporation/Democratic National
                                    Committee

           10           04/15/96    DNC      Services  Corporation/Democratic
_J
                                    National Committee

           11           10/15/96    DNC Services Corporation/Democratic National
                                    Committee



     (False Statements and Aiding and Abetting,
     in violation of 18 U.S.C. §§ 1001 and 2)




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                                   COUNT TWELVE


                                Introductory Allegations

       1.     In or about December 1996, the U.S. Senate was authorized to conduct an

investigation of illegal or improper activities in connection with the 1996 federal election

campaigns.

       2.     Prior to December 1996, a federal grand jury was convened in the District

of Columbia to investigate, among other things, illegal or improper activities in

connection with campaign contributions made by defendant YAH LIN "CHARLIE"

TRIE and others.

       3.     In or about December 1996, defendant YAH LIN "CHARLIE" TRIE

retained a law firm in connection with grand jury and congressional investigations into

alleged federal election law violations.

       4.     On or about February 13, 1997, the U.S. Senate issued a subpoena to the

Custodian of Records of Daihatsu seeking records that referred or related to, among

other things, political contributions and the DNC.

       5.     In or about June 25, 1997, the federal grand jury sitting in the District of

Columbia issued a grand jury subpoena to an employee of defendant YAH LIN

"CHARLIE" TRIE seeking documents related to, among other things, political

contributions made by defendant YAH LIN "CHARLIE" TRIE.




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                                    The Conspiracy

       6.     From in or about December 1996 continuing through October 1997, the

exact dates being to the grand jury unknown, in the District of Columbia, the State of

Arkansas, and elsewhere,

                            YAH LIN "CHARLIE" TRIE,

defendant herein, did knowingly and willfully conspire and agree with other persons

whose names are to the grand jury both known and unknown, to commit offenses against

the United States, that is, ( 1) to corruptly influence, obstruct, and impede and endeavor

to influence, obstruct and impede the due administration of justice, in violation of 18

U.S.C. Section 1503; (2) to corruptly impede and endeavor to impede the due and

proper exercise of the power of inquiry under which any inquiry and investigation was

being had before the United States Senate, and any committee of the United States

Senate and any joint committee of the Congress, in violation of 18 U.S.C. Section 1505;

and, (3) to corruptly persuade another person with the intent to cause and induce said
                                                                            ~




person to withhold a record and document from an official proceeding and to alter,

destroy, mutilate and conceal an object with the intent to impair the object's integrity

and availability for use in an official proceeding, in violation of 18 U.S.C. Section

1512(b)(2).




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                        Manner and Means of the Conspiracy:

        7.    It was part of the conspiracy that defendant YAH LIN "CHARLIE" TRIE

and his co-conspirator(s) did utilize the telephones for the purpose of communicating

with his co-conspirator(s) about the alteration, destruction, mutilation and concealment

of documents.

        8.    It was further part of the conspiracy that defendant YAH LIN "CHARLIE"

TRIE and his co-conspirator(s) did attempt to conceal from law enforcement and others

the alteration, destruction. mutilation and concealment of records by causing false

statements to be made to the United States Senate and to federal law enforcement.

        9.    It was further part of the conspiracy that defendant YAH LIN "CHARLIE"

TRIE and his co-conspirator(s) did alter, destroy, mutilate and conceal documents

responsive to subpoenas issued by the United States Senate and by a federal grand jury.

                                     OVERT ACTS

        In furtherance of the conspiracy and to effect the objects thereof, J;he following

overt acts, among others, were committed in the District of Columbia and elsewhere:

1.      In or about December 1996, defendant YAH LIN "CHARLIE .. TRIE called a co-

conspirator in Rockville, Maryland and discussed a campaign contribution made by the

co-conspirator at the direction of defendant YAH LIN "CHARLIE" TRIE in August,

1996.



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2.     In or about January 1997, defendant YAH LIN "CHARLIE" TRIE called a co-

conspirator in Little Rock. Arkansas to discuss the pending grand jury and congressional

investigations and the documents of Daihatsu.

3.    In or about March 7, 1997, a co-conspirator left a message on a telephone

answering    machine located in Washington, D.C. for the purpose of contacting

defendant YAH LIN "CHARLIE" TRIE about a U.S. Senate subpoena served on

Daihatsu.

4.    In or about March 1997, defendant YAH LIN "CHARLIE" TRIE called a co-

conspirator in Little Rock, Arkansas and asked the co-conspirator to get rid of documents

responsive to the U.S. Senate subpoena.

5.    In or about March 1997, a co-conspirator falsely told the attorneys for Daihatsu

and for the defendant YAH LIN "CHARLIE" TRIE that all documents responsive to

the subpoena issued by the U.S. Senate were available for their review and inspection in

Little Rock, Arkansas.

6.    In or about June 1997, a co-conspirator left a message for defendan~YAH LIN
                                                                        •
"CHARLIE" TRIE on a telephone answering machine located in Washington, D.C.

7.    On or about October 21, 1997, a co-conspirator falsely told agents of the Federal

Bureau of Investigation at a meeting in Washington, D.C. that all documents responsive

to a federal grand jury subpoena dated June 25, 1997 had been produced.




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8.    On or about October 22, 1997, after producing a nwnber of additional documents

on that date, a co-conspirator falsely told agents of the Federal Bureau of Investigation

at a meeting in Washington, D.C. that all documents responsive to a federal grand jury

subpoena dated June 25, 1997 had been produced.


(Conspiracy to Obstruct Justice,
in violation of 18 U.S.C. § 371)




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                                COUNT THIRTEEN

       1.    The allegations contained in paragraphs One through Five of Count Twelve

of the Indictment are incorporated herein by reference as though fully set forth in this

Count of the Indictment.

      2.      In or about January, 1997, in the District of Columbia, the State of

Arkansas, and elsewhere,

                            YAH LIN "CHARLIE" TRIE,

defendant herein, did corruptly persuade another person with the intent to cause and

induce said person to withhold a record and document from an official proceeding and

to alter, destroy, mutilate and conceal an object with the intent to impair the object's

integrity and availability for use in an official proceeding, to wit: by telling and

instructing another person to alter, destroy, mutilate, and conceal documents.


(Witness Tampering and Aiding and Abetting,
in violation of 18 U.S.C. §§ 1512(b)(2) and 2)

                                                                          ,




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                                COUNT FOURTEEN
       1.    The allegations contained in paragraphs One through Five of Count Twelve

of the Indictment are incorporated herein by reference as though fully set forth in this

Count of the Indictment.

      2.     On or about March 7, 1997, in the District of Columbia, the State of

Arkansas, and elsewhere,

                            YAH LIN "CHARLIE" TRIE,

defendant herein, did corruptly impede and endeavor to impede the due and proper

exercise of the power of inquiry under which any inquiry and investigation was being had

before the United States Senate, and any committee of the United States Senate and any

joint committee of the Congress, to wit: by instructing another person to alter, destroy,

mutilate, conceal and otherwise fail to produce documents responsive to a subpoena

issued by the United States Senate Committee on Governmental Affairs.



(Obstruction of Congressional Investigation and Aiding and Abetting,      •
in violation of 18 U.S.C. §§ 1505 and 2)




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                                        COUNT FIFTEEN

              1.    The allegations contained in paragraphs One through Five of Count Twelve

       of the Indictment are incorporated herein by reference as though fully set forth in this

       Count of the Indictment.
....
.J
             2.      On or about June 27, 1997, in the District of Columbia, the State of

       Arkansas, and elsewhere,

                                   YAH LIN "CHARLIE" TRIE,

       defendant herein, did corruptly persuade another person with the intent to cause and

       induce said person to withhold a record and document from an official proceeding and

       to alter, destroy, mutilate and conceal an object with the intent to impair the object's

       integrity and availability for use in an official proceeding, to wit: by telling and

       instructing another person to alter, destroy, mutilate, and conceal documents responsive




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to a federal grand jui:y subpoena issued by the United States District Court for the

District of Columbia.


(Witness Tampering and Aiding and Abetting,
in violation of 18 U.S.C. §§ 1512(b)(2) and 2)


                                                    A TRUE BILL:



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Wilma A. Lewis                7£'-'lJ \
United States Attorney for the
 District of Columbia


Thomas W. McNamara
Sandra Wilkinson
Trial Attorneys
U.S. Department of Justice
Campaign Financing Task Force
l 001 G Street, NW
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(202)307-0708



Date: Januai:y 28, 1998




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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA,                           CRIMINAL NUMBER:

                                                    1:18-cr-00032-DLF
                v.

INTERNET RESEARCH AGENCY, LLC,
et al.,

        Defendants.



                                   PROPOSED ORDER

        With the Court having considered Defendant Concord Management and Consulting

LLC’s Motion to Dismiss the Indictment, Memorandum in Support thereof, and any opposition

and reply thereto, it is hereby:

        ORDERED that the motion is GRANTED; and it is

        FURTHER ORDERED that the Indictment, ECF No. 1, is dismissed as to Defendant

Concord Management and Consulting LLC.

        SO ORDERED, this ___ day of ___________, 2018.




                                                     DABNEY L. FRIEDRICH
                                                     United States District Judge
     Case 1:18-cr-00032-DLF Document 46-10 Filed 07/16/18 Page 2 of 2



PERSONS TO BE SERVED WITH ORDER:

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